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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

                         CIVIL MINUTES – GENERAL

Case No. LA CV 20-02291-DOC-(KESx)                               Date: April 20, 2021

Title: LA ALLIANCE FOR HUMAN RIGHTS, et al. v. CITY OF LOS ANGELES, et
       al.


PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

              Kelly Davis                                  Not Present
            Courtroom Clerk                               Court Reporter

     ATTORNEYS PRESENT FOR                    ATTORNEYS PRESENT FOR
           PLAINTIFF:                              DEFENDANT:
          None Present                              None Present


      PROCEEDINGS: (IN CHAMBERS ORDER)



                   See attachment for complete details.




 MINUTES FORM 11                                               Initials of Deputy Clerk: kd
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   I.      INTRODUCTION

       In the ebb of afternoon sunlight, young Americans looked at their former
compatriots as adversaries as they advanced towards them. Young teenagers
carried battle flags to rally upon in the chaos that would soon ensue. There is
nothing free about freedom. It is borne from immense pain, suffering, and
sacrifice. Our country has struggled since the Emancipation Proclamation to right
the evil of slavery. One hundred and fifty-eight years ago, at the site of the
bloodiest battle of the Civil War, Abraham Lincoln made a short and profound
speech, exemplifying an unshakable moral commitment to end the abomination of
slavery despite the terrible sacrifice of life.

        Now we are engaged in a great civil war, testing whether that nation
        or any nation so conceived and so dedicated, can long endure. We are
        met on a great battlefield of that war. We have come to dedicate a
        portion of that field as a final resting place for those who here gave
        their lives that that nation might live. . . .

        It is for us the living, rather, to be dedicated here to the unfinished
        work which they who fought here have thus far so nobly advanced. It
        is rather for us to be dedicated to the great task remaining before us—
        that from these honored dead we take increased devotion to that cause
        for which they gave the last full measure of devotion—that we here
        highly resolve that these dead shall not have died in vain—that this
        nation, under God, shall have a new birth of freedom—and that
        government, of the people, by the people, for the people, shall not
        perish from the earth.

       The Civil War brought a formal end to the institution of slavery, but a
century and a half after the Gettysburg Address, the “unfinished work” of which
President Lincoln spoke remains woefully unfinished.
       Here in Los Angeles, how did racism become embedded in the policies and
structures of our new city? What if there was a conscious effort, a deliberate intent,
a cowardice of inaction? Through redlining, containment, eminent domain,
exclusionary zoning, and gentrification—designed to segregate and disenfranchise
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communities of color—the City and County of Los Angeles created a legacy of
entrenched structural racism. As shown most clearly in the present crisis of
homelessness, the effects of structural racism continue to threaten the lives of
people of color in Los Angeles.
       Today, people of color, and Black people in particular, are vastly
overrepresented in Los Angeles’s homeless population. While Black people
comprise only eight percent of Los Angeles’s population, they make up 42% of its
homeless population. 1 As of January 2020, the Los Angeles Homeless Services
Authority reported that 21,509 Black people were without permanent housing in
Los Angeles (LAHSA). 2 The current inaction on the part of the City and County of
Los Angeles has allowed the harms of their racist legacy to continue unabated,
leaving Black people—and especially Black women—effectively abandoned on
the streets. Such governmental inertia has affected not only Black Angelenos, not
only homeless Angelenos, but all Angelenos—of every race, gender identity, and
social class. Virtually every citizen of Los Angeles has borne the impacts of the
City and County’s continued failure to meaningfully confront the crisis of
homelessness. The time has come to redress these wrongs and finish another
measure of our nation’s unfinished work.

    A. RACE

       “I want to be very clear,” said Heidi Marston, Director of the Los Angeles
Homeless Services Authority, “homelessness is a byproduct of racism. We
continue to see that Black people are overrepresented in our homeless population,
and that Black African Americans are four times more likely to become homeless
than their white counterparts.” 3 A LAHSA report published in December of 2018
confirmed the Director’s opinion, stating: “The impact of institutional and
structural racism in education, criminal justice, housing, employment health care,


1
  Jugal K. Patel et al., Black, Homeless and Burdened by L.A.’s Legacy of Racism, N.Y. TIMES (Dec. 22, 2019),
https://www.nytimes.com/interactive/2019/12/22/us/los-angeles-homeless-black-residents.html.
2
  Gale Holland, Racism is the Reason Black People are Disproportionately Homeless in L.A., Report Shows, L.A.
TIMES (June 12, 2020), https://www.latimes.com/california/story/2020-06-12/racism-making-more-black-people-la-
homeless.
3
  Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST (June
12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-losangeles.


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and access to opportunities cannot be denied: homelessness is a by-product of
racism in America.”4
       The numbers squarely support LAHSA’s findings. As mentioned previously,
Black Angelenos are vastly overrepresented in the homeless population.5 From
2016 to 2017, the city saw a 22% increase in the number of unhoused Black
Angelenos.6 Yet, in the same period, the number of white Angelenos experiencing
homelessness decreased by 7%.7 Further, racism in Los Angeles is far from simply
black and white—Latinos make up at least 35% of the homeless population, a
figure that likely undercounts the number of Latinos homeless.8 The effects of
decades-long structural and institutional racism resulting in unhoused populations
has reached an apex that must be addressed.

         i.       Historical Context

        According to the LAHSA, “Black people have been historically and
systematically precluded from housing opportunities, including through redlining,
exclusionary zoning, and other forms of discrimination codified by federal, state,
and local law. While laws have changed, the effects of these previous policies are
still pervasive.” 9

Early Twentieth Century

     In the first half of the twentieth century, migrant workers were drawn to Los
Angeles for seasonal industries and cheap lodging available in Los Angeles’

4
  L.A. HOMELESS SERVS. AUTH., REPORT AND RECOMMENDATIONS OF THE AD HOC COMMITTEE ON BLACK PEOPLE
EXPERIENCING HOMELESSNESS 5 (2018), https://www.lahsa.org/documents?id=2823-report-and-recommendations-
of-the-ad-hoc-committee-on-black-people-experiencing-homelessness [hereinafter LAHSA REPORT]; The report
was published by a committee comprised of homeless and civil rights advocates, mental health service providers,
representatives of city and county housing agencies, and staff representatives of elected offices, including the offices
of Los Angeles Mayor Eric Garcetti, Los Angeles City Councilmember Marqueece Harris-Dawson, and Los
Angeles County Supervisors Mark Ridley-Thomas and Sheila Kuehl.
5
  Patel et al, supra note 1.
6
  LAHSA REPORT, supra note 4, at 9.
7
  Id.
8
  Latinos are more likely to live outside of traditional homeless spaces, rely heavily on social networks, and use
public services less often relative to other racial or ethnic groups. Melissa Chinchilla & Sonya Gabrielian, Stemming
the Rise of Latinx Homelessness: Lessons from Los Angeles County, J. SOC. DISTRESS & THE HOMELESS (2019).
9
  LAHSA Report, supra note 4, at 7.


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downtown neighborhood known today as “Skid Row.” 10 Residents of Skid Row
lived in inexpensive apartments, hotels, and lodging houses while homeless
individuals unable to afford such housing sought areas outside of Skid Row where
they could build permanent accommodations on undeveloped land. 11
       In 1910, the Housing Commission of the City of Los Angeles reported that
nearly ten thousand individuals of over thirty nationalities resided in “house
courts,” a collection of wooden structures occupying a single lot. 12 The
Commission deemed these courts to be threats to public health and abolished,
demolished, or vacated nearly 200 courts between 1910 and 1913—leaving a
racially and ethnically diverse group of Angelenos no option but to live in tents
and abandoned train cars.13
       The Great Depression exacerbated the lack of affordable housing among
racially and ethnically diverse communities.14 Communities of color were
disproportionately impacted by employment cuts as compared to their white
counterparts.15 Unemployment for white Angelenos reached a high of 25% in
1933, whereas unemployment among Black Angelenos during the same period
peaked at twice that rate.16 This was a result of a racially segmented economy
which largely restricted Black workers to service employment and unskilled
manual labor—both industries that were curtailed by businesses and households to
survive the Depression. 17
       Widespread unemployment during the depression overlapped with a steep
increase in rents in segregated housing markets.18 By 1930, state-enforced racially-
restrictive covenants throughout Los Angeles prevented Black Angelenos from
residing in all but a select few areas, thereby reducing the housing available and
resulting, not surprisingly, in a sharp increase in rents in those areas.19 The scarcity


10
   KIRSTEN MOORE SHEELEY ET AL., UCLA LUSKIN CTR. FOR HIST. AND POL’Y, THE MAKING OF A CRISIS: A
HISTORY OF HOMELESSNESS IN LOS ANGELES (2021), https://luskincenter.history.ucla.edu/wp-
content/uploads/sites/66/2021/01/LCHP-The-Making-of-A-Crisis-Report.pdf [hereinafter LUSKIN REPORT].
11
   Id.
12
   Id. at 8.
13
   Id.
14
   Id. at 9.
15
   Id.
16
   Id.
17
   Id.
18
   Id. at 10.
19
   Id.


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of housing available to communities of color left many without alternatives,
driving up the number of unhoused.
       In 1928, Los Angeles city created the Municipal Service Bureau for
Homeless Men in Skid Row (“the Service Bureau”) to assist homeless men in Los
Angeles by connecting them with philanthropic organizations that provided food
and lodging. 20 But aid from such organizations was distributed selectively along
racial lines.21 Black Angelenos were limited to relief from Black community-
operated and community-funded institutions.22 The Service Bureau relied on
organizations such as the Colored YMCA and YWCA, the Eastside Mothers’
Home, and the Sojourner Truth Home, while organizations such as the “white”
YWCA openly denied any assistance to homeless Black girls. 23 While other cities
across the nation had established their own publicly operated shelters, Los Angeles
instead relied on this segregated system to provide services. 24

Redlining

       In 1933, Congress formed the Home Owners’ Loan Corporation (“HOLC”)
to curtail the foreclosure crisis driven by the Great Depression. 25 Congress hoped
to help homeowners facing default on their mortgages, or those who otherwise
would not be able to afford houses.26 The HOLC was developed as a solution: a
state-sponsored lending program that could issue mortgages.27
       However, this access to homeownership was not extended equally. The
HOLC reinforced racial segregation and diverted investment from minority
neighborhoods by creating color-coded “residential safety maps” that indicated risk

20
   Id. at 11.
21
   Id. at 12.
22
   Id.
23
   Id.
24
   Id. at 14. The city’s intentional division of aid by racial lines is further evidenced by Los Angeles Commissioners’
recommendations in 1931 in which they advised the Council to allocate separate pools of funding for (1) the
homeless care of males and (2) “colored” homeless boys.
25
   Bruce Mitchell PhD. And Juan Franco, HOLC “Redlining” Maps: The Persistent Structure of Segregation and
Economic Inequality, NATIONAL COMMUNITY REINVESTMENT COALITION, https://ncrc.org/wp-
content/uploads/dlm_uploads/2018/02/NCRC-Research-HOLC-10.pdf
26
   Alejandra Borunda, Racist Housing Policies Have Created Some Oppressively Hot Neighborhoods, NATIONAL
GEOGRAPHIC (Sept. 2, 2020), https://www.nationalgeographic.com/science/article/racist-housing-policies-created-
some-oppressively-hot-neighborhoods
27
   Id.


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levels for long-term real estate investment. Known today as “redlining,” the safety
maps categorized neighborhoods as “best,” “still desirable,” “declining,” or
“hazardous.” Neighborhoods were categorized based on “favorable” and
“detrimental” factors, such as the “threat of infiltration of foreign-born, negro, or
lower grade population.” Black and immigrant neighborhoods were repeatedly
rated “hazardous” and outlined in red—creating a “state-sponsored system of
segregation.”28 The rating system was widely used by HOLC, as well as private
lending institutions, who denied residents in “redlined” neighborhoods access to
loans or capital investment. The Federal Housing Administration (“FHA”),
established in 1934, accelerated segregation by refusing to insure mortgages in and
near Black neighborhoods. 29 The FHA even subsidized builders to construct entire
subdivisions for white communities, so long as the homes were not sold to Black
people. 30
       People living in redlined neighborhoods were restricted from these federally
backed avenues of credit for decades.31 This cycle of disinvestment blocked
communities of color from the accumulation of intergenerational wealth that
flowed in white neighborhoods due to government supported financial security in
home ownership in areas with steady growth in property value. 32
       Federal housing policies by the HOLC and the FHA have created a lasting
wealth gap. By the time the Fair Housing Act outlawed racial discrimination in
housing in 1968, suburban homes had grown substantially in value. 33 Whereas
white families enjoyed this growth in equity as financial security, Black families
were blocked from this growth from the beginning.34
       While a Black person today earns on average 60% of what their white
counterpart earns, Black American wealth is only about five percent of white
American wealth. 35 Decades of depressed property values stemming from
28
   RICHARD ROTHSTEIN, THE COLOR OF LAW: A FORGOTTEN HISTORY OF HOW OUR GOVERNMENT SEGREGATED
AMERICA 64 (2017); Terry Gross, A ‘Forgotten History’ of How the U.S. Government Segregated America, NPR,
(May 3, 2017), https://www.npr.org/2017/05/03/526655831/a-forgotten-history-of-how-the-u-s-government-
segregated-america.
29
   ROTHSTEIN, supra note 28, at 64.
30
   Id. at 64–65.
31
   Terry Gross, A ‘Forgotten History’ of How the U.S. Government Segregated America, NPR, (May 3, 2017),
https://www.npr.org/2017/05/03/526655831/a-forgotten-history-of-how-the-u-s-government-segregated-america.
32
   Id.
33
   Id.
34
   Id.
35
   Id.


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HOLC’s “hazardous” labeling paved the way for present-day gentrification: it
allowed white homeowners with growing equity to purchase devalued property in
formerly redlined neighborhoods.36
       The effects of these housing policies have consequences beyond a wealth
gap. White Americans developed financial stability, and thus safety nets, that
Black Americans were excluded from. Areas previously deemed “hazardous”
remain segregated with larger Black and Latino populations, higher rates of
poverty, lower life expectancy and substandard health outcomes stemming from
structural disinvestment.37 All of these factors shape Los Angeles housing
insecurity in the Black community today.

Post-World War II

        After World War II, policies relating to redlining, racial covenants, and
public bank lending continued to exacerbate the growing racial wealth gap.38 Los
Angeles’s “urban renewal” plans further entrenched systemic barriers to Black
population’s access to housing.39 Data from the Los Angeles County Department
of Charities in the 1950s show that despite Black men comprising only 5.2% of the
county’s adult male population, they comprised 17.45% of applicants seeking
relief, and of the Black applicants, nearly 60% lacked shelter. 40 The very plans
aimed to “renew” communities destroyed existing neighborhoods where
communities of color resided. 41
        Single-room-occupancy hotels (SROs) provided a home to tenants who
could only afford to pay rent by the month or by the week. 42 The low-cost
temporary lodging was especially helpful for individuals on pensions, Social
Security, or welfare programs who could not afford costs associated with long-
term rental units, which normally required a security deposit and rent for the first


36
   MITCHELL & FRANCO, supra note 25.
37
   Id.
38
   Id. at 20.
39
   LUSKIN REPORT, supra note 10, at 21.
40
   Id. at 22.
41
   Id. at 21.
42
   Frederick M. Muir, Bradley Proposes Skid Row Hotel Demolition, L.A. TIMES (Mar. 10, 1989),
https://www.latimes.com/archives/la-xpm-1989-03-10-me-1106-story.html.


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 and last month.43 But as pressure rose to develop commercial viability of
 Downtown Los Angeles in the 1950s and 1960s, Los Angeles City began
 condemning SRO hotel buildings for falling below building code standards and
 ordered upgrades or demolition. 44 Consequently, the number of SRO hotel rooms
 in Skid Row was halved—dropping from 15,000 to 7,500 in under a decade.45 The
 widespread demolition of SROs further decreased availability of extremely low-
 cost housing and displaced tenants to the street.46
       Racial barriers to quality housing created disparate outcomes among Black
 and white people of the same economic class.47 In 1970, Black Angelenos
 receiving welfare were twice as likely to identify housing as their “primary
 problem” as compared to their white and Latino/a counterparts. 48

 Highways

        Los Angeles’ highway infrastructure was built as and remains a driver of
 racial inequality.49 Deborah Archer, national board president of the American Civil
 Liberties Union, writes: “The benefits and burdens of our transportation system—
 highways, roads, bridges, sidewalks, and public transit—have been planned,
 developed, and sustained to pull resources from Black communities that are
 subsequently deployed and invested to the benefit of predominantly white
 communities and their residents.”50
        Highways have long been utilized to segregate communities of color.
 Historian Richard Rothstein points as an example to the “Underwriting Manual” of
 the Federal Housing Administration, which recommended highways as a
 mechanism to separate Black neighborhoods from white neighborhoods. 51

 43
    Id.
 44
    Benjamin Schneider, CityLab University: Understanding Homelessness in America, BLOOMBERG CITYLAB (July
 6, 2020), https://www.bloomberg.com/news/features/2020-07-06/why-is-homelessness-such-a-problem-in-u-s-cities.
 45
    JENNIFER WOLCH ET AL., ENDING HOMELESSNESS IN LOS ANGELES (2007),
 http://www.ced.berkeley.edu/downloads/pubs/faculty/wolch_2007_ending-homelessness-los-angeles.pdf.
 46
    Benjamin Schneider, CityLab University: Understanding Homelessness in America, BLOOMBERG CITYLAB (July
 6, 2020), https://www.bloomberg.com/news/features/2020-07-06/why-is-homelessness-such-a-problem-in-u-s-cities.
 47
    LUSKIN REPORT, supra note 10.
 48
    Id.
 49
    Deborah N. Archer, Transportation Policy and the Underdevelopment of Black Communities, 106 IOWA L. REV.
 (forthcoming 2021).
 50
    Id. at *3.
 51
    ROTHSTEIN, supra note 28, at 65–66.


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        In 1910, 36% of Black people in Los Angeles were homeowners, a notable
 percentage compared against 2.4% in New York City. 52 Racially diverse
 neighborhoods, such as Watts and Boyle Heights, flourished alongside the Red Car
 transit system, which connected Los Angeles through unsegregated means. 53 But
 Los Angeles swiftly undertook segregation efforts as its population grew from
 320,000 in 1910 to 1.2 million in 1930. 54 As its Black population increased by tens
 of thousands, Los Angeles utilized racially restrictive covenants, redlining, and
 eminent domain to racially segregate neighborhoods. 55 An uptick in Ku Klux Klan
 violence further targeted Black families who resided in majority white
 neighborhoods—including widespread cross burnings, bombings, and drive-by
 shootings. 56 In Manhattan Beach, Los Angeles County employed eminent domain
 to take property from Black families and turn the land into a whites-only park. 57
        Yet, construction of the Los Angeles freeway was most effective in
 displacing Black families on a large scale. 58 Communities of color lacked political
 representation to defend against their neighborhoods being razed to make space for
 the freeway. In 1972, a plaintiff’s attorney for a lawsuit opposing construction of
 the I-105 Freeway voiced how politicians faced less opposition from communities
 of color: “You’ll recall, prior to this time, there was a proposed . . . east/west
 freeway north of the [I-105 Freeway], the Beverly Hills Freeway. That was
 defeated and eliminated from the map . . . the difference between the political clout
 of Beverly Hills and Watts, Willowbrook, Lynwood, Downey and Hawthorne is
 considerable . . . this was kind of a course of least resistance from Caltrans’
 perspective.”59 As stated, white communities such as Beverly Hills had the
 political willpower to derail highway construction through their neighborhoods. 60
 Only 61% of Los Angeles’ planned freeway network was constructed as a


 52
    Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
 Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
 racism-monument.
 53
    Id.
 54
    Id.
 55
    Id.
 56
    Id.
 57
    Id.
 58
    Id.
 59
    Joseph Di Mento et al, Court Intervention, The Consent Decree, and The Century Freeway II–37 (U.C. Transp.
 Ctr., Working Paper No. 381, 1991).
 60
    Id.


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 consequence.61 One of the most striking visualizations of the political willpower
 white communities had in successfully thwarting highway construction is in South
 Pasadena, where a glaring gap lies between Interstate 710 and State Route 710. 62




 Fig. 1: The gap in Route 710

        Los Angeles employed eminent domain, the process by which governments
 seize private property for public use with payment of compensation, to seize more
 than 6,000 dwellings located in the freeway’s path.63 Devalued neighborhoods
 comprised mostly of communities of color were more cost-effective tracts of land
 for Los Angeles to acquire through eminent domain compared to majority white
 neighborhoods. Restricted to a limited number of neighborhoods allowing
 communities of color, non-white freeway evictees were forced to find housing in


 61
    Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
 Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
 racism-monument.
 62
    Id.
 63
    Ray Hebert, Century Freeway—When It’s Born, An Era Will Die, L.A. TIMES (June 22, 1986),
 https://www.latimes.com/archives/la-xpm-1986-06-22-me-20619-story.html.


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 already condensed, segregated areas of South and East Los Angeles, away from
 job centers and beset with freeway pollution. 64
         “Race frequently explains which communities receive the benefits of our
 transportation system and infrastructure and which communities were forced to
 host the burdens,” writes Archer. 65 Today, the legacy of racially motivated
 freeway construction burdens Los Angeles communities of color not only
 economically, but physically. Hazardous vehicle-related pollutants (e.g., diesel
 exhaust) are highly concentrated near major roadways, inducing respiratory
 ailments and mortality in high-traffic neighborhoods.66 Because of the direct
 exposure to vehicle pollution, children in these communities face higher rates of
 asthma and cognitive decline.67
        The fracturing of communities of color in Los Angeles and the subsequent
 overcrowding of neighborhoods open to Black families meant that city renewal
 plans impeded Black families from sharing in post-war white intergenerational
 wealth accumulation flowing from home ownership in neighborhoods with fixed
 growths in property values.68 Overpopulation created a housing shortage that
 necessitated families to rent rather than purchase homes.69 This cycle increased
 rental value, pushing out low-income families and resulting in housing insecurity
 for those who could not afford the higher rents. 70 Between 1970 and 1980, census
 data shows that the number of nonrelatives per household doubled in Compton,
 Florence-Graham, East Los Angeles, and other Black and Latino/a communities. 71
 That number would double once more over the next decade.72
        Despite Black Angelenos representing a disproportionate share of those
 experiencing unemployment and poverty in the city, a disproportionate share of

 64
    Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze L.A.
 Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-freeways-
 racism-monument.
 65
    Noel King, A Brief History of How Racism Shaped Interstate Highways, NPR (Apr. 7, 2021),
 https://www.npr.org/2021/04/07/984784455/a-brief-history-of-how-racism-shaped-interstate-highways.
 66
    Douglas Houston et al., Structural Disparities of Urban Traffic in Southern California: Implications for Vehicle-
 Related Air Pollution Exposure in Minority and High-Poverty Neighborhoods, 26 J. Urb. Affs. 565, 565 (2004).
 67
    Sarah Gibbens, Air Pollution Robs Us of Our Smarts and Our Lungs, NAT’L GEOGRAPHIC (Aug. 31, 2018),
 https://www.nationalgeographic.com/environment/article/news-air-quality-brain-cognitive-function.
 68
    LUSKIN REPORT, supra note 10, at 22.
 69
    Richard Rothstein, Op-Ed: Why Los Angeles Is Still a Segregated City After All These Years, L.A. TIMES (Aug.
 2017), https://www.latimes.com/opinion/op-ed/la-oe-rothstein-segregated-housing-20170820-story.html.
 70
    Id.
 71
    LUSKIN REPORT, supra note 10, at 29.
 72
    Id.


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 public and private services assisting the homeless continued to cater to older white
 individuals.73 Indeed, the white male population continued to receive far more that
 its proportional share of homeless aid through the 1970s. 74

 Containment Zone

        The city was content with misery as long as it was unseen. In 1976, the
 homeless population became spatially concentrated in the fifty-square-block
 “containment zone” of Skid Row.
        Developers and businesses urged the City to adopt a “silver book” plan in
 1972. 75 The plan sought to raze Skid Row and wholly transform the existing
 neighborhood by 1990. 76 Skid Row stakeholders raised concerns that razing Skid
 Row would disperse the homeless population and negatively affect downtown
 business. 77 The City, won over by this sentiment, instead adopted the alternative
 “Blue Book Plan,” which sought to “contain” homeless people to maintain the
 pristineness of the business district. 78 The plan adopted a fifty-block “physical
 containment” zone designed to contain and perpetuate poverty. Text of the 1976
 plan assuaged the city’s fears that Skid Row would halt downtown revitalization
 plans by expanding further and deterring booming investment in Los Angeles’
 downtown:

         When the Skid Row resident enters the buffer, the psychological comfort of
         the familiar Skid Row environment will be lost; he will feel foreign and will
         not be inclined to travel far from the area of containment.

       The containment zone became a place where the homeless, discharged
 patients with mental disabilities, and parolees came—or in some instances, were
 bussed and dropped—to find services. General Dogon, a Skid Row community
 organizer, describes the containment as a “warehouse zone”—“a warehouse is

 73
    Id. at 23.
 74
    Id.
 75
    LUSKIN REPORT, supra note 10, at 26.
 76
    Id.
 77
    Id. at 27.
 78
    Id.


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 where you store shit. So the idea was to push all of Los Angeles’s unfavorable
 citizens into one area.” 79 “Main Street is the dividing line between the haves and
 have-nots,” says General Dogon, “you’ve got homeless people sleeping on one
 side of the street, and the loft buildings on the other side of the street.” 80 Pete
 White, executive director and founder of the Los Angeles Community Action
 Network (LA CAN) described Skid Row as “a place borne out of the outgrowth of
 redlining, segregation, deindustrialization, the war on drugs, more aptly put, the
 war on black people, the war on the black community.” 81
        Police force kept the homeless isolated, enhancing and embedding poverty
 within the 50-block area. The Los Angeles Police Department (LAPD) set up
 physical buffers to reduce movement past the Skid Row border and enforce
 containment.82 Flood lights demarcated the border, disincentivizing homeless from
 straying outside the containment area. 83
        The City and advocates’ containment policy entrenched poverty and fostered
 the three most unsafe neighborhoods in the nation today. 84 According to Forbes,
 “[t]he most dangerous neighborhood in America is in Los Angeles,” two square
 blocks in the northern half of Skid Row.85 The second most dangerous
 neighborhood within American borders is intertwined with the southern edge of
 Skid Row.86 Finally, the nation’s third most dangerous neighborhood is the
 southern half of Skid Row. 87
         “Skid Row is on the bottom of the totem pole of life here in America and is
 commonly known as the homeless capital of America. Whether someone has been
 here three hours or three decades, the subconscious thought processes are one in




 79
    The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 80
    Id.
 81
    Dkt. 218 at 86.
 82
    LUSKIN REPORT, supra note 10, at 28.
 83
    The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 84
    Laura Begley Bloom, Crime in America: Study Reveals the 10 Most Unsafe Neighborhoods, FORBES (Jan. 28,
 2021), https://www.forbes.com/sites/laurabegleybloom/2021/01/28/the-10-most-dangerous-neighborhoods-in-
 america-its-not-where-you-think/?sh=6b61d13f341f.
 85
    Id.
 86
    Id.
 87
    Id.


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 the same—to survive,” says General Jeff Page, a prominent activist and
 community organizer of Skid Row. 88
         The containment policy—enacted to enable and contain poverty out of sight
 and out of mind—succeeded. “Los Angeles Police Department and the major non-
 profits both have a stranglehold on our community” says General Jeff.89 There is
 “[n]o funding for ‘positive programming,’ which means every day
 there’s nothing positive to do, so quite obviously negative things will happen and
 soon thereafter, handcuffs or a ride in the back of either an ambulance or a
 hearse.”90
         As the unhoused population exploded during the 1980s due to the crack
 epidemic, so too did the City’s vigorous criminalization policies. By demarcating
 Skid Row as a concentration for rehabilitation services, the City created a
 centralized place where police could make sweeping arrests for minor drug
 offenses or crimes based on poverty (e.g. resting or sleeping on the sidewalk). The
 ensuing cycle of incarceration and homelessness—disproportionately targeting
 Black communities—has continued for decades.
         In 2007, Los Angeles Police Department Chief William J. Bratton enacted
 the “broken windows” policing policy. 91 Under Chief Bratton’s “Safer Cities
 Initiative,” a task force of 50 officers entered Skid Row issuing citations and
 making arrests for infractions such as jaywalking, prostitution and littering. 92 The
 program ended shortly after a Los Angeles Police Department officer fatally shot a
 homeless person of color on Skid Row in 2015. “On skid row, the windows
 already were broken,” Los Angeles City Attorney Feuer said, “we have a much
 deeper and more profound situation to deal with.”93
         City officials contend that they denounce “criminalizing” homelessness.94
 But data tells a different story. In 2011, 1 in 10 arrests citywide were of homeless



 88
    Bianca Barragan, General Jeff’s Neighborhood Guide to LA’s Skid Row, CURBED LOS ANGELES (Apr. 12, 2016),
 https://la.curbed.com/2016/4/12/11405274/los-angeles-skid-row-neighborhood-guide.
 89
    Id.
 90
    Id.
 91
    Gale Holland, L.A. Leaders Are Crafting New Plan to Help Homeless on Skid Row, L.A. TIMES (July 15, 2014),
 https://www.latimes.com/local/la-me-skid-row-police-20140716-story.html.
 92
    Id.
 93
    Id.
 94
    Id. (“Our success will lie in taking a more progressive approach,” said LAPD Capt. John McMahon).


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 people; in 2016, it was 1 in 6. 95 The Los Angeles Times reported that “Officers
 made 14,000 arrests of homeless people in the city in 2016, a 31% increase over
 2011.” 96 The rise occurred despite LAPD arrests decreasing by 15% that year. 97
 “Two-thirds of those arrested were black or Latino, and the top five charges were
 for nonviolent or minor offenses.”98 Cloaked as less punitive, such measures
 entrench longstanding and systemic criminalization affecting Los Angeles’ most
 vulnerable. Tickets fining $100 add up to as much as $300 once court fees are
 applied. 99 When tickets pile up, police arrest homeless people and put them in jail
 for failure to pay. 100 The result is a revolving door of debt and housing insecurity
 where a history of arrests bar individuals from housing and sustainable jobs. In a
 listening session conducted by LAHSA, a participant contributed “[i]f you are a
 Black Male, you are going to jail. If you are here on Skid Row and you are on this
 sidewalk, they are going to make obstacles for you.” 101
        Today, redevelopment interests continue to threaten the preservation of Skid
 Row. Abutting Skid Row are thriving neighborhoods—namely the Arts District
 and Little Tokyo District. As these districts edge closer to the boundaries of
 containment, police presence within Skid Row grows stronger. 102 The devalued
 downtown property incentivizes luxury housing developers and businesses to
 advocate the city to rezone and divest from affordable housing and services. “Our
 collective voice is drowned out by numerous ‘established voices’ who dominate
 each and every conversation about a community they don’t even live in,” recounts
 General Jeff. 103 Another Skid Row resident, Craig R., remarked “they’re planning
 on making billions of dollars on pushing us out, squeezing us out, or kicking us




 95
    Gale Holland & Christine Zhang, Huge Increase in Arrests of Homeless in L.A.—But Mostly for Minor Offenses,
 L.A. TIMES (Feb. 4, 2018), https://www.latimes.com/local/politics/la-me-homeless-arrests-20180204-story.html.
 96
    Id.
 97
    Id.
 98
    Id.
 99
    Id.
 100
     Id.
 101
     LAHSA REPORT, supra note 4, at 24.
 102
     The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 103
     Bianca Barragan, General Jeff’s Neighborhood Guide to LA’s Skid Row, CURBED LOS ANGELES (Apr. 12, 2016),
 https://la.curbed.com/2016/4/12/11405274/los-angeles-skid-row-neighborhood-guide.


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 out, meaning us the poor people, the disadvantaged people, the homeless, plus the
 residents of the neighborhood.”104
        For too long, Black individuals have not had an opportunity to share with the
 City and County the ways that structural racism in policy affects them. On April 7th
 2020, at a status conference for the present case, General Jeff said, “[W]hen I look
 at Skid Row, the majority of the Skid Row population are African-American. You
 know, when we look at the homelessness in terms of Council Districts 8, 9, 10, . . .
 we can see that . . . there’s . . . a strong African-American presence . . . and so
 there’s significant issues because there’s a racial undertone to this matter.” 105 “We,
 more importantly, want to thank you,” General Jeff continued, “for giving a voice
 to we, the people of Skid Row and of homelessness, because there’s always been []
 a long-standing issue of we, the people, not being able to have a seat at the
 decision-making table.” 106 In a listening session conducted by Los Angeles County
 and reported by LAHSA, a Black Woman in West Adams echoed General Jeff’s
 sentiment: “Sitting across the table of someone that looks like you, and at the very
 least can understand what it is like to experience the world the way you experience
 it, makes a huge difference. It opens you up to be more willing to support care.
 Until we get people that look like us in these positions, we are not going [to] be
 able [to] access it. It [is] not going to seem like something that is safe.”107
 As the unhoused population grows, it has spilled out of the containment zone.
 “This may be the key to understanding homeless policy in Los Angeles over the
 last forty years: nothing happened until homelessness spilled over the boundaries
 of the ‘containment’ area and became visible and present in neighborhoods region-
 wide.”108

 COVID-19

      The COVID-19 pandemic presented an unprecedented need for health
 measures and infectious disease control. 109 Governor Gavin Newsom directed an

 104
     The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 105
     Dkt. 165 at 174.
 106
     Dkt. 165 at 171.
 107
     LAHSA REPORT, supra note 4, at 34.
 108
     LUSKIN REPORT, supra note 10, at 56.
 109
     Id. at 59.


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 initiative titled “Project Roomkey” in April 2020 to house 15,000 homeless
 Californians in hotel and motel rooms to protect unhoused individuals during the
 pandemic.110 But a May report to the Board of Supervisors detailed that Project
 Roomkey rooms have been disproportionately made available to white homeless
 Angelenos—exacerbating the risks to a Black population that already
 disproportionately bears the harmful effects of the City and County’s failure to
 address homelessness. 111 Between 365,000 and 495,000 households in Los
 Angeles County face imminent risk of eviction, most of whom are lower-income
 people of color, in particular Black Angelenos. 112 In Los Angeles County,
 homeless individuals are 50% more likely to die if they contract COVID-19,
 escalating the need for equal—if not increased—access to services. 113

 Modern Implications

        The 2018 LAHSA report concluded that “racial bias [continues to] affect
 every aspect of a Black person’s life, and it is impossible to untangle the pervasive
 effects of institutional racism from other system failures that together cause a
 person to experience homelessness.”114
        “People in our community are houseless because of structural and
 institutional racism and gender inequality,” said Monique Nowell, spokesperson
 for the Downtown Women’s Action Coalition. 115 In a listening session conducted
 by LAHSA, a participant voiced the same: “[s]tructural racism is the issue here.
 Los Angeles doesn’t acknowledge this. How can we have the conversation if we
 don’t acknowledge we live in a racist Los Angeles?” 116
        Recent events have focused our attention on the existence of systemic racism
 in the City and County of Los Angeles. Nearly a century after seizing a Black
 family’s oceanfront resort, the County of Los Angeles is reckoning with its racist


 110
     Id.
 111
     Id. at 60.
 112
     Id. at ii.
 113
     Benjamin Oreskes & Doug Smith, L.A.’s Homeless Residents Are 50% More Likely to Die if They Get COVID.
 Now They’re A Vaccine Priority, L.A. TIMES (Mar. 12, 2021), https://www.latimes.com/homeless-
 housing/story/2021-03-12/la-homeless-50-percent-more-likely-die-covid.
 114
     LAHSA REPORT, supra note 4, at 9.
 115
     Dkt. 218 at 86.
 116
     LAHSA REPORT, supra note 4, at 20.


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 employment of eminent domain. In 1912, a Black Angeleno named Willa Bruce
 purchased the first of two ocean lots in what would soon become the city of
 Manhattan Beach. Willa and her husband developed an oceanfront resort, which
 provided Black families with a lodge, café, and dance hall.117 The resort was the
 first of its kind at a time when segregation often limited the access Black people
 had to the surf.118 As more Black families purchased nearby property by the water,
 a Black community formed.119 “They were pioneers. They came to California,
 bought property, enjoyed the beach, made money,” remarked historian and author
 Alison Rose Jefferson. 120 But white neighbors grew hostile to the expansion of
 Black land ownership in the neighborhood. Black families found their tires slashed
 and the Ku Klux Klan purportedly set fire to a Black-owned home by lighting a
 mattress under its main deck. 121 Nearby Los Angeles Neighborhoods experienced
 similar violent hostility—Santa Monica was referred to as the “Inkwell” and a
 Black-owned Pacific Beach Club was torched the day before it was scheduled to
 open.122
         By 1924, County officials had condemned and seized over two dozen
 Manhattan Beach properties through eminent domain, citing urgent need for a
 public park. 123 The Manhattan Beach “leaders used eminent domain to strip the
 couple of the land — as well as property belonging to several other Black
 families—in a move that, historical record shows, had racist motivations.” 124 The
 Bruce family and three other Black families sued County officials on the basis of



 117
     Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
 A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
 manhattan-beach.
 118
     Hayley Munguia, Property Transfer Could Be U.S. First, ORANGE COUNTY REG. (Apr. 10, 2021),
 https://ocregister-ca-app.newsmemory.com/?publink=1681edced_1345d0e.
 119
     Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
 A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
 manhattan-beach.
 120
     Id.
 121
     Id.
 122
     Id.
 123
     Nancy Dillon, Southern California City Wrongfully Seized Beach Resort from Black Family in 1924. Now County
 Wants to Return It, N.Y. DAILY NEWS (Apr. 9, 2021), https://www.nydailynews.com/news/national/ny-los-angeles-
 county-plans-to-return-beach-land-to-black-family-after-century-20210409-hsnpkp4hv5erlhgmj3ynswgbc4-
 story.html.
 124
     Hayley Munguia, Property Transfer Could Be U.S. First, ORANGE COUNTY REG. (Apr. 10, 2021),
 https://ocregister-ca-app.newsmemory.com/?publink=1681edced_1345d0e.


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 racial prejudice. 125 The County ultimately paid them an amount far less than the
 property value and the Bruces were unable to purchase oceanfront land
 elsewhere. 126 After leaving the property vacant for decades, the County then turned
 the land into a whites-only park.127
        Ninety-seven years later, Los Angeles County responded to its role in
 pushing out an entire Black community from Manhattan Beach, where Black
 residents today make up less than one percent of the population.128 “I’m going to
 do whatever I can to right this wrong,” said Los Angeles County Supervisor Janice
 Hahn, apologizing to the Bruce family and agreeing that the land should be
 returned.129 “There’s no doubt that this was such an injustice that was inflicted —
 not just on Charles and Willa Bruce, but generations of their descendants who
 almost certainly would be millionaires had they been allowed to keep that
 beachfront property.”130

         ii.     Organized Abandonment in Housing

        The term “affordable housing” encompasses the government’s total effort to
 provide housing through public-private partnerships specifically designed to serve
 those who cannot afford market rents. In 1990, a federal law named the “National
 Affordable Housing Act” formalized “affordable housing” to mean privately
 owned, publicly subsidized housing. 131 “Public housing,” alternatively, refers to
 housing wholly owned and administered by the government. The redevelopment of
 public housing to affordable housing has fixed reliance on private developers to
 prioritize the most vulnerable groups facing housing insecurity when building

 125
     Rosanna Xia, Manhattan Beach Was Once Home to Black Beachgoers, But the City Ran Them out. Now It Faces
 A Reckoning, L.A. TIMES (Aug. 2, 2020), https://www.latimes.com/california/story/2020-08-02/bruces-beach-
 manhattan-beach.
 126
     Id.
 127
     Matthew Fleischer, Opinion: Want to Tear Down Insidious Monuments to Racism and Segregation? Bulldoze
 L.A. Freeways, L.A. TIMES (June 24, 2020), https://www.latimes.com/opinion/story/2020-06-24/bulldoze-la-
 freeways-racism-monument.
 128
     Rosanna Xia, A Tale of Two Reckonings: How Should Manhattan Beach Atone for Its Racist Past?, L.A. TIMES
 (Mar. 28, 2021), https://www.latimes.com/california/story/2021-03-28/how-should-manhattan-beach-atone-racist-
 past.
 129
     Id.
 130
     Id.
 131
     Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
 https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.


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 properties. Los Angeles is facing rising housing insecurity, demanding a critical
 evaluation of how affordable housing serves—or rather, fails to serve—our
 communities when compared to public housing.

 30 Years of “Affordability”

        The affordable housing public-private partnership model began in 1959,
 when the federal government offered below market interest rates to private
 developers to incentivize development of rental housing for individuals who could
 not afford housing at market rates but earned too much to qualify for public
 housing.132 The partnership was at first limited to nonprofit developers, but for-
 profit builders lobbied for inclusion and drafted new programs with one percent
 effective interest rates, profit structures riddled with loopholes, and exit strategies.
 133

        The exit strategies and profit structures are exemplified in one of the first
 apartments created under the affordable housing model—Concord Apartments in
 Pasadena, California. 134 Three years after purchasing the apartments, the owner of
 the building prepaid the subsidized mortgage, doubled tenants’ rents, and moved to
 auction the building at a substantial profit. 135 Over 150 elderly tenants of the
 Concord Apartments filed suit against the owner to contest the increased rent and
 halt the sale, and eventually, the city of Pasadena purchased the land, ultimately
 safeguarding housing security and long-term affordability for the residents and
 stymieing the efforts of the for-profit developer. 136
        A 1973 report sponsored by the Department of Housing and Urban
 Development cited sweeping critiques of incentive schemes: “Private enterprise
 was ‘getting rich’ at the expense of low- and moderate-income families… The
 subsidies offered were not sufficient and did not aid the families who most needed
 them.” 137 Despite these critiques, the Nixon administration issued a moratorium on
 public housing construction, entrenching the nation’s reliance on private

 132
     Id.
 133
     Id.
 134
     Id.
 135
     Id.
 136
     Id.
 137
     Id.


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 developers to provide affordable housing opportunities. 138 The following year, the
 Nixon administration distributed block grants for states to administer their own
 incentive programs—thereby reducing federal authority and increasing reliance on
 private developers. 139
        The Tax Reform Act of 1986 developed a tax credit system that is still in use
 today to incentivize private developers to build affordable housing. 140 The Low-
 Income Housing Tax Credit (“LIHTC”) provides tax credits to developers to
 subsidize the acquisition, construction, and rehabilitation of affordable rental
 housing for low- and moderate-income tenants, so long as the developer agrees to
 income-targeted rents on a percentage of the apartments for 30 years. 141 “This is
 one of the most urgent problems with Affordable Housing: It expires[.]” writes
 Tracy Jeanne Rosenthal of the New Republic. 142 Indeed, affordability
 requirements have begun to expire on units created at the program’s inception in
 1987—creating housing insecurity for hundreds of thousands of families across the
 United States who cannot afford to pay market-rate rents.
        Despite understanding the loopholes built into the affordable housing model
 from as early as 1988, national housing policy in 2021 remains reliant on the same
 private-public structure.
        Nearly 9,000 units in Los Angeles bound by affordable housing covenants
 house up to 20,000 Angelenos in L.A. County and will expire within the next eight
 years. 143 Los Angeles City Councilmember Gil Cedillo noted that number of soon-
 to-expire covenants “wipes out whatever gains we make” in housing efforts. 144
 Indeed, landlords across Los Angeles who hold property in areas with high or
 rising rents are not incentivized to maintain stabilized rents, meaning that upon
 expiration of the housing covenants, landlords will evict the tenants the program
 was meant to house.



 138
     Id.
 139
     Id.
 140
     Id.
 141
     Id.
 142
     Id.
 143
     Id.
 144
     Anna Scott, Thousands of Angelenos Will Have Fewer Affordable Housing Options As ‘Covenants’ Will Expire,
 KCRW (Apr. 12, 2021), https://www.kcrw.com/news/shows/greater-la/affordable-housing-manhattan-beach-
 restitution-oc/rent-covenants-expiring-la.


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 Accessible Housing

        Housing created under the affordable housing model is scarcely affordable
 for the average low-income renter. Thresholds of “affordable” rent are determined
 by a U.S. Department of Housing and Urban Development (“HUD”) calculation of
 Area Median Income (“AMI”)—meaning that rents are determined by the wealth
 of an entire county, rather than neighborhoods where housing is located. 145 In Los
 Angeles, a person making up to $63,100 a year, 80% of the AMI, will qualify as
 “low income.” 146 Landlords in affordable housing complexes are thus more
 amenable to renting to tenants who fall within the higher tiers of “low income”
 eligibility so that the rents sustain the mortgage payments and loans, leaving those
 earning far less with little opportunity to obtain affordable housing.
        Despite the fact that one quarter of the nation’s tenant households—nearly
 11 million tenants—qualify as “extremely low income,” the overwhelming
 majority of affordable housing programs target higher income thresholds. 147 This
 bias entrenches structural racism within affordable housing because it excludes
 “extremely low income” tenants, who are disproportionately people of color. 148
 The affordable housing model therefore perpetuates patterns of gentrification by
 pricing affordable housing in poorer neighborhoods at the higher threshold of
 eligibility standards, incentivizing an influx of higher-earning individuals and
 pushing out community residents who cannot meet the higher bracket affordable
 rent. Just as Angelenos of color were pushed out of their communities in the
 twentieth century due to redlining, exclusionary zoning, and eminent domain, the
 same structural eviction occurs today as the County and City prioritize affordable
 housing with 30-year covenants that target higher earning individuals over
 sustainable public housing initiatives for the most vulnerable in “extremely low
 income” brackets.
        A Los Angeles resident who lives in an affordable housing unit set to expire
 soon called attention to a newly constructed Affordable Housing building in her
 community: “Affordable for who? I don’t get how these politicians, how these


 145
     Id.
 146
     Id.
 147
     Id.
 148
     Id.


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 people in power could say what is affordable is if [they’re] not living in our
 situation, if [they’re] not walking in our shoes.” 149
        In addition to the building-based subsidies that landlords receive, many
 tenants also receive Section 8 vouchers.150 Section 8 housing vouchers were
 created under the Housing and Community Development Act of 1978 to assist
 eligible low- and moderate-income families to rent housing in the private market.
 HUD’s residency data reports that nearly 40% of LIHTC housing tenants receive
 Section 8 vouchers—though LIHTC itself costs $10.9 billion in tax revenue each
 year. 151
        Households receiving a Section 8 voucher pay 30% of their income as rent,
 the rest is subsidized by the Housing Authority and reimbursed by HUD. But
 access to Section 8 vouchers is scarce—the vouchers only serve one quarter of
 qualifying individuals. In fact, waitlists for Section 8 or the few remaining public
 housing units span more than ten years. 152 Tamara Meek, interviewed by the Los
 Angeles Times in 2017, first applied for a Section 8 housing voucher in 2004 when
 Los Angeles housing officials opened the waiting list to obtain the federal
 subsidy.153 In the 13 years she waited for a housing voucher, she made temporary
 arrangements, such as sleeping on blankets in the back of a friend’s kitchen. 154
 During that time, Meek did not receive any subsidy, only a place on the waiting list
 alongside 300,000 applicants. 155 Federal input has not kept pace with rising
 poverty levels, and as a result, Section 8 vouchers mostly became available when
 someone relinquished theirs, most often because of their death. 156 In 2017, Los
 Angeles reopened the Section 8 housing list for the first time in 13 years—with an
 expected 600,000 individuals to apply. 157 Securing a place on the waiting list is not
 just based on income, but luck. A lottery system will determine which 20,000 of


 149
     Id.
 150
     Id.
 151
     Id.
 152
     Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
 https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.
 153
     Doug Smith, Up to 600,000 Expected to Apply When L.A. Reopens Section 8 Housing List This Month After 13
 Years, L.A. TIMES (Oct. 1, 2017), https://www.latimes.com/local/lanow/la-me-ln-section-8-waiting-list-20170922-
 htmlstory.html.
 154
     Id.
 155
     Id.
 156
     Id.
 157
     Id.


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 the hundreds of thousands to apply will be added to the Section 8 waiting list. 158
 And still, a coveted place on the waiting list entails an indeterminable wait. 159 In
 2017, Douglas Guthrie, President and CEO of the Housing Authority of the City of
 Los Angeles, called attention to how the lack of access to the waiting list
 “expose[s] the tremendous need there is in Los Angeles for affordable housing.” 160
 Yet four years later, access remains out of reach.
        The Housing Authority of Los Angeles County operates independently from
 the City and maintains a wait list for Section 8 housing that last opened in 2009,
 with 40,000 individuals as of 2017. 161 Leonardo Vilchis, cofounder of the L.A.
 Tenants Union, states that rather than turning to innovative solutions, reliance on
 the for-profit designed affordable housing model leaves us to “negotiate the terms
 of the community’s defeat.” 162 The homeless deaths resulting from housing
 insecurity is the “body count” of “relationships administered under the institution
 of private property,” notes University of California, Los Angeles Professor
 Marques Vestal. 163
        The National Low Income Housing Coalition (“NLIHC”) concluded in its
 2021 annual report that low-income renters in the U.S. face a shortage of nearly
 seven million affordable and available rental homes.164 For every 100 extremely
 low-income renter households in 2019, only 37 affordable homes are available. 165
 The rising number of unhoused citizens is quickly outpacing the amount of truly
 affordable housing. 166 In response, the report cites the need for substantial and
 sustained investment in public housing and an expansion of the Housing Choice
 Voucher program to eligible households, among other measures. 167
        The existing data demonstrates how bipartisan policy to divest from public
 housing and invest in affordable housing has structurally burdened communities of

 158
     Id.
 159
     Id.
 160
     Id.
 161
     Id.
 162
     Tracy Jeanne Rosenthal, The Enduring Fiction of Affordable Housing, NEW REPUBLIC (Apr. 2, 2021),
 https://newrepublic.com/article/161806/affordable-housing-public-housing-rent-los-angeles.
 163
     Id.
 164
     Nat’l Low Income Hous. Coal., NLIHC Releases 2021 Edition of The Gap, Finding Extremely Low-Income
 Renters Face Shortage of 7 Million Affordable and Available Homes (Mar. 22, 2021),
 https://nlihc.org/resource/nlihc-releases-2021-edition-gap-finding-extremely-low-income-renters-face-shortage-7.
 165
     Id.
 166
     Id.
 167
     Id.


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 color, while catering to households at the upper tier of the AMI category who are
 disproportionately white. Indeed, twenty five percent of all renter-households in
 the U.S., accounting for 10.8 million households, fall under the “extremely low
 income” threshold. 168 7.6 million of those households devote more than half of
 their incomes on rent and utilities. 169 By incentivizing developers to invest in
 affordable housing directed to individuals with higher incomes, there is a severe
 shortage of housing for the lowest-income renters. 170 People of color are
 disproportionately affected by the shortage. The American Community Survey
 (“ACS”) reported that nationally, 20% of Black households, 18% of American
 Indian or Alaska Native households, 14% of Latino households, and 10% of Asian
 households are extremely low-income renters. 171 By comparison, six percent of
 white non-Latino households are extremely low-income renters. 172
         The economic and public health crisis caused by COVID-19 has made a
 desperate situation worse for low-income renters. In 2019, 54% of Black renters
 contributed more than half of their income to housing and utilities. That number
 has grown as COVID-19 economic and employment recovery remains slowest for
 communities of color, in particular women of color. 173 According to the Bureau of
 Labor Statistics unemployment data, the unemployment rate for Black women
 aged 20 and over is one-fourth higher than the national average of all Americans in
 that same age group, and for Latinas, the rate is nearly 50% higher than the
 national average. 174 Yet the housing policies of Los Angeles County and City
 exacerbate these structural inequalities by investing in affordable housing designed
 for a limited period of 30 years and targeting the higher tiers of eligible residents—
 leaving those in the lowest tier of eligibility with scarce options. 175
         In some instances, housing discrimination in Los Angeles County is directed
 explicitly at Black people. In 2013, an investigation by the Civil Rights Division of
 the U.S. Department of Justice uncovered a pattern or practice of discriminatory

 168
     Id.
 169
     Id.
 170
     Id.
 171
     Id.
 172
     Id.
 173
     Caroline Modarressy-Tehrani, Women of Color Hardest Hit By Pandemic Joblessness, NBC NEWS (Aug. 1,
 2020), https://www.nbcnews.com/news/us-news/women-color-hardest-hit-pandemic-joblessness-n1235585.
 174
     Id.
 175
     Indeed, with apologies to Sir Winston Churchill, from the perspective of those living on the streets of Los
 Angeles, it may seem that never have so many spent so much for such little benefit for so few.


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 practices against Black Angelenos by a Los Angeles County Sheriff’s Department
 station. 176 In particular, the investigation found that Los Angeles County Sheriff
 deputies discriminated against Black Angelenos “by making housing unavailable,
 altering the terms and conditions of housing, and coercing, intimidating, and
 interfering with their housing rights, in violation of the Fair Housing Act
 (FHA).”177

 Housing Element

        The County and City have the means and infrastructure to create truly
 affordable housing. A state-mandated plan called the “Housing Element,” due by
 October, is one way that Los Angeles leaders can achieve immediate and
 sustainable change.178 In 1969, the California legislature mandated that all cities
 and counties assess the state of housing availability and adopt a housing plan every
 7–8 years to meet the housing needs of every economic sector of the
 community. 179 The plan, known as the “housing-element law,” serves as a
 blueprint for how the city or county will develop land use and housing. 180
 According to the California Department of Housing and Community Development,
 “California’s housing-element law acknowledges that, in order for the private
 market to adequately address the housing needs and demand of Californians, local
 governments must adopt plans and regulatory systems that provide opportunities
 for (and do not unduly constrain), housing development.”181 The goals of the
 housing element are to ensure each jurisdiction is adjusting its policies to meet the
 rising housing needs of the community—in particular, by ensuring housing
 construction, reducing homelessness, and protecting tenants from displacement.



 176
     Letter from Thomas E. Perez, Assistant Att’y Gen., U.S. Dep’t of Just., to Sheriff Leroy D. Baca, L.A. Cty.
 Sheriff’s Dep’t (June 28, 2013), https://knock-la.com/wp-content/uploads/2021/03/DOJ-Findings-Letter-LASD-in-
 Antelope-Valley-June-28-2013.pdf.
 177
     Id. at 5.
 178
     Times Editorial Board, Editorial: L.A. Can Begin to Solve its Affordable Housing Crisis in 2021, L.A. TIMES
 (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
 179
     Regional Housing Needs Allocation and Housing Elements, CAL. DEP’T OF HOUS. & CMTY. DEV.,
 https://www.hcd.ca.gov/community-development/housing-element/index.shtml (last visited Apr. 19, 2021).
 180
     Id.
 181
     Id.


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        The housing element law requires cities and counties to identify and assess
 adequate sites for housing in order to “affirmatively further fair housing.” 182 An
 affirmative approach to fair housing under the law mandates several areas of
 analysis. Each locality must include “[a]n analysis of available federal, state, and
 local data and knowledge to identify integration and segregation patterns and
 trends, racially or ethnically concentrated areas of poverty, disparities in access to
 opportunity, and disproportionate housing needs within the jurisdiction, including
 displacement risk.”183 The analysis must contemplate plans to foster and maintain
 compliance with civil rights and fair housing laws and envision ways to replace
 segregated residential patterns with integrated and balance patterns.184 Once issues
 are identified, an assessment of contributing factors is required, alongside the
 jurisdiction’s housing priorities and goals. 185 Cities and counties must identify
 metrics and milestones to determine what fair housing results will be achieved. 186
 Jurisdictions can implement plans by incentivizing new affordable housing and
 community revitalization, as well as initiatives to preserve existing affordable
 housing and protecting existing residents from displacement.187
        Cities and counties must also create an inventory of land “suitable and
 available for residential development” throughout the community, including
 “vacant sites and sites having realistic and demonstrated potential for
 redevelopment during the planning period to meet the locality’s housing need for a
 designated income level.” 188 Sites range from permanent housing units to interim
 shelters, such as rental units, factory-built housing, affordable accessory dwelling
 units (ADUs), mobile homes, and emergency shelters.189 In particular, the law
 requires an analysis of governmental and nongovernmental constraints on
 maintenance, improvement, or development of housing, and the local efforts to
 remove such constraints. 190 Currently, 75% of the city’s residential property is



 182
     CAL. GOV’T CODE § 65583.
 183
     Id.
 184
     Id.
 185
     Id.
 186
     Id.
 187
     Id.
 188
     Id.
 189
     Id.
 190
     Id.


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 zoned for single-family zones.191 Without major rezoning initiatives, Los Angeles
 will continue to lack the infrastructure to meet the homelessness crisis and stem
 growing housing insecurity. 192
         In the 2013 Housing Element, the City laid out four goals. First, the City
 planned to create “a City where housing production and preservation result in an
 adequate supply of ownership and rental housing that is safe, healthy and
 affordable to people of all income levels, races, ages, and suitable for their various
 needs.”193 Second, the City aimed to provide “a City in which housing helps to
 create safe, livable and sustainable neighborhoods.”194 Third, the City set out to
 build “a City where there are housing opportunities for all without discrimination”
 and fourth, “a City committed to ending and preventing homelessness.” 195 But in
 spite of these goals, Black Angelenos face barriers to homeownership and renting
 affordable housing units; disease runs rampant in garbage-ridden streets; and
 homelessness rates and homelessness deaths are at an all-time high. In short,
 nonfulfillment of the Housing Element goals has exacerbated the housing shortage
 crisis.
         In February 2021, the Los Angeles Times Editorial Board (“Times Editorial
 Board”) said that Los Angeles leaders are “clinging to development patterns born
 out of racist housing policies from the last century that perpetuate segregation and
 inequality today.”196 The Times Editorial Board noted that the longstanding
 resistance against density and development has impeded leaders’ ability to create
 sufficient housing to meet the needs of its citizens. 197 Indeed, cities across
 California, such as Sacramento and Berkeley, are revising zoning laws in response
 to the housing crisis to permit apartments on land previously zoned only for single
 family residences.198 Los Angeles City Council President Nury Martinez has



 191
     Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
 (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
 192
     Id.
 193
     L.A. DEP’T OF CITY PLANNING, HOUSING ELEMENT 2013–2021 (2013),
 https://planning.lacity.org/odocument/883be4c9-392f-46e5-996b-b734274da37d/Housing_Element_2013_-
 _2021_.pdf.
 194
     Id.
 195
     Id.
 196
     Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
 (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.
 197
     Id.
 198
     Id.

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 proposed including a measure on the upcoming ballot that would similarly update
 zoning rules. The proposed ballot states:

         The outdated zoning code [also] prevents the city from meeting the pressing
         and urgent demands it is faced with. The city has a critical lack of housing
         for all income levels, however the zoning code prevents new housing from
         being built in much of the city particularly in job and transit rich
         communities. An updated code will better allow the city to house its
         homeless population, take advantage of transit investments, and meet our
         state mandated Regional Housing Needs Assessment (RHNA) target of over
         450,000 new homes by 2029. 199

        In October, Los Angeles must submit its updated Housing Element plan. It
 must identify land or properties that may be developed for 455,000 new units of
 housing, including 185,000 units for lower-income tenants. “Given the huge
 increase in units that L.A. needs to plan for,” noted the Times Editorial Board, “the
 decisions leaders make this year on where to put these new homes will shape how
 the city grows over the coming decade—and determine whether Los Angeles can
 become a less segregated, more affordable and sustainable city.” 200 The Housing
 Element plan presents a pivotal opportunity for the City and County to curtail
 structural racism by affirmatively promoting fair housing, as required under the
 law. But if new affordable housing is only concentrated in low-income
 communities where current zoning permits more dense structures, the City and
 County will not meet their responsibility to affirmatively promote fair housing.
 The Times Editorial Board challenged city officials to act to deconstruct structural
 racism in housing policy: “For the first time, Housing Element plans have to
 analyze housing inequality and try to reduce segregation and lack of opportunities
 in Black, Latino and lower-income communities. That means cities have to zone
 for more affordable housing in high-opportunity communities that have lots of
 jobs, good schools, transit stops, parks and other amenities. And if a city is going
 to put affordable housing developments in low-income communities, there has to
 199
     Motion, Land Use Reform – Zoning Ballot Measure (Aug. 19, 2020), http://clkrep.lacity.org/onlinedocs/2020/20-
 1042_mot_08-19-2020.pdf.
 200
     Times Editorial Board, Editorial: L.A. Can Begin to Solve Its Affordable Housing Crisis in 2021, L.A. TIMES
 (Feb. 28, 2021), https://www.latimes.com/opinion/story/2021-02-28/los-angeles-housing-element.


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 be an accompanying investment in infrastructure, schools and services that help lift
 up those neighborhoods.” 201
        A report by a coalition of housing, social justice, and environmental groups
 found that nearly half of newly constructed units in Los Angeles between 2012 to
 2019 were in lower-income communities. 202 Yet 90% of the new construction
 during that period is unaffordable to working-class tenants in Los Angeles. 203 By
 concentrating new housing initiatives in lower-income communities, older
 buildings are razed and replaced by higher cost units, further decreasing the
 availability of affordable living for tenants in those communities and driving
 gentrification. 204 The Times Editorial Board advocated for city officials to change
 the course of housing scarcity in Los Angeles through its upcoming Housing
 Element plan:

           The Housing Element is the means by which L.A. leaders can enact more
           equitable development policies. The City Council and Garcetti could direct
           new development toward affluent, high-opportunity communities that have
           been traditionally closed to denser, more affordable housing. They could
           allow small apartment buildings, townhomes and bungalow courts in single-
           family neighborhoods. They could adopt tenant protections and discourage
           redevelopment of rent-stabilized apartments. They could incentivize
           developers to include more affordable units in their new buildings. They
           could streamline permitting so it’s easier and cheaper to build much-needed
           homes for all income levels. It shouldn’t take state intervention to force L.A.
           to do what’s desperately needed. 205

        With rising housing insecurity and an increasing death rate of unhoused
 persons on the streets of Los Angeles, never has there been so urgent of a need to
 utilize the Housing Element to restructure and reform the housing needs of our
 citizens.



 201
     Id.
 202
     Id.
 203
     Id.
 204
     Id.
 205
     Id.

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    B. PUBLIC STATEMENTS ON HOMELESSNESS

        California Governor Gavin Newsom has recognized the housing crisis that
 has left hundreds of thousands of Californians on the streets. In his State of the
 State address to the California Legislature on February 19, 2020, Governor
 Newsom acknowledged that homelessness was a problem that had been growing
 for decades and was neglected or consciously set aside by past administrations. His
 words were a call to emergency action and an effort to provide the necessary
 resources to stop the loss of life and correct the inhumane conditions existing in the
 deprivation of humanity in homeless communities in California, thereby ensuring
 an acceptable quality of life for all. In Governor Newsom’s words:

       Let’s call it what it is, a disgrace, that the richest state in the richest nation—
       succeeding across so many sectors—is failing to properly house, heal, and
       humanely treat so many of its own people. Every day, the California Dream
       is dimmed by the wrenching reality of families, children and seniors living
       unfed on a concrete bed. Military veterans who wore the uniform of our
       country in a foreign land, abandoned here at home. LGBTQ youth fleeing
       abuse and rejection from their families and communities. Faces of despair.
       Failed by our country’s leaders and our nation’s institutions. As
       Californians, we pride ourselves on our unwavering sense of compassion
       and justice for humankind—but there’s nothing compassionate about
       allowing fellow Californians to live on the streets, huddled in cars or
       makeshift encampments. And there’s nothing just about sidewalks and street
       corners that aren’t safe and clean for everybody. The problem has persisted
       for decades—caused by massive failures in our mental health system and
       disinvestment in our social safety net—exacerbated by widening income
       inequality and California’s housing shortage. The hard truth is we ignored
       the problem. We turned away when it wasn’t our sister, our brother, our
       neighbor, our friend. And when it was a loved one, help wasn’t there. Most
       of us experienced homelessness as a pang of guilt, not a call to action. . . . It
       became normalized. Concentrated in skid rows and tent cities in big urban
       centers. Now it’s no longer isolated. In fact, some of the most troubling
       increases have occurred in rural areas, in small towns, and remote parts of
       our state. No place is immune. No person untouched. And too often no one
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         wants to take responsibility. I’ve even heard local officials proclaim in
         public: it’s not my problem. Servants of the public too busy pointing fingers
         to step up and help? That’s shameful. The State of California can no longer
         treat homelessness and housing insecurity as someone else’s problem, buried
         below other priorities which are easier to win or better suited for
         soundbites. 206

        Governor Newsom has turned his words into actions. In January 2019, the
 State of California sued the city of Huntington Beach for failing to comply with
 state housing laws in place to ensure the availability of affordable housing. 207 Later
 that year, $650 million in state funds were released directly to cities to address
 homelessness across the state. 208 Included in the state’s 2020–21 budget was a 28-
 page overview of the Governor’s homelessness plan.209 At the beginning of the
 pandemic, in March 2020, an additional $150 million was directed to cities to
 protect Californians experiencing homelessness from COVID-19210 and exempted
 the construction industry from his statewide stay-at-home order in recognition of
 the urgent need for housing projects to continue.211 As an interim emergency
 response to the homelessness crisis, Governor Newsom also ordered the
 deployment of travel trailers to provide temporary housing for families
 experiencing homelessness. 212


 206
     Gov. Gavin Newsom, State of the State Address (Feb. 19, 2020), https://www.gov.ca.gov/2020/02/19/governor-
 newsom-delivers-state-of-the-state-address-on-homelessness/.
 207
     Liam Dillon, After Huntington Beach Lawsuit, Newsom Warns Cities He’ll Continue Housing Law Crackdown,
 L.A. TIMES (Feb. 19, 2019), https://www.latimes.com/politics/la-pol-ca-gavin-newsom-housing-cities-summit-
 20190219-story.html.
 208
     Nicole Hayden, Tired of Waiting for Federal Go-Ahead, California Gov. Newsom Releases Homeless Funding to
 Counties, Cities, DESERT SUN (Dec. 4, 2019), https://www.desertsun.com/story/news/2019/12/04/california-gov-
 newsom-releases-homeless-funding-counties-and-cities/2610314001/.
 209
     GABRIEL PETEK, LEGIS. ANALYST’S OFF., THE 2020–21 BUDGET: THE GOVERNOR’S HOMELESSNESS PLAN
 (2020), https://lao.ca.gov/Publications/Report/4152.
 210
     Governor Newsom Takes Emergency Actions & Authorizes $150 Million in Funding to Protect Homeless
 Californians from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Mar. 18, 2020),
 https://www.gov.ca.gov/2020/03/18/governor-newsom-takes-emergency-actions-authorizes-150-million-in-funding-
 to-protect-homeless-californians-from-covid-19/.
 211
     Andrew Khouri, As California Shelters at Home from Coronavirus, Construction of Housing Goes On, L.A.
 TIMES (Mar. 21, 2020), https://www.latimes.com/homeless-housing/story/2020-03-21/coronavirus-construction-
 california-stay-at-home.
 212
     First Wave of Travel Trailers Delivered to South Los Angeles as Part of Emergency State Action on
 Homelessness, OFF. OF GOV. GAVIN NEWSOM (Feb. 13, 2020), https://www.gov.ca.gov/2020/02/13/first-wave-of-
 travel-trailers-delivered-to-south-los-angeles-as-part-of-emergency-state-action-on-homelessness/.


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        In April 2020, the Governor set an initial goal of securing 15,000 rooms
 statewide through Project Roomkey, a program that deploys vacant motel rooms to
 serve as safe shelters for homeless individuals during the COVID-19 pandemic.213
 In November 2020, an additional $62 million of state funds were committed to
 counties across the state to continue providing shelter to Project Roomkey
 participants. 214 And in July 2020, Governor Newsom announced the availability of
 $600 million in funding for Project Homekey, an initiative to convert hotels,
 motels, vacant apartment buildings, and other properties into permanent, long-term
 housing for people experiencing or at risk of homelessness.215 By the end of 2020,
 Project Homekey had consumed $846 million in state funds to purchase and
 subsidize 6,029 housing units statewide.216
        But despite these state-led efforts, at least 1,383 people experiencing
 homelessness died on the streets of Los Angeles County in 2020, a figure that
 likely underestimates the true death toll.217 As a direct result of local government
 inaction and inertia in the face of a rapidly escalating crisis, 165 homeless people
 died in January 2021 alone—a 75.5% increase compared to January 2020. 218 Each
 day, while the City and County of Los Angeles stand by, allowing bureaucracy to
 upstage the needs of their constituents, five more people experiencing
 homelessness die in Los Angeles County. 219 For years, “many efforts to build



 213
     At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
 Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
 3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
 roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
 19/; Marisa Kendall, How California Used COVID to Create Housing. A Top Newsom Adviser Weighs In,
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 housing-a-top-newsom-adviser-weighs-in/.
 214
     Governor Newsom Announces Emergency Allocation of $62 Million to Local Governments to Protect People
 Living in Project Roomkey Hotels, OFF. OF GOV. GAVIN NEWSOM (Nov. 16, 2020),
 https://www.gov.ca.gov/2020/11/16/governor-newsom-announces-emergency-allocation-of-62-million-to-local-
 governments-to-protect-people-living-in-project-roomkey-hotels/.
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     Governor Newsom Announces Release of $147 Million in Fourth Round of Homekey Awards, OFF. OF GOV.
 GAVIN NEWSOM (Oct. 9, 2020), https://www.gov.ca.gov/2020/10/09/governor-newsom-announces-release-of-147-
 million-in-fourth-round-of-homekey-awards/.
 216
     Governor Newsom Announces Major Homekey Milestone: All 94 Sites Closing Escrow Ahead of Deadline, OFF.
 OF GOV. GAVIN NEWSOM (Dec. 29, 2020), https://www.gov.ca.gov/2020/12/29/governor-newsom-announces-major-
 homekey-milestone-all-94-sites-closing-escrow-ahead-of-deadline/.
 217
     Dkt. 241-1 at 1.
 218
     Id.
 219
     Id.


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 housing have been stymied by resistance at the local level — mayors, supervisors
 and their constituents.” 220 This must stop now.
        L.A.’s homeless population has been steadily increasing, according to data
 produced by LAHSA. In 2020, LAHSA reported a 12.7% increase in the rate of
 people experiencing homelessness in Los Angeles County and a 16.1% increase in
 the homelessness rate in the City of Los Angeles compared to 2019.221 The
 COVID-19 pandemic has only exacerbated L.A.’s homelessness crisis. A recent
 report by the Economic Roundtable projects that the homelessness rate among
 working age adults in L.A. will increase by 86% by 2023 due to pandemic-related
 job losses.222
        Throughout his nearly eight years as Mayor of Los Angeles, Eric Garcetti
 has publicly acknowledged the crisis created by the rising rates of homelessness in
 his city.
        In his 2017 State of the City address, Mayor Garcetti said:

         In the last year, we campaigned for historic investments … and we won.
         Now, armed with the people of Los Angeles behind us, and new resources to
         propel us, it’s time to deliver historic change. . . . I remember a time when
         homelessness was mostly concentrated in Skid Row. Today, there are people
         without shelter in just about every neighborhood. I am outraged when there
         are Angelenos who can’t escape the cold rain. Horrified when someone who
         has worn our country’s uniform is begging for change on the corner. I
         recently talked with a friend who told me her children have grown up seeing
         the tents in our communities — they think it’s just a normal part of Los
         Angeles. . . . We can’t accept that. We won’t. . . . But the problem persists.
         That’s why we wrote Measure HHH. That’s why we fought hard to pass
         Measure H … so we could generate $355 million dollars a year to expand
         mental health, substance abuse, and employment services across the
         County—getting people off the streets, on track, and into homes of their
         very own. And thanks to the voters who passed it, we’re going to more than


 220
     Thomas Fuller, California Governor Declares Homeless Crisis ‘A Disgrace,’ N.Y. TIMES (Feb. 19, 2020),
 https://www.nytimes.com/2020/02/19/us/california-homeless.html.
 221
     Dkt. 241-1 at 1.
 222
     Dkt. 239 at 1 n.2.


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          triple our production of permanent supportive housing in the next two
          years. 223

          In his 2018 State of the City address, Mayor Garcetti said:

          And people don’t want to go to the other side of the city to sleep in it. Now
          that Measure H dollars are flowing, we can finally bring relief to people
          where they are. It’s time for tents to come down in our neighborhoods. . . .
          This week, thanks to this City Council, we will put in place an emergency
          shelter crisis declaration — so that we can build shelters across L.A. as
          quickly as possible.224

          And in 2019, Mayor Garcetti said:

          Fighting homelessness is not for the faint of heart. This is tough work. And
          like you, I’m frustrated with any encampment on any sidewalk in our city.
          Too many of us still see tents in our neighborhoods … or a man sleeping on
          our corner who still hasn’t gotten the help he needs. And I’m impatient …
          tired of how long it’s taking to make a real dent in this crisis. But I am not,
          and we are not, turning away from this — we’re pushing forward. And based
          on the evidence … the money that’s been invested ... the new hires that have
          just been made … the time we’ve dedicated — I know that things will turn
          around. . . . So, yes: Some days I’m frustrated. But I’m passionate about this.
          There’s no issue I work on more deeply than homelessness … and I can tell
          you this: we will get there. We will get there. . . . But I am here to tell you
          that in this coming year, we will start seeing a difference on our sidewalks
          and in our communities. We have nearly $5 billion dollars to spend on our
          work. . . . I see homelessness … public safety … equity … infrastructure …
          and so many other issues through the eyes of my 7-year-old daughter, Maya.
          What does Los Angeles look like to children in her generation now, as
          they’re growing up? And how will it look when they’re grown up, and
          starting their own families?225

 223
     Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2017), https://www.lamayor.org/state-city-2017.
 224
     Eric Garcetti, Mayor of L.A., State of the City (Apr. 16, 2018), https://www.lamayor.org/SOTC2018.
 225
     Eric Garcetti, Mayor of L.A., State of the City (Apr. 17, 2019), https://www.lamayor.org/state-city-2019.

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        And finally, in 2020, Mayor Garcetti averred that he had “called for a
 FEMA-level response to our homelessness crisis almost two years ago, and it took
 this virus to finally get the federal funding to begin to make it happen.”226 Despite
 acknowledgements by City and County officials, promises to the citizens of Los
 Angeles regarding the homelessness crisis have been made and broken year after
 year. Los Angeles City and County have never taken the most powerful step:
 declaring this an emergency. 227

       C. EMERGENCY POWERS FOR AN EMERGENCY SITUATION

       Los Angeles City Charter Sec. 231 and Los Angeles Administrative Code
 Sec. 8.22

         empower the Mayor of the City of Los Angeles to proclaim the existence or
         threatened existence of a local emergency when an occurrence which by
         reason of its magnitude is or is likely to become beyond the control of the
         normal services, personnel, equipment, and facilities of the regularly
         constituted branches and departments of the City government. 228

        To this day, Mayor Garcetti has not employed the emergency powers given
 to him by the City Charter despite overwhelming evidence that the magnitude of
 the homelessness crisis is “beyond the control of the normal services” of the City
 government. An emergency declaration under the City Charter would give the
 Mayor the power to “promulgate, issue and enforce rules, regulations, orders and
 directives which the [Mayor] considers necessary for the protection of life and
 property.”229 These rules would be effective immediately upon their issuance,
 allowing Mayor Garcetti to bypass the bureaucracy and eliminate the inefficiencies



 226
     Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2020), https://www.lamayor.org/SOTC2020.
 227
     A “FEMA-level response” is not an emergency declaration. An emergency declaration allows the city to bypass
 bureaucracy. See infra Section C. Emergency Powers for an Emergency Situation.
 228
     Dkt. 205 at 3.
 229
     L.A. Charter, Sec. 8.29.


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 that currently stifle progress on homelessness—still, the Mayor has not acted,
 while other localities have. 230
         The City also has a second avenue for leveraging its emergency powers, but
 there, too, there seems to be a crisis on inaction. California State Government Code
 8698–8698.2 gives counties and cities broad powers to declare a shelter crisis and
 provide emergency shelter and housing to the homeless during the duration of the
 state of emergency. 231 In 2015, Mayor Garcetti and Los Angeles City Council
 members introduced a motion to declare a state of emergency on homelessness “as
 it relates to a shelter crisis,” but the motion was never acted upon. 232 The motion
 called L.A.’s homelessness crisis “unprecedented and growing” and said that the
 City was “facing a state of emergency,” requiring “immediate action” and
 “immediate relief”—“extraordinary steps must be taken to make it build and locate
 a broad range of housing options; including temporary housing options, emergency
 shelters, and safe and legal parking areas for individuals who may live in their
 vehicles.” 233 It further declared that “the City of Los Angeles should take full
 advantage of its emergency authority to provide and incentivize shelter to those
 whose lives and health are at risk by living on the streets.” 234
         Commenting on the lack of movement eight weeks after the 2015 motion
 was first introduced, the Los Angeles Times Editorial Board wrote, “this whole
 process has been more of a turgid civics debate than an urgent response to a
 desperate situation.” 235 Despite the City’s acknowledgment that it had “willing
 partners at every level” and that the emergency “require[d] strong and immediate
 action by the city of Los Angeles,” 236 the Times continued, “the supposed state of
 emergency proclaimed almost two months ago is looking increasingly look like a

 230
     Other locales— including Portland, Oregon; Seattle and King County, Washington; and Hawaii—have declared
 states of emergency related to rising homelessness. Commenting on the decision to declare a state of emergency in
 his county, King County, Washington Executive Dow Constantine said, “[t]he persistent and growing phenomenon
 of homelessness—here and nationwide—is a human-made crisis, just as devastating to thousands as a flood or fire.”
 J.B. Wogan, Why Governments Declare a Homeless State of Emergency, GOVERNING (Nov. 10, 2015),
 https://www.governing.com/archive/gov-when-cities-declare-a-homeless-state-of-emergency.html.
 231
     Motion, State of Emergency – Homelessness and Poverty Housing (Sept. 22, 2015) [hereinafter 2015 Motion].
 232
     Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
 (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
 233
     2015 Motion, supra note 231.
 234
     Id.
 235
     Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
 (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
 236
     2015 Motion, supra note 231.


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 farce and a waste of time” and concluded, “enough with the hype and the mere
 pretense of urgency.”237
         In the intervening years, the City eventually went on to declare a shelter
 crisis under the state code, but the shelter crisis declaration has proven to be
 nothing more than empty words. 238 Homeless individuals continue to die in record
 numbers; the homeless population continues to grow; and government inertia
 continues to plague already insufficient relief efforts. Six years after the words
 were written, the Times Editorial Board’s proclamation that the shelter crisis
 declaration was a “farce and a waste of time” continue to ring true. It is clear that
 Mayor Garcetti can draw on his power to declare a local emergency under the Los
 Angeles City Charter in order to make progress towards solving the homelessness
 crisis.
         In a September 2019 editorial in the Los Angeles Daily News, Los Angeles
 City Councilmember Joe Buscaino called on the California governor to declare a
 state of emergency on homelessness, writing: “In our response to the homelessness
 crisis, the city, the county, and the state are obeying every speed limit and stopping
 at every red light…. We need to give our dedicated civil servants the ability to
 respond to this emergency Code 3, just like cops and firefighters, and bypass the
 normal rules that add precious days, weeks, and months to contracting and
 construction timelines.” 239 While the City has tried to shift responsibility onto the
 state for declaring an emergency, the real power remains with the Mayor and the
 City Council.
         The global community has recognized the shameful plight of the richest state
 in one of the richest countries in the world while it languishes in indecision. UN
 Special Rapporteur on Extreme Poverty and Human Rights Philip Alston has
 called out Los Angeles for lagging behind other American cities in tackling
 homelessness. 240 Specifically addressing his visit to Skid Row and the attitudes of
 public authorities in Los Angeles, the Special Rapporteur wrote that “[r]ather than
 responding to homeless persons as affronts to the senses and to their

 237
     Times Editorial Board, Editorial: What Happened to L.A.'s State of Emergency on Homelessness?, L.A. TIMES
 (Nov. 17, 2015), https://www.latimes.com/opinion/editorials/la-ed-1117-homeless-emergency-20151117-story.html.
 238
     L.A., CAL. ORDINANCE 185,490.
 239
     Joe Buscaino, It’s Time to Declare a State of Emergency on Homelessness, L.A. DAILY NEWS (Sept. 24, 2019),
 https://www.dailynews.com/2019/09/24/its-time-to-declare-a-state-of-emergency-on-homelessness-joe-buscaino/.
 240
     Gale Holland, U.N. Monitor Says L.A. Lags Behind Other Cities in Attacking Homelessness, L.A. TIMES (Dec. 5,
 2017), https://www.latimes.com/local/lanow/la-me-ln-un-monitor-skid-row-20171215-story.html.


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 neighborhoods, citizens and local authorities should see in their presence a tragic
 indictment of community and government policies.”241 The Special Rapporteur
 continued, commenting on the people he met in Skid Row who were “barely
 surviving” and concluding that “[h]omelessness on this scale is far from
 inevitable.”242 Leilani Farha, UN Special Rapporteur on Housing, also remarked
 that the homelessness crisis makes “you almost forget you’re in Los Angeles.” 243
 The New York Times has reported that “[n]early half of all unsheltered people in
 the United States live in California, though the state accounts for just 12% of the
 U.S. population.”
        Still, calls for action have been met only with a persistent failure to muster
 political will, resulting in an abdication of the government’s duty to protect its
 constituents.

       D. GOVERNMENT INACTION

        Elected officials at both the state and local level have long been aware of
 L.A.’s urgent homelessness crisis. In recent court filings, the County of Los
 Angeles called homelessness “an extraordinarily complex problem that demands a
 multi-faceted approach and active, sustained collaboration” among government
 officials. 244 The City of Los Angeles acknowledged that the “crisis of homeless is
 among the great challenges facing our region” 245 In a 2019 interview, Mayor
 Garcetti referred to homelessness as “the humanitarian crisis of our lives,”246 a
 characterization echoed by Hilda Solis, chair of the County Board of Supervisors,
 in 2020. 247 Heidi Marston, Executive Director of the Los Angeles Homeless

 241
     Statement on Visit to the USA, by Professor Philip Alston, United Nations Special Rapporteur on Extreme
 Poverty and Human Rights, U.N. HUM. RTS. OFF. OF THE HIGH COMM’R (Dec. 15, 2017),
 https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.aspx?NewsID=22533.
 242
     Id.
 243
     Charles David, UN Housing Official Shocked by L.A.’s Homelessness, CAPITAL & MAIN (Jan. 25, 2018),
 https://capitalandmain.com/united-nations-housing-official-shocked-los-angeles-homelessness-0125.
 244
     Dkt. 235 at 6.
 245
     Dkt. 242 at 1.
 246
     LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
 https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
 our-lives.
 247
     Innovative and Rapid Construction of Housing to Alleviate Homelessness to Launch at Former Jail Site, HILDA
 SOLIS (Sept. 29, 2020), https://hildalsolis.org/innovative-and-rapid-construction-of-housing-to-alleviate-
 homelessness-to-launch-at-former-jail-site/.


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 Services Authority, has called homelessness “an emergency on our streets . . .
 [requiring] an emergency response.”248 And yet, City and County officials are
 content to pay soundbite lip service instead of declaring an emergency and taking
 steps to correct the problems that plague their communities.
        California’s homeless population has steadily risen since 2007. 249 The
 sharpest increase took place over the last two years, marking a 24.3% increase
 from 2018 to 2020.250 A March 2021 federal report shows that California’s
 homeless population increased by nearly seven percent in early 2020 to an
 estimated 161,548—months before COVID-19 emerged and the subsequent
 economic crisis hit the state.251 Despite frequent acknowledgments of the
 emergency nature of homelessness in LA, City and County efforts to address the
 problem continue to be mired in corruption and plagued by a lack of transparency.

                  i.      No Functionality - Corruption, Bureaucracy, and
                          Inadequacy

        In February 2021, at the Los Angeles Business Council’s Mayoral Housing,
 Transportation and Jobs Summit, city officials spoke about the inadequacy of
 current efforts to combat homelessness. City Councilmember Mike Bonin
 declared, “let’s just be absolutely candid here—there’s almost nobody in the city of
 Los Angeles, housed or unhoused, who would give what’s happening in Los
 Angeles [anything] other than a failing grade.”252 Bonin further suggested that the
 structure of L.A.’s government was “not designed for a crisis of this proportion.”253
 Fellow Councilmember Kevin de León continued, “By any objective measurement,
 the current status quo is dysfunctional, it’s highly disjointed, the systems are
 completely misaligned.” 254

 248
     Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
 as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
 homelessness-in-california/5945026/.
 249
     Chris Nichols, California’s Homeless Population Rose 7% To 161,000 Ahead Of The Pandemic, New Report
 Finds, CAPRADIO (Mar. 19, 2021), https://www.capradio.org/articles/2021/03/19/californias-homeless-population-
 rose-7-to-161000-ahead-of-the-pandemic-new-report-finds/.
 250
     Id.
 251
     Id.
 252
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
 253
     Id.
 254
     Id.

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         The disconnect between politicians’ public statements about the severity of
 this crisis and the actual efforts made to fund effective solutions is growing. Recent
 investigations into City-funded housing projects for the homeless demonstrate that
 a lack of government oversight has allowed the proliferation of corruption. In at
 least two separate instances with two different developers, reports indicate that
 developers of taxpayer-funded affordable housing projects have purchased
 properties before turning around and reselling those properties to themselves at
 higher prices in order to artificially inflate their project budgets and, in turn, the
 amount of public money that they receive. In the case of a partly renovated motel
 in L.A.’s Westlake neighborhood, developers were able to increase the project’s
 budget by $8 million through this process of reselling. 255 According to reporting by
 KCRW, “most of the more than $30 million pumped into the renovation of this
 rundown motel has gone to its former owners, who, right before the sale, were sued
 by public interest attorneys for illegally evicting tenants.”256 In another case near
 Koreatown, a similar reselling process was used by a different developer to
 artificially inflate the budget by $6 million.257
         These cases, of which there are almost certainly more to be discovered,
 indicate that the city has turned a blind eye to corruption as money is being
 siphoned off from funds that taxpayers voted to allocate to the homeless
 population.
         The improper relationship between City Hall and real estate developers is
 neither isolated nor new. The FBI has been investigating possible corruption in
 City Hall since 2017, a probe that has led to the prosecution of real estate
 consultants, political fundraisers, and even, most notably, former Councilmember
 Jose Huizar, whose council district included Skid Row. 258 In June 2020, Huizar
 was arrested by federal agents for using his position to cover up illegal activities


 255
     Anna Scott, How a City-Funded Homeless Housing Project Became a Sink Hole for Public Money, KCRW (Dec.
 10, 2020), https://www.kcrw.com/news/shows/greater-la/hhh-motel-george-gascon/30-million-motel-homeless-
 shelter-prop-hhh-taxpayer-oversight-la.
 256
     Id.
 257
     Id.
 258
     David Zahniser, Emily Alpert Reyes, & Joel Rubin, L.A. City Councilman Jose Huizar charged in federal
 corruption probe, L.A. TIMES (June 23, 2020) https://www.latimes.com/california/story/2020-06-23/jose-huizar-
 arrest-corruption-city-hall-fbi-investigation; Donna Evans, $3.7 Million Plan Proposed to Clean Up Skid Row, DT
 NEWS (Apr. 8, 2014) http://www.ladowntownnews.com/news/3-7-million-plan-proposed-to-clean-up-skid-
 row/article_e25e730a-bf51-11e3-ac54-0019bb2963f4.html.


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 such as accepting bribes from real estate developers,259 and the Los Angeles Times
 has reported that “[i]nvestigators said Huizar reduced the amount of affordable
 housing required inside the development after receiving key financial
 benefits….”260 The FBI investigation and subsequent arrests, indictments, and
 prosecutions makes clear that corruption inside City Hall is directly linked to the
 lack of affordable housing in the City and, by extension, the homelessness crisis.
         At the February 2021 Mayoral Summit, Councilmember Mark Ridley-
 Thomas said, “We have to be smarter, we have to work harder, and we have to run
 a lot faster . . . If in fact we expect to make a difference over the next five years, it
 will require that which is conspicuously absent in this environment—and that is
 leadership . . . collective leadership.”261 Recognizing the purely symbolic nature of
 the collaboration between City Hall and the Board of Supervisors, Councilmember
 Ridley-Thomas continued, “we are overdue in terms of getting our act together.” 262
 Councilmember Ridley-Thomas’ words echo an article on homelessness in the Los
 Angeles Times more than 30 years ago. In 1985, the Times wrote: “It is time for
 leadership from both the mayor’s office and the county Board of Supervisors to
 pull all the players together in one room and lock the door until they have assigned
 tasks to start finding land and money for shelters, with deadlines for doing
 so. . .” 263

                  ii.     No Accountability - Missed Targets and Suspended
                          Deadlines




 259
     Libby Denkmann, Timeline: Follow The FBI's Sweeping LA City Hall Corruption Investigation Through The
 Years, LAIST (May 18, 2020), https://laist.com/2020/05/18/los-angeles-city-hall-fbi-corruption-investigation-
 timeline-englander-huizar.php.
 260
     David Zahniser, Downtown Developer Will Pay $1.2 Million in L.A. City Hall Corruption Case, L.A. TIMES (Jan.
 7, 2021), https://www.latimes.com/california/story/2021-01-07/downtown-developer-will-pay-1-2-million-in-l-a-
 city-hall-corruption-case.
 261
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
 262
     Id.
 263
     Help the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
 story.html.


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        Four years ago, Los Angeles voters passed Proposition HHH, a $1.2 billion
 bond to fund housing projects aimed at the city’s homeless population.264 After
 three years of missed deadlines, the first HHH project, providing just 62 housing
 units, opened in January 2020. 265 At the project’s unveiling, the Mayor announced,
 “This year, we will see an opening of one of these about every three weeks. My
 calculations, next year it might be every two weeks or less.”266 Over a year later,
 just seven projects containing 489 total units, had been completed. 267 By then, the
 City was four years into a ten-year project, but progress lagged far behind
 projections.
        “Where has this money gone?” asked Anna Scott of National Public Radio
 member station KCRW. 268 The initial public campaign for Proposition HHH
 planned for 10,000 housing units to be completed in 10 years, promising
 significant relief to the City’s unhoused population. However, progress continues
 to lag behind promises. At the current rate, it will take nearly 30 years to build
 enough housing for over 66,000 people currently experiencing homelessness—an
 estimate that doesn’t even account for the fact that the homelessness rate is
 growing exponentially every year.269 Moreover, while the average cost of a custom
 home in L.A. starts at $350,000, more than 28% of Proposition HHH units in
 construction exceed $600,000 per unit.270
        Ron Miller, Executive Secretary of the Los Angeles/Orange Counties
 Building and Construction Trades Council, was a major proponent of Proposition
 HHH, but recently questioned in a letter to Los Angeles City Attorney Mike Feuer
 why action has not been taken to quell the “abuses that seem to be occurring under
 HHH.”271 Miller referenced reports “alleging everything from fake not-for-profits

 264
     Doug Smith, It Took Three Years of Blown Deadlines, But L.A. Opens Its First Homeless Housing Project, L.A.
 TIMES (Jan. 7, 2020), https://www.latimes.com/california/story/2020-01-07/homeless-housing-project-proposition-
 hhh-bond-measure.
 265
     Id.
 266
     Id.
 267
     Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
 https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
 8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.
 268
     Anna Scott, How a City-Funded Homeless Housing Project Became a Sink Hole for Public Money, KCRW (Dec.
 10, 2020), https://www.kcrw.com/news/shows/greater-la/hhh-motel-george-gascon/30-million-motel-homeless-
 shelter-prop-hhh-taxpayer-oversight-la.
 269
     Dkt. 239 at 23.
 270
     Id.
 271
     Letter from Ron Miller, Exec. Sec’y, L.A./Orange Cntys. Bldg. & Constr. Trades Council, to Mike Feuer, L.A.
 City Att’y (Dec. 17, 2020) [hereinafter Miller Letter].


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 to contractors with zero employees and multi-million dollar development fees, and
 lucrative guaranteed managements fees that support zero-risk development.” 272
 Miller asked City Attorney Feuer why “there has been virtually no general call to
 action to publicly disclose and discuss the amount of money that is being made by
 developers or needed background investigation on entities applying for HHH
 funding.”273 Even beyond the damage it’s done to the homeless community and
 those facing housing insecurity, these issues are also hurting the construction
 community.
        Los Angeles City Controller Ron Galperin has also highlighted the problems
 undergirding HHH projects. In an article for the Los Angeles Daily News on
 March 14, 2021, Galperin wrote:

         What’s the problem with HHH? The projects are too expensive and too slow
         to make a meaningful difference for people living on our streets. As of this
         month, 489 bond-funded units are ready for occupancy and most others
         won’t be finished until 2023, 2024 or later. While Los Angeles someday will
         see thousands of new units, it will be nowhere near enough to keep pace
         with the crisis in our neighborhoods.274

       Examining the causes of the excessive delays and skyrocketing costs that
 have plagued HHH projects to date, Galperin went on:

         Spools of red tape and excessive development costs contributed to this mess.
         As Los Angeles Controller, the HHH ballot language mandates my office to
         audit the program’s finances yearly, and the City Charter allows us to
         examine its performance. We found in 2019 and 2020 that the high cost of
         building permanent supportive housing had slowed HHH to a crawl. Having
         to cobble together money from multiple funding sources and a serpentine
         permitting process made it so that developers couldn’t get their projects
         approved quickly. Instead of churning out units at $350,000 each as

 272
     Id.
 273
     Id.
 274
     Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
 https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
 8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.


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          originally predicted, the average per unit cost is now $531,000 — with some
          eclipsing $700,000. . . . If the City worked harder to bring costs down, it
          could use more money to fund additional housing units and extend HHH’s
          reach.275

         Further, even though Governor Newsom specifically exempted construction
 work from his statewide stay-at-home orders, Mayor Garcetti ordered “all
 benchmarks and deadlines pertaining to current HHH projects [to be] indefinitely
 suspended” as of April 2020. 276 Without these deadlines, Los Angeles residents
 have no way to hold the City accountable for its promises to create sustainable
 solutions to homelessness. And this complete lack of accountability has
 consequences—in the four years since Proposition HHH was passed, 5,814
 homeless people have died on the streets of Los Angeles.277 Homeless deaths have
 increased to at least five deaths per day, and while the homeless have perished on
 our streets, only 489 housing units have been produced in the four years of HHH
 funding.
         Proposition HHH provided funds to be used in three types of housing: 1)
 supportive housing for homeless individuals where health and other services would
 be provided, 2) temporary shelters and facilities, and 3) affordable housing. 278
 Nevertheless, the City “unilaterally decided to spend the vast majority of the
 funding on supportive housing,” allocating only five percent of the total
 Proposition HHH budget to interim shelter and facilities projects. 279 The deadly
 decision to prioritize long-term housing at the expense of committing funds to
 interim shelters has caused few to be housed while tens of thousands of people are
 left in the street. This allocation of resources has significantly benefited a relative
 few and sentenced the vast majority of our homeless population to living under
 circumstances that are clearly unacceptable in a civilized society. This decision
 also caused the quality of life for all residents of the City and County to deteriorate
 at an alarming rate.
         City Controller Galperin recently called for a “pandemic pivot” in his recent
 Los Angeles Daily News Article:
 275
     Id.
 276
     Dkt. 265 at 23.
 277
     Id.
 278
     Dkt. 239 at 21.
 279
     Id.

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         Money set aside for questionable or excessively expensive projects should
         be reallocated to less costly and time-consuming plans. Until recently, there
         had been little openness to such ideas at City Hall, but two of L.A.’s newest
         Councilmembers have embraced my office’s recommendations. They want
         the City to scrutinize troubled projects to see if a greater share of HHH funds
         can be used to build housing faster and cheaper. Building more interim
         housing to address immediate needs, and expanding the use of cheaper,
         faster permanent housing solutions to achieve long-term goals — like motel
         conversions and prefabricated and modular units — can and should be done
         through HHH. It’s time for the City to do a pandemic pivot. The residents of
         Los Angeles, unhoused and housed, deserve a more flexible approach to
         homeless housing — one that gets people off the streets today and creates an
         even greater number of supportive units in the days to come.280

         In a further effort to exacerbate this crisis, the City also announced in March
 2021 that it would ramp down Project Roomkey, Governor Newsom’s program to
 converted unused hotel rooms into temporary shelters for unhoused people during
 the COVID-19 pandemic.281 Just a month earlier, in February 2021, the Los
 Angeles Business Council, representing 500 L.A. businesses and civic leaders, had
 urged the City to expand Project Roomkey to include 15,000 hotel rooms.282
 “Opportunities like this don’t come along often. We must take full advantage of
 it,” the Los Angeles Business Council (LABC) wrote to Mayor Garcetti.283 “Thus,
 we urge you to act fast to explore options for renting vastly more hotel and motel

 280
     Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
 https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
 8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.
 281
     Elizabeth Chou, Expanding Project Roomkey to Shelter Homeless Angelenos ‘Unfeasible,’ LA County Officials
 Say, L.A. DAILY NEWS (Mar. 8, 2021), https://www.dailynews.com/2021/03/08/expanding-project-roomkey-to-
 shelter-homeless-angelenos-unfeasible-la-county-officials-say/; Benjamin Oreskes & Dakota Smith, L.A. County
 Won’t Expand Program to Shelter Homeless People in Hotels, L.A. TIMES (Mar. 5, 2021),
 https://www.latimes.com/homeless-housing/story/2021-03-05/l-a-county-wont-expand-program-to-shelter-
 homeless-people-in-hotels.
 282
     L.A. Business Council Calls for Significant Expansion of Project Roomkey for Homeless, L.A. DAILY NEWS (Feb.
 20, 2021), https://www.dailynews.com/2021/02/20/l-a-business-council-calls-for-significant-expansion-of-project-
 roomkey-for-homeless/.
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     LABC Leaders Call on Mayor Garcetti and City Council to Pursue 15,000 Room Goal for Project Roomkey,
 LABC (Feb. 19, 2021), https://labusinesscouncil.org/labc-leaders-call-on-mayor-garcetti-and-city-council-to-pursue-
 15000-room-goal-for-project-roomkey/.


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 rooms and bringing our unhoused Angelenos safely indoors.”284 City Attorney
 Mike Feuer also called himself a “strong supporter of the LABC’s proposal today
 that there be 15,000 new beds under Project Roomkey.” 285
        While the City cited budget constraints as the key factor in its decision,
 according to the Los Angeles Times, “local, state and federal officials say the city
 hasn’t requested reimbursement from the Federal Emergency Management Agency
 (FEMA) for portions of the estimated $59 million it has spent on Project
 Roomkey” to date.286 Shayla Myers, an attorney for the Legal Aid Foundation of
 Los Angeles has said, “there is federal money on the table—the literal FEMA
 response the mayor has been begging for, and yet the City has found excuse after
 excuse not to take advantage of it.”287 Mary Leslie, president of the Los Angeles
 Business Council, called the City’s failure to apply for reimbursement despite their
 purported budget constraints “disturbing and inexcusable” and stated that the
 City’s inaction is “costing the most vulnerable people their lives.” 288 While under
 the Trump administration, the federal government reimbursed only 75% of costs
 under Project Roomkey, the Biden administration recently increased the
 reimbursement rate to 100%.289
        In justifying the delayed reimbursement applications, City Administrative
 Officer Rich Llewellyn said, “essentially our billing department needs more
 assistance to get the money back.”290 In response, the Los Angeles Business
 Council said that “if it’s really a matter of filling out paperwork, the LABC is
 perfectly willing to organize an army of volunteers to go down to City Hall.” 291
 With only 42% of local hotel rooms occupied on any given day, the City could use
 the FEMA reimbursement money to shelter tens of thousands of at-risk people
 living on the streets of L.A.292


 284
     Id.
 285
     Id.
 286
     Benjamin Oreskes & Dakota Smith, L.A. Is Entitled to Federal Aid to Put Homeless People in Hotels. It Hasn’t
 Asked for Any Yet, L.A. TIMES (Mar. 3, 2021), https://www.latimes.com/homeless-housing/story/2021-03-03/la-
 slow-submit-fema-aid-paperwork-homeless-hotels.
 287
     Id.
 288
     Id.
 289
     Id.
 290
     Id.
 291
     Id.
 292
     Adam Mahoney, Occupy Hotel Rooms: Inside LA’s New Push to Solve Homelessness, GRIST (Mar. 10, 2021),
 https://grist.org/justice/fema-project-roomkey-homelessness-los-angeles/.


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         “Quite frankly, . . . our treasury usually has a balance of around 10-ish
 billion dollars,” stated Los Angeles City Controller Ron Galperin on April 15,
 2021. “There are ways that we can front the money for something,” Galperin
 continued. Critiquing the standstill based on budget shortfalls, Galperin said “the
 point that I’ve made repeatedly to others in the City is that if the issue is cash flow
 . . . we can solve that cash flow issue. That should not be the impediment.”293

                  iii.    No Plan for the Future

        In his 2020 State of the State address, California Governor Gavin Newsom
 declared, “the State of California can no longer treat homelessness and housing
 insecurity as someone else’s problem, buried below other priorities which are
 easier to win or better suited for soundbites.” 294 The Governor’s efforts to address
 homelessness include deploying emergency mobile housing trailers for homeless
 families, securing FEMA reimbursement for Project Roomkey, and making
 available state property for homelessness solutions. Still, despite these efforts by
 the State to provide aid to the City and County, 165 homeless persons died in
 January 2021. 295 In February 2021, at least another 105 homeless people died in
 Los Angeles County. 296 A minimum of 270 homeless people have died in 2021—a
 49% increase compared to this same time in 2020.297 At a recent Court hearing in
 City Hall, General Jeff Page, a leading activist and Skid Row resident said,
 “[W]hen we think of City Hall, where we are right now, it’s on the northwest
 corner of 1st and Main. The most northern corner of Skid Row is 3rd and Main,
 which is two blocks from here. And so, you know, we can actually look out the
 window and see homelessness out of every single direction—north, south, east,
 and west—of the building.” 298


 293
     People’s City Council – Los Angeles (@PplsCityCouncil), Twitter (Apr. 15, 2021, 6:33 PM),
 https://twitter.com/pplscitycouncil/status/1382869701852729348?s=21.
 294
     Gov. Gavin Newsom, State of the State Address (Feb. 19, 2020), https://www.gov.ca.gov/2020/02/19/governor-
 newsom-delivers-state-of-the-state-address-on-homelessness/.
 295
     Ethan Ward, They Were Homeless, Now They’re Dead, CROSSTOWN (Feb. 10, 2021)
 https://xtown.la/2021/02/10/homeless-deaths-los-angeles/.
 296
     Rev. Andy Bales (@abales), TWITTER (Mar. 8, 2021, 7:36 PM),
 https://twitter.com/abales/status/1369130010884198400.
 297
     Id.
 298
     Dkt. 165 at 172–73.


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         Despite Governor Newsom’s warning against deprioritizing homelessness
 and the clear evidence of an exponentially growing crisis in Los Angeles, City
 Councilmember Mark Ridley-Thomas criticized City inaction at the February 2021
 Mayoral Summit, saying, “the issue of homelessness is of insufficient importance
 to the decision makers in this region. Therefore, we have this languishing set of
 circumstances where we chase our tails, day in and day out, claiming that we’re
 doing things.”299 Councilmember de Leon agreed: “We need a real plan—a north
 star.” 300 He later continued, “There is a dissonance, there is a disconnection with
 the governmental rhetoric and what is happening on our streets every single day in
 Los Angeles.” 301 While Defendants tout their commitment to “build 10,000
 permanent supportive housing units” through Proposition HHH, the ongoing
 delays with Proposition HHH projects, failure to apply for FEMA funding, and
 ramp down of Project Roomkey demonstrate that the City and County lack the
 political courage to confront the fierce urgency of now, just when the citizens need
 solutions the most. With no clear plan of how to move forward, fellow
 Councilmember Mike Bonin echoed Ridley-Thomas: “The only way we can
 respond to this is . . . we need the Court’s help.”302 Panel moderator Miguel
 Santana concluded: “I’m hoping that five years from now we’re not having this
 conversation. I don’t know about you, but I’m kind of tired of having it. But
 something tells me we are.” 303
         On March 11, 2021, President Biden signed a historic $1.9 trillion COVID-
 19 relief bill that provided direct funding to states and cities. The City of Los
 Angeles was expected to receive $1.35 billion of that money, with $1.9 billion
 going to the County as a whole, leaving Mayor Garcetti “ecstatic.” 304 Michael
 Weinstein, President of the AIDS Healthcare Foundation, commented on the
 potential uses of that money, saying “the federal money coming to Los Angeles
 presents a tremendous opportunity for L.A. to finally and meaningfully end our

 299
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
 300
     Id.
 301
     Id.
 302
     Id.
 303
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
 304
     David Zahniser, Dakota Smith & Julia Wick, L.A. Expects to Receive $1.35 Billion from the Relief bBll. Garcetti
 Is ‘Ecstatic’, L.A. TIMES (Mar. 10, 2021), https://www.latimes.com/california/story/2021-03-10/federal-relief-cities-
 states-could-end-los-angeles-city-budget-crisis.


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 homeless crisis. However, we need Mayor Garcetti and the Council to act
 deliberately—and swiftly—to end the crisis here once and for all.” 305 In June 2020,
 even before the influx of funding through Biden’s COVID-19 relief bill, Heidi
 Marston, Executive Director of the Los Angeles Homeless Services Authority said:
 “We set the goal of rehousing 15,000 people, because that’s the estimated number
 of people experiencing homelessness who are 65 or older, or who have an
 underlying health condition, making them highly susceptible to hospitalization or
 death should they contract COVID-19. This is about saving lives. We are not
 backing away from that number. We know how to house them. We need the
 resources from the city, county, state and federal government to do it.”306 Now,
 Los Angeles has the resources to rehouse 15,000 vulnerable people through Project
 Roomkey—instead, the City and County continue to abdicate their responsibility to
 protect their citizens.

       E. HEALTH AND SAFETY IMPACTS

                  i.       Fires

        It isn’t just the unhoused community that feels the effects of this persistent
 government inaction. Rather, inertia has created a public safety crisis that touches
 the lives of every citizen of Los Angeles while the government remains indifferent
 amidst rising chaos. Firefighters of the Los Angeles Fire Department “are stunned
 by their own department’s records, which show thousands more fires in 2020 than
 2019, including more arsons and fires linked to homelessness.” 307 The problem is
 growing worse. Fires are breaking out with distressing frequency, threatening both
 housed and unhoused populations. In 2020, fires related to homelessness increased



 305
     Ged Kenslea, Homelessness: AHF Tells City ‘No More Excuses!’ as L.A. Gets $1.35B in COVID Relief,
 BUSINESSWIRE (Mar. 20, 2021), https://www.businesswire.com/news/home/20210320005012/en/Homelessness-
 AHF-Tells-City-%E2%80%98No-More-Excuses%21%E2%80%99-as-L.A.-Gets-1.35B-in-COVID-Relief.
 306
     Doug Smith & Benjamin Oreskes, As Efforts Collapse to Place Homeless in Hotels, L.A. Officials Propose New,
 $800-Million Plan, L.A. TIMES (June 23, 2020), https://www.latimes.com/homeless-housing/story/2020-06-23/as-
 efforts-collapse-to-place-homeless-in-hotels-l-a-officials-propose-new-800-million-plan.
 307
     Eric Leonard, LAFD Reports a Staggering Rise in the Number of Fires, Outpacing Any Year in Recent Memory,
 NBC L.A. (Oct. 9, 2020), https://www.nbclosangeles.com/investigations/fires-spike-45-in-city-of-los-angeles-data-
 shows/2442013/.


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 by 82% compared to 2019. 308 That figure is on pace to rise in 2021. 309 Particularly
 disturbing are records related to deliberately set fires affecting homeless
 individuals—which increased by 90% in 2020.310 The fires stem from homeless-
 on-homeless violence, targeted attacks from outsiders, and fires individuals light to
 stay warm inside their tent.311 In addition to the rise in deaths and injury, the fire
 destroys the temporary shelter unhoused individuals have, often sweeping up with
 it documents necessary to apply for housing and services.312
         Adding a more personal angle to these facts and figures, Freddie, an
 unhoused Angeleno whose tent was destroyed by a targeted explosion in Echo
 Park, said: “I know it’s not directed toward me as an individual,” said Freddie, “but
 it is directed toward me as a homeless person.” 313 As he read in his tent one
 Sunday evening, the last two sounds Freddie heard before the explosion were the
 roar of a car engine followed by a resounding boom that filled his tent with smoke
 and razed his shelter.314 Taking stock of what remained of his tent, Freddie
 questioned whether there would be a larger police response or public outcry had
 the same attack been taken against a housed Angeleno. 315 “Why am I less of a
 person?” he asked.316

                  ii.      Increased Risk of Homeless Deaths

        Unhoused persons who live on overpasses, underpasses, and along freeways
 are dying of transportation-related injuries and the public health risks inherent in
 living near freeways. A report by Los Angeles County shows that transportation-
 related injuries are the third most common cause of death among unhoused

 308
     More Than Half of Fires in LA at Start of 2021 Related to Homeless Encampments, NBC L.A. (Jan. 14, 2021),
 https://www.nbclosangeles.com/on-air/ore-than-half-of-fires-in-la-at-start-of-2021-related-to-homeless-
 encampments/2506553/.
 309
     James Queally, Firecrackers. Molotov Cocktails. Fire Attacks Have Shaken L.A.’s Homeless Community, L.A.
 TIMES (Oct. 18, 2019), https://www.latimes.com/california/story/2019-10-18/homeless-population-attacks-fire.
 310
     Eric Leonard, LAFD Reports a Staggering Rise in the Number of Fires, Outpacing Any Year in Recent Memory,
 NBC L.A. (Oct. 9, 2020), https://www.nbclosangeles.com/investigations/fires-spike-45-in-city-of-los-angeles-data-
 shows/2442013/.
 311
     James Queally, Firecrackers. Molotov Cocktails. Fire Attacks Have Shaken L.A.’s Homeless Community, L.A.
 TIMES (Oct. 18, 2019), https://www.latimes.com/california/story/2019-10-18/homeless-population-attacks-fire.
 312
     Id.
 313
     Id.
 314
     Id.
 315
     Id.
 316
     Id.


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 Angelenos.317 In Los Angeles, a homeless individual is 11 times more likely to die
 from being struck by a vehicle or train than a housed individual is. 318 Many others
 die each year after falling from overpasses.
         Encampments near freeways are “environmentally hazardous,” says Gary
 Blasi, civil rights attorney and Professor of Law at University of California, Los
 Angeles. 319 In fact, diesel soot and other carcinogens in vehicle exhaust increase
 the risk of cancer; 320 chronic exposure also raises the risk of pre-term births,
 asthma, strokes, and reduced lung function; 321 and chronic exposure to microscopic
 air pollutants in vehicle exhaust are key contributors to deaths from heart disease
 among people living near traffic.322
        The Los Angeles County report concluded: “Put simply, being homeless in
 LA County is becoming increasingly deadly.” 323 Unhoused Angelenos near
 freeways are exposed to toxic pollution and a high probability of “hazardous waste
 concentrations of lead.” 324 Areas within 300 yards of freeways are particularly
 vulnerable to the effects of pollution. 325




 317
     CTR. FOR HEALTH IMPACT EVALUATION, CTY. OF L.A. PUB. HEALTH, RECENT TRENDS IN MORTALITY RATES AND
 CAUSES OF DEATH AMONG PEOPLE EXPERIENCING HOMELESSNESS IN LOS ANGELES COUNTY (2019),
 http://www.publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Final.pdf [hereinafter CTR. FOR
 HEALTH IMPACT EVALUATION, RECENT TRENDS].
 318
     Id.
 319
     HILARY MALSON & GARY BLASI, UCLA LUSKIN INST. ON INEQ. & DEMOCRACY, FOR THE CRISIS YET TO COME:
 TEMPORARY SETTLEMENTS IN THE ERA OF EVICTIONS (2020).
 320
     Tony Barboza & Jon Schleuss, L.A. Keeps Building Near Freeways, Even Though Living There Makes People
 Sick, L.A. TIMES (Mar. 2, 2017), https://www.latimes.com/projects/la-me-freeway-pollution/.
 321
     Tony Barboza, Freeway Pollution Travels Farther Than We Thought. Here’s How to Protect Yourself, L.A.
 TIMES (Dec. 30, 2017), https://www.latimes.com/local/california/la-me-freeway-pollution-what-you-can-do-
 20171230-htmlstory.html.
 322
     Tony Barboza, California Scientists Link Tiny Particles in Car Exhaust to Heart Disease, L.A. TIMES (Feb. 25,
 2015), https://www.latimes.com/local/lanow/la-tiny-pollutants-linked-to-heart-disease-deaths-20150225-story.html.
 323
     CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.
 324
     Dkt. 103-1 at 3.
 325
     Ryan Carter, Who Is Hit Hardest by Coronavirus in LA County? The Answer Is in the Air, UCLA Study Says,
 L.A. DAILY NEWS (Apr. 15, 2021), https://www.dailynews.com/2021/04/15/who-is-hit-hardest-by-coronavirus-in-la-
 county-the-answer-is-in-the-air-ucla-study-says/

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        Around the 710 Freeway, each day the air is polluted by as many as 40,000
 vehicles—many of which are heavy-duty semi trucks. 326 “All of these areas tend to
 have larger populations of Latinx and Black residents,” said Dr. Michael Jerrett, a
 professor of environmental health sciences at UCLA’s Fielding School of Public
 Health.327 Dr. Jerrett led a study, alongside University of California, Berkeley and
 University of California, Merced, investigating why neighborhoods in Los Angeles
 County with the highest levels of pollution saw large spikes in COVID-19
 deaths.328 The study indicated that nitrogen dioxide in air pollution may raise the
 risk of COVID-19 infections and ultimately, deaths.329
        The increase in record temperatures and high winds has also increased the
 risk of hypothermia among unhoused populations. According to the Center for

 326
     Id.
 327
     Id.
 328
     Id.
 329
     Id.


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 Disease Control, underlying health conditions, such as malnutrition or
 cardiovascular disease, in combination with lack of housing puts those
 experiencing homelessness at a higher risk of dying from hypothermia.330
 Contracting hypothermia is particularly risky when the temperature drops more
 than ten degrees in one day—a common occurrence in Los Angeles. 331 Since 2016,
 the Los Angeles County Medical Examiner-Coroner recorded more deaths of
 homeless individuals due to hypothermia than in New York and San Francisco,
 combined. 332 The lack of available housing for unhoused individuals leaves them
 no choice but to suffer the cold rains. In January of 2018, a 44-year-old man
 endured the rain outside of a business for two days until someone called 911.333
 The man was rushed to the hospital with a body temperature of 80.6 degrees—15
 degrees less than the 95 degree benchmark necessitating hypothermia treatment. 334
 The man did not survive. 335 Glenn Oura, a U.S. Air Force veteran who was
 formerly homeless, recalled sleeping outside in the bushes during a cold rainstorm,
 “I thought, ‘if I die from hypothermia, how long will it take someone to find
 me?’”336
               iii. Mental Health

        Unintentional drug or alcohol overdose is the second leading cause of death
 among unhoused Angelenos. 337 Yet the current infrastructure lacks the necessary
 substance abuse and mental health support required to reduce these deaths. A
 substance use disorder is a mental disorder affecting a person’s brain and behavior,
 leading to an individual’s inability to control their use of substances such as legal
 or illegal drugs, alcohol, or medications. 338 According to the National Institute of
 Mental Health, approximately half of individuals who experience a substance use


 330
     Hypothermia-Related Deaths --- United States, 1999--2002 and 2005, CTRS. FOR DISEASE CONTROL &
 PREVENTION (Mar. 17, 2006), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5510a5.htm.
 331
     Gale Holland, L.A. Has Great Weather, Yet More Homeless Die of the Cold Here Than in New York, L.A. TIMES
 (Feb. 17, 2019), https://www.latimes.com/local/lanow/la-me-homeless-hypothermia-20190217-story.html.
 332
     Id.
 333
     Id.
 334
     Id.
 335
     Id.
 336
     Id.
 337
     CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.
 338
     Substance Use and Co-Occurring Mental Disorders, NAT’L INST. OF MENTAL HEALTH,
 https://www.nimh.nih.gov/health/topics/substance-use-and-mental-health/index.shtml (last revised Mar. 2021).


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 disorder during their lives also experience a co-occurring mental disorder and vice
 versa. 339 Thus, a comprehensive approach of care to mental health is critical.
         The Los Angeles Homeless Services Authority estimates that 25% of all
 homeless adults in Los Angeles County have a serious mental illness that likely
 perpetuates their homelessness.340 District Attorney of Los Angeles County George
 Gascón stated that “[t]he band-aid approach of incarcerating this population
 continues to be ineffective, extremely expensive, and it disproportionately impacts
 communities of color. Beyond the conditions on our streets, the clearest sign of the
 failure of this approach is the L.A. County Jail, which has the dubious distinction
 of doubling as the nation’s largest mental health institution.”341
         On January 22, 2019, the Los Angeles County Board of Supervisors adopted
 a motion to address the shortage of mental health hospital beds in the County. In
 the motion, the Board cited research by mental health experts that concluded that
 the “minimum number of beds required to appropriately meet the need is 50 public
 mental health beds per 100,000 individuals. In Los Angeles County, there are only
 22.7 beds per 100,000 individuals; and California has only 17.05 beds per 100,000
 individuals.”342 The motion directed the Department of Mental Health to conduct
 assessments and draft a plan to increase the number of mental health beds, with a
 report due back to the Board in 120 days.
         On October 29, 2019, the Department of Mental Health returned a report
 highlighting the persistent shortcomings of the County’s mental health services.
 The 138-page report details the multitude of ways in which the County has failed
 to meet the mental health needs of its constituents. Drafters of the report conducted
 Service Area Advisory Committee (SAAC) meetings in which participants
 underscored the numerous service gaps and challenges. The SAAC meetings
 revealed “significant gaps in inpatient treatment beds, residential beds, shelter beds
 and respite homes across all ages,” including an “estimate of 3,000 additional


 339
     Id.
 340
     JONATHAN E. SHERIN, DIR., CTY. OF L.A., DEP’T OF MENTAL HEALTH, ADDRESSING THE SHORTAGE OF MENTAL
 HEALTH HOSPITAL BEDS: BOARD OF SUPERVISORS MOTION RESPONSE 18 (2019),
 http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf [hereinafter COUNTY MENTAL HEALTH BED REPORT].
 341
     George Gascon’s Plan to Address LA County’s Behavioral Health Crisis and Its Nexus to Homelessness,
 GEORGE GASCON (Feb. 17, 2020), https://www.georgegascon.org/campaign-news/george-gascons-plan-to-address-
 la-countys-behavioral-health-crisis-and-its-nexus-to-homelessness/.
 342
     Motion, Addressing the Shortage of Mental Health Hospital Beds (Jan. 22, 2019),
 http://file.lacounty.gov/SDSInter/bos/supdocs/131546.pdf.


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 subacute beds needed.” 343 This bed scarcity “result[s] in people being discharged
 to the street and perpetuating homelessness.” 344 In some parts of the County, there
 is only one psychiatric inpatient provider, and countywide there are no children’s
 inpatient psychiatric beds.345 The report described access to care as “one of the
 biggest issues” and stated that any plan for improving access to care should address
 basic needs, including “food, shelter, [and] transportation.”346 Available services
 for people of color were also “disproportionately limited compared to services for
 the white population.” 347
        The report also commented on the “even more limited treatment available
 for people with [substance use disorder, or ‘SUD’].” A “lack of equality between
 [mental health, or ‘MH’] and SUD treatment” and “long delays in accessing
 inpatient care” is leaving homeless individuals across the County with scarce
 access to medically necessary treatment for substance abuse disorders. The report
 found that “because there are not enough beds and not enough transportation
 services, people go untreated.”348 Department of Public Health Substance Abuse
 Prevention and Control Division (SAPC) providers are also seeing gaps and
 challenges in service provision. In particular, “there is a need for services for
 clients who are dually diagnosed;” “gaps in the availability of…high-intensity
 residential treatment…and…medically monitored inpatient withdrawal
 management beds;” and “an insufficient number of beds in the detoxification level
 of care and residential withdrawal management.” 349 The report concluded that
 “there is a disconnection between MH and SUD systems of care,” and “there is a
 need for more collaboration with MH providers.”350
        The report found that “the availability of services does not seem to match the
 level of need in the service areas. There are services, but to access care you have to
 ‘win the lottery,’ have a chronic level of need that requires hospitalization, or
 become incarcerated. Mild cases become severe while people are trying to connect
 to care.” Even when individuals are able to access one of the few mental health

 343
     COUNTY MENTAL HEALTH BED REPORT, supra note 340, at 27, 94.
 344
     Id. at 94.
 345
     Id.
 346
     Id. at 95.
 347
     Id. at 98.
 348
     Id. at 95–96.
 349
     Id. at 100.
 350
     Id.


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 beds across the County, “hospitals discharge too quickly in a triage mode,” which
 is “one of the chief contributors to repeat hospitalizations and insufficient
 recovery.”351 A pattern has emerged of people being “discharged from hospitals
 with serious to severe medical/physical health needs without a discharge plan and
 referrals to recuperative care.” 352 Linking back to housing, the report also found
 that “the community needs housing with supportive services or residential
 treatment…to address this problem.”353 The report further underscored what critics
 of the County have been saying for decades, which is that “gaps in coordination
 and communication between agencies…[are forcing patients to] navigate the
 service delivery system on their own.”354

                  iv.     Public Health Impacts

        As the number of unhoused persons living on the streets rises, so too does
 the spread of diseases unique to densely populated areas such as Skid Row.355
 Reverend Andrew Bales, CEO of the nonprofit homeless shelter and recovery
 program Union Rescue Mission (URM), lost part of his leg in 2014 after he came
 into contact with a flesh-eating disease in Skid Row.356 Reverend Bales was
 volunteering there when a blister on his foot came into contact with human
 waste—at the time, there were only nine toilets for the 2,500 people living in the
 50 square block area. 357 One week later, he had a 104-degree fever and his foot
 was covered in blood blisters. 358 His doctors soon determined it was necessary to
 remove his leg from his knee down. 359 “[T]he flesh-eating disease . . . consists of
 E-Coli, strep and staph,” remarked Reverend Bales, “I’ve seen it in other people on
 the streets. I’ve seen people with a black thumb, losing a leg.” 360


 351
     Id.
 352
     Id. at 97.
 353
     Id.
 354
     Id.
 355
     Audrey Conklin, Meet Rev. Andy Bales — the Man Who Lost a Leg Serving the Victims of LA’s Homeless Crisis,
 THE STREAM (June 27, 2019), https://stream.org/meet-rev-andy-bales-the-man-who-lost-a-leg-serving-the-victims-
 of-las-homeless-crisis/.
 356
     Id.
 357
     Id.
 358
     Id.
 359
     Id.
 360
     Id.


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        Skid Row bathrooms have long been stripped from residents at the whims of
 political will.361 In 1992, the City installed dozens of portable toilets in Skid Row,
 but Mayor Tom Bradley soon halted funding. 362 An activist then coordinated six
 outdoor latrines for Christmas—only to have them hauled away by the mayor. 363
 In 1994, the new Mayor Riordan put in two dozen portable toilets. 364 Only four
 years later, six were removed following protests. 365 Allegations of prostitution and
 drug use arose in 2006, prompting the City and then Mayor Villaraigosa to remove
 the remaining six toilets. 366 In 2012 and 2013, County officials warned of an
 immediate public health threat—moving the City to open nighttime access to
 mission bathrooms and install temporary bathrooms in Skid Row parks. 367 But the
 available facilities fell overwhelmingly short of the recommendation to avoid a
 public health crisis. 368 In fact, a 2017 community audit concluded that bathroom
 access in Skid Row fell below U.N. standards for Syrian refugee camps. 369
 Following the audit, Mayor Garcetti installed six toilets and eight showers. 370 In
 2019, when an estimated 36,000 homeless people lived across the city of LA, there
 were only 31 available city-operated public toilets—an average of more than 1,000
 people sharing one toilet.371
        Mayor Garcetti acknowledged the lack of toilets is and historically has been
 a crisis in Los Angeles, saying, “[w]e simultaneously have to clean up streets,
 clean up this crap, and build housing . . . And if I had the money to do all three, we
 wouldn’t be in this place.” 372 Even acknowledging the problem, the City did not
 commit to allocate money for public toilets in its upcoming city budget. 373 NBC

 361
     Gale Holland, L.A. Adds More Public Toilets as Homeless Crisis Grows, L.A. TIMES (Dec. 5, 2017),
 https://www.latimes.com/local/lanow/la-me-skid-row-toilets-20171204-story.html.
 362
     Id.
 363
     Id.
 364
     Id.
 365
     Id.
 366
     Id.
 367
     Id.
 368
     Id.
 369
     Id.
 370
     Id.
 371
     Times Editorial Board, Editorial: Why on Earth Is It So Hard to Put Out Toilets for L.A.'s Homeless?, L.A.
 TIMES (June 18, 2019), https://www.latimes.com/opinion/editorials/la-ed-homeless-public-toilets-20190618-
 story.html.
 372
     Joel Grover & Amy Corral, Homeless People Are Without Toilets and Going in the Streets. We Asked the Mayor
 of LA Why, NBC L.A. (Feb. 19, 2020), https://www.nbclosangeles.com/investigations/homeless-people-are-without-
 toilets-and-going-in-the-streets-we-asked-the-mayor-of-la-why/2311759/.
 373
     Id.


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 News further reported that “the City hauls away the mobile toilets at night, leaving
 the homeless no choice but to go on the streets.” 374 If the homeless had access to
 shelter and housing, the lack of available public toilets would not be at issue.
         There are many examples of uncommon diseases plaguing Skid Row—
 namely, hepatitis A, tuberculosis, typhus, and typhoid fever. 375 Our sister city of
 San Diego has seen firsthand the grave consequences of ignoring the pressing
 public health crisis that rampant homelessness creates and perpetuates. From 2016
 to 2018, an outbreak of hepatitis A that cost the city more than $12 million,
 sickened nearly 600 San Diego residents and killed at least 20.376 As part of its
 efforts to contain the outbreak, the city and county governments put up temporary
 shelters for the homeless.377 Advocates such as Bob McElroy, who headed one of
 the organizations operating the new shelters, directly linked the outbreak with
 homelessness, saying “[t]he reality is, if you’ve got a place for people to be safe
 and have access to health care, you’re just not going to have the kinds of sanitation
 issues you have with tent cities lining the streets.” 378 Los Angeles City and County
 must take immediate action to avoid a similar outbreak in our streets.
         Dr. Susan Partovi, a medical director for the non-profit Homeless Health
 Care Los Angeles, stated that the risk of disease is not because of the homeless
 individuals themselves, but because of the conditions they are forced to live in.379
 She pointed to a 2018 outbreak of typhus, which enters the bloodstream through
 fleas, ticks, or lice, as one key example of conditions fostering deadly
 disease.380 The risks are exacerbated by the short supply of bathrooms and
 drinking water.381


 374
     Id.
 375
     Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
 TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
 outbreaks-hepatitis-public-health/1437242001/.
 376
     San Diego Hepatis A Outbreak Ends After 2 Years, ASSOCIATED PRESS (Oct. 30, 2018),
 https://apnews.com/article/cc40b8c476ef469ebdc2228772176b03.
 377
     Id.
 378
     Id.
 379
     Skid Row Doctor Says Health Risk Fear Over Homeless Isn't What it Seems, NBC L.A. (Oct. 1, 2019),
 https://www.nbclosangeles.com/news/local/streets-of-shame/skid-row-doctor-homeless-help-disease-
 typhus/179055/.
 380
     Id.
 381
     Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
 TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
 outbreaks-hepatitis-public-health/1437242001/.


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        Homeless individuals are not the only ones facing increased risk of
 contracting disease. In October of 2018, the Los Angeles County Department of
 Public Health declared an outbreak of typhus, citing Skid Row as a high-risk area
 for the disease. 382 Shortly after, a Los Angeles Police Department employee
 assigned to Skid Row became infected by Typhoid fever, and two other employees
 showed symptoms. 383 Elizabeth Greenwood, a Los Angeles deputy city attorney,
 then contracted typhus from a flea bite in her City Hall East office. 384 At a City
 Council meeting in February 2019, Councilmember Joe Buscaino said, “[r]ats are
 emblematic of how we lost control over the homeless trash and encampment issue.
 If we can’t protect the greatest symbol of our own democracy—our own City Hall,
 if we can’t protect our own staff from a medieval disease, then we should pack up
 and go home.”385
        The severity of the health hazards facing homeless communities underscores
 the need for prompt action by the County and City. “[W]e have 23,000 people who
 are living on our sidewalks and outside every day,” stated Shayla Myers, attorney
 for the Legal Aid Foundation, “that constitutes a true and devastating public health
 emergency.”386

                  v.      Patient Dumping

        Over the past two decades, Los Angeles hospitals have paid substantial civil
 penalties for “patient dumping” mentally disabled homeless individuals in Skid
 Row. 387 Videos of mentally ill patients in hospital gowns dropped at Skid Row
 incited outrage. 388 For instance, in 2009, College Hospital paid $1.6 million to
 settle a case in which 150 psychiatric hospital patients were released to Skid Row

 382
     LA Public Health (@lapublichealth), TWITTER (Oct. 4, 2018, 10:01 AM),
 https://twitter.com/lapublichealth/status/1047894399730872321.
 383
     Chris Woodyard, As Homeless Are Suffering, Risk of Hepatitis, Typhus and Other Diseases Is Growing, USA
 TODAY (Jun. 18, 2019), https://www.usatoday.com/story/news/nation/2019/06/18/homeless-homelessness-disease-
 outbreaks-hepatitis-public-health/1437242001/.
 384
     Samuel Braslow, How the Homeless Ended Up Being Blamed for Typhus, L.A. MAG. (Feb. 12, 2019),
 https://www.lamag.com/citythinkblog/typhus-los-angeles-homeless/.
 385
     Id.
 386
     Id.
 387
     Joseph Serna & Richard Winton, Hospital Accused of Dumping Patient in L.A.'s Skid Row to Pay $500,000, L.A.
 TIMES (May 29, 2014), https://www.latimes.com/local/lanow/la-me-ln-sun-valley-patient-dumping-to-pay-
 20140529-story.html.
 388
     Id.


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 over the course of two years.389 In 2014, a van from the southern Los Angeles Tri-
 City Regional Medical Center, now Gardens Regional Hospital, drove over 20
 miles to drop a 38-year old woman off in Skid Row.390 The woman was left
 wearing a hospital gown with a note stating an 800 number and the definition of
 schizophrenia.391 Such examples build upon a long history of “dumping” patients
 on the street, where it is nearly impossible to follow a treatment plan and increases
 a patient’s likelihood of falling ill again or, as is frequently the case, die.
        The City and County’s inaction prompted the legislature to intervene. In
 2019, California Governor Jerry Brown signed SB 1152.392 The legislation requires
 hospitals to make sleeping arrangements for homeless patients with the goal of
 providing a handoff between the hospital and a homeless shelter. 393 Despite their
 clear recognition that patients were being dumped by the curbside, Los Angeles
 historically turned a blind eye to the plight of the city's most vulnerable until the
 State passed SB 1152.

       F. GENDER

        While many of the health and safety impacts of the homelessness crisis in
 Los Angeles cut across various identities, impacting all Angelenos, it is important
 to highlight the unique impact that homelessness has on women. The current
 service provision model is failing to meet the specific needs of women, particularly
 unaccompanied women (meaning women who are not unhoused as part of a family
 unit), who comprise a fast-growing subgroup of the City’s homeless population.
 According to LAHSA’s 2020 Greater Los Angeles Homeless Count, 65% of
 women experiencing homelessness are unaccompanied, and 80% of all
 unaccompanied women are unsheltered. While federal, state, and local agencies
 have diligently worked to address the needs of other subgroups—including
 veterans, families, and youth—unaccompanied women are rarely identified as a

 389
     Jon Regardie, The Ugly History of Downtown Patient ’Dumping’, DT News (July 9, 2018),
 http://www.ladowntownnews.com/news/the-ugly-history-of-downtown-patient-dumping/article_05fa6cea-8165-
 11e8-96aa-dbaced2025ed.html.
 390
     Justin Klockzo, Hospitals Are Dumping Mentally Ill Patients in Los Angeles’ Skid Row, VICE (June 21, 2016),
 https://www.vice.com/en/article/yvezpv/hospitals-are-dumping-mentally-ill-patients-in-los-angeles-skid-row.
 391
     Id.
 392
     Matt Tinoco, LA County Hospitals Were Told To Stop 'Dumping' Homeless Patients, But Their Options Are
 Limited, LAIST (Sept. 6, 2019), https://laist.com/2019/09/06/los-angeles-homeless-hospital-dumping-law-1152.php.
 393
     Id.

                                                       62
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 subpopulation, resulting in a dearth of research on their needs and experiences.
 Becky Dennison, Executive Director of Venice Community Housing, has said,
 “there’s not been any approach [by officials] that identifies, let alone prioritizes,
 gender,” and Anne Miskey, CEO of the Downtown Women’s Center, has said that
 most shelters are designed for men.

               i.     Rising Rates of Homelessness Among Women

        According to LAHSA’s Great Los Angeles Homeless Count, the number of
 women experiencing homelessness in the City increased 25% between 2019 and
 2020. Further, the number of unhoused women has more than doubled since 2013,
 outpacing the increase among men in the same time period. These numbers are
 likely to be exacerbated by the COVID-19 pandemic, which has hit women-
 dominated industries like retail and hospitality particularly hard. According to the
 Bureau of Labor Statistics, the pandemic had caused 865,000 women to drop out of
 the labor force as of September 2020—a rate four times higher than the
 corresponding rate for men. With these increases, it is clear that the growing trend
 in the number of women living in the streets is unlikely to reverse any time soon,
 underscoring the pressing need for women-oriented solutions now. In 2020, the
 percentage of women aged 62 and up living in Skid Row increased by 20%. 394
        Among homeless women, women of color are significantly overrepresented,
 demonstrating the intersection of gender and structural racism. While Black
 women make up only nine percent of the total female population in LA, they are
 more than 30% of all unhoused women. As the Downtown Women’s Action
 Coalition reported in its 2020 Women’s Needs Assessment, “structural racism [is]
 the main driver” of Black women’s overrepresentation in Skid Row. 395 Looking at
 death rates, Black women are similarly overrepresented, comprising 30% of all
 unhoused women who died on the streets of L.A. in 2019. Latinas make up 31% of
 the homeless female population, and white women make up just 22% of the


 394
     DOWNTOWN WOMEN’S ACTION COAL. 2020 WOMEN’S NEEDS ASSESSMENT: A MESSAGE OF LOVE BY THE
 WOMEN OF SKID ROW 4 (2020), https://cangress.org/wp-
 content/uploads/2020/08/1596804237326_WOMEN%E2%80%99S-NEEDS-ASSESSMENT-final-layout-.pdf
 [hereinafter DWAC NEEDS ASSESSMENT].
 395
     Id.


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 homeless female population.396 Other marginalized identities are likewise
 overrepresented in the homeless community—while LGBT people make up only
 about five percent of the U.S. population overall, they make up 12% of Skid Row’s
 homeless population. 397 The DWAC 2020 Women’s Needs Assessment
 highlighted that “[t]here are no services for trans women in Skid Row.”398

                 ii.     Intersection of Gender-Based Violence and Homelessness

        Domestic violence (DV), intimate partner violence (IPV), and sexual assault
 are all significant drivers of homelessness, as well as frequent consequences of
 living as an unhoused, unaccompanied woman on the streets of Los Angeles.
 Among women over the age of 25 experiencing homeless, the USC Price Center
 found that over half had experienced domestic or intimate partner violence, with
 rates higher among the unsheltered population compared to the sheltered
 population.399 The Downtown Women’s Center has also found that, in the past
 twelve months, more than 36% of homeless women experienced DV/IPV, and 27%
 experienced sexual assault. 400
        In a focus group on domestic violence and housing conducted by the
 Downtown Women’s Center, one woman who currently resides in a domestic
 violence shelter felt that if she “wasn’t beat up enough or [her] story wasn’t good
 enough,” she wouldn’t be let into the shelter. 401 Other interviewees echoed that
 sentiment, saying “[i]f you don’t have the bruises or bloody face, they’re not going
 to believe you. If you don’t have those, you’re on your own.” 402 Women living in
 shelters further detailed the stress of providers threatening to call the Department
 of Children and Family Services and have the women’s children taken away, as a
 means of forcing the women into compliance with shelter rules. 403 While shelter

 396
     USC PRICE CTR. FOR SOC. INNOVATION, CITY OF LOS ANGELES WOMEN’S HOUSING GAP ANALYSIS 5 (2019),
 https://www.downtownwomenscenter.org/wp-content/uploads/2019/12/Womens-Housing-Gaps-Analysis_Final.pdf
 [hereinafter USC PRICE REPORT].
 397
     DWAC NEEDS ASSESSMENT, supra note 394, at 9.
 398
     Id.
 399
     USC PRICE REPORT, supra note 396, at 1.
 400
     Leonora Camner, The Housing Crisis Is a Women’s Issue, ABUNDANT HOUSING L.A. (Mar. 11, 2020),
 https://abundanthousingla.org/the-housing-crisis-is-a-womens-issue/.
 401
     Downtown Women’s Ctr., Domestic Violence and Homeless Services Coalition: Focus Groups Report 11 (2018),
 https://www.downtownwomenscenter.org/wp-content/uploads/2018/06/DVHSC-Focus-Group-Report.pdf.
 402
     Id. at 13.
 403
     Id. at 12.

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 expulsion might be a reasonable remedy for rules violation, expulsion and baseless
 family separation are two disparate forms of discipline.
        The Downtown Women’s Center has estimated that there are 2,435 more
 unsheltered individual women experiencing homeless than there are existing
 emergency shelter beds in programs that serve individual women. With demand for
 shelter outpacing supply, and with shelters being often inhospitable places for
 women even when they are available, it is no surprise that the number of
 unaccompanied women living in the streets continues to grow.
        But life on the street as a woman is uniquely dangerous. A 2016 survey by
 the Downtown Women’s Action Coalition found that nearly half of women living
 in Skid Row had been attacked in the previous 12 months. 404 A member of the
 Coalition reported “so many stories of the knife coming through the tent and
 ripping it open” and “women at the bus stop circled by men like sharks.” 405 Of the
 women living in Skid Row, more than 60% are over the age of 50, a particularly
 vulnerable group considering that unhoused women have a lifespan that is, on
 average, nearly 35 years less than their housed counterparts. 406 Further, homeless
 individuals generally have a physiological age that is 10–20 years older than their
 actual age as a result of premature aging due to prolonged stress. 407
        The stories of unhoused unaccompanied women highlight the dire need for
 increased funding and tailored solutions to meet their needs. Discussing her life on
 the street with the Los Angeles Times, one woman reported the changes she tried
 to make to her physical appearance after being subjected to multiple violent attacks
 that left her with broken ribs and black eyes: “At the time, I had blonde hair down
 to the middle of my back. I cut my hair really short and started wearing clothes that
 looked like guys’ clothes. I had to look like I’m a guy for my own safety.” 408
 Another woman echoed the first: “I have to watch over me, and it’s hard. I have to
 watch my back in everything.”409 In a February 1, 2021 letter to Mayor Eric
 Garcetti, the Downtown Women’s Action Coalition wrote: “Our community has
 been abandoned and left to die.”410

 404
     Gale Holland, Attacked, Abused and Often Forgotten: Women Now Make Up 1 in 3 Homeless People in L.A.
 County, L.A. TIMES (Oct. 28, 2016), https://www.latimes.com/projects/la-me-homeless-women/.
 405
     Id.
 406
     Dkt. 231 at 2; DWAC NEEDS ASSESSMENT, supra note 394, at 4.
 407
     DWAC NEEDS ASSESSMENT, supra note 394, at 8.
 408
     Id.
 409
     Id.
 410
     An Open Letter to Mayor Garcetti, LACAN (Feb. 1, 2021), https://cangress.org/dearmayorgarcetti/.

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       II.    DISCUSSION

         This Court cannot idly bear witness to preventable deaths. This ever-
 worsening public health and safety emergency demands immediate, life-saving
 action. The City and County of Los Angeles have shown themselves to be unable
 or unwilling to devise effective solutions to L.A.’s homelessness crisis. For the
 reasons discussed below, the Court must now do so. 411
         A district court may order injunctive relief on its own motion and is not
 restricted to ordering the relief requested by a party. Armstrong v. Brown, 768 F.3d
 975, 980 (9th Cir. 2014) (citing Clement v. Cal. Dep’t of Corr., 364 F.3d 1148,
 1150 (9th Cir. 2004)). A preliminary injunction is an “extraordinary remedy,”
 requiring courts to balance competing claims on a case-by-case basis, with
 “particular regard for the public consequences” of issuing an injunction. Winter v.
 Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
         For a court to issue a preliminary injunction, it must find that (1) there is a
 likelihood of success on the merits; (2) absent preliminary relief, irreparable harm
 is likely; (3) the balance of equities tips in favor of preliminary relief; and (4) an
 injunction is in the public interest. See Am. Trucking Ass’n, Inc. v. City of Los
 Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (citing Winter, 555 U.S. at 20).
 Alternatively, an injunction can also be justified if there are “serious questions
 going to the merits” and the balance of hardships “tips sharply” in favor of
 injunction relief, “assuming the other two elements of the Winter test are met.” See
 All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1132 (9th Cir. 2011). A
 “serious question” exists when there is “a fair chance of success on the merits.” See
 Sierra On-Line, Inc. v. Phx. Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984).
 The Ninth Circuit follows a “sliding scale” approach to the four preliminary
 injunction elements, such that “a stronger showing of one element may offset a
 weaker showing of another,” as long as “irreparable harm is likely.” See Doe v.
 Kelly, 878 F.3d 710, 719 (9th Cir. 2017) (quoting Cottrell, 632 F.3d at 1131).



 411
    The Court notes that Defendants have filed numerous objections to factual assertions in Plaintiffs’ Motion. See
 Dkt. 271. As the present order does not rely on any of the information to which Defendants object, the Court need
 not rule on the objections.

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       A. THE LIKELIHOOD OF SUCCESS ON THE MERITS SUPPORTS
          PRELIMINARY RELIEF

       The threshold inquiry is whether plaintiffs have established a likelihood of
 success on the merits. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015).
 Where plaintiffs seek a mandatory injunction, the plaintiffs must “establish that the
 law and facts clearly favor [their] position, not simply that [they] are likely to
 succeed.” Id. Relief is treated as a mandatory injunction when it “orders a
 responsible party to ‘take action.’” Id. (quoting Marlyn Nutraceuticals, Inc. v.
 Mucos Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir.2009)).

       i.     Constitutional grounds

 Brown v. Board of Education

        Throughout history, the legislative, executive, and judicial branches of our
 government have taken it upon themselves to remedy racial discrimination. These
 affirmative actions and equitable remedies arose from a recognition of the racism-
 entrenched in this country’s history and its enduring legacy through the present
 day.
        In the seminal case of Swann v. Charlotte-Mecklenburg Board of Education,
 402 U.S. 1 (1971), the Supreme Court held that if the racially disparate impacts of
 a previous Equal Protection Clause violation persisted, the violating party had a
 responsibility of eradicating those impacts. Dealing with the desegregation of
 schools, the Court in Swann held that schools have not only the responsibility to
 desegregate, but also the responsibility to integrate. Swann, 402 U.S. at 15. The
 Swann decision came after Brown v. Board of Education of Topeka, Shawnee Cty.,
 Kan., 347 U.S. 483 (1954) (“Brown I”), supplemented sub nom. Brown v. Board of
 Education of Topeka, Kan., 349 U.S. 294 (1955) (“Brown II”), in which the
 Supreme Court addressed the impacts of the “separate but equal” laws. The Court
 discussed how “separate but equal” treatment culminated in “a feeling of
 inferiority as to [the Black students’] status in the community that may affect their
 hearts and minds in a way unlikely to ever be undone,” and found that racial
 segregation in public schools is unconstitutional, even if segregated schools are
 otherwise equal in quality. Brown, 347 U.S. at 494–95.
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        The Brown Court ordered schools to desegregate “with all deliberate speed.”
 Brown II, 349 U.S. at 301. In many school districts, however, a racial imbalance in
 student populations continued to exist despite desegregation. Beginning with
 Swann, the Court’s line of post-Brown cases held that schools were responsible for
 remedying racial imbalance, even when such imbalance resulted from the selection
 of students based on geographic proximity to the school rather than racial
 segregation. See Swann, 402 U.S. 1. The Court found that this was necessary to
 ensure that schools would be properly integrated and that all students would
 receive equal educational opportunities, regardless of their race. Id.
        Swann and its progeny further established that “the scope of a district court’s
 equitable powers to remedy past wrongs is broad, for breadth and flexibility are
 inherent in equitable remedies.” Swann, 402 U.S. at 15. Indeed, as early as
 Brown II, the Supreme Court ruled that district courts have the power to order
 structural changes in school systems to integrate schools, such as “ordering the
 immediate admission of plaintiffs to schools previously attended only by white
 children.” 349 U.S. at 300–01; see also Swann, 402 U.S. at 31 (affirming a district
 court’s injunction requiring school board to implement plan to desegregate school
 district); MillikenBradley, 433 U.S. 267, 269 (1977) (upholding the equitable
 powers of a district court, as part of a desegregation decree, to “order
 compensatory or remedial educational programs for schoolchildren who have been
 subjected to past acts of de jure segregation”). The Court further found that “a
 State does not discharge its constitutional obligations until it eradicates policies
 and practices traceable to its prior de jure dual system that continue to foster
 segregation. ” United States v. Fordice, 505 U.S. 717, 727–28 (1992). Similarly,
 the Supreme Court has recognized the equitable power of federal courts to order
 structural changes to remedy violations of unconstitutional due process. See, e.g.,
 Hutto, 437 U.S. at 683 (approving a district court’s orders to change various prison
 practices and policies to remedy constitutional violations).
        The above cases arose out of a recognition of a history entrenched in racial
 discrimination, the persistent present-day impacts of such discrimination, and a
 pressing need to remediate such impacts. In front of this Court today is a history
 similar to, and deeply intertwined with, the circumstances that gave rise to the
 above cases. The Court today addresses decades of racial discrimination that have



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 culminated in a Los Angeles homelessness crisis with a significant loss of life and
 deprivation of humanity—peaking at 1,383 deaths just last year. 412
         “I want to be very clear that homelessness is a byproduct of racism,” stated
 LAHSA’s Heidi Marston. 413 Racial discrimination and homelessness are
 interconnected issues going back decades into the history of Los Angeles.
 Beginning with the City of Los Angeles’s decision to raze houses, resulting in an
 increased number homeless low-income people of color in the 1910s, continuing
 through state enforcement of racially restrictive covenants throughout Los Angeles
 in the 1930s, and postwar policies related to redlining, racial covenants, and public
 bank lending—over a century of racist policies have disproportionately impacted
 L.A.’s unhoused Black population.414 “We continue to see that Black people are
 overrepresented in our homeless population, and that Black African Americans are
 four times more likely to become homeless than their white counterparts.”415
         The City and County’s actions have been, and remain, critical drivers of
 racial discrimination. In 1976, the homeless population became spatially
 concentrated in the fifty-square-block “containment zone” of Skid Row. The
 containment zone became a place where the homeless, discharged patients with
 mental disabilities, and parolees came—or in some instances, were bussed and
 dropped—to find services. General Dogon, a Skid Row community organizer,
 describes the containment as a “warehouse zone”: “a warehouse is where you store
 shit. So the idea was to push all of Los Angeles’s unfavorable citizens into one
 area.”416 “Main Street is the dividing line between the haves and have-nots,” says
 General Dogon, where “you’ve got homeless people sleeping on one side of the
 street, and the loft buildings on the other side of the street.”417


 412
     Ethan Ward, They Were Homeless, Now They’re Dead, CROSSTOWN (Feb. 10, 2021),
 https://xtown.la/2021/02/10/homeless-deaths-los-
 angeles/#:~:text=1%20deaths%20were%20no%20outliers,Department%20of%20Medical%20Examiner%2DCorone
 r.
 413
     Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
 (June 12, 2020, 7:57), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
 losangeles.
 414
     LUSKIN REPORT, supra note 10, at 7–20.
 415
     Id.
 416
     The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 417
     The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.


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         Police kept the homeless isolated, deepening and entrenching poverty within
 the 50-block area. The Los Angeles Police Department set up physical buffers to
 reduce movement past the Skid Row border and enforce containment. 418 Flood
 lights demarcated the border, disincentivizing the homeless from straying outside
 the containment area.419
         Separately, in 2007, Los Angeles Police Department Chief William J.
 Bratton enacted a “broken windows” policing policy.420 Under Chief Bratton’s
 “Safer Cities Initiative”, a task force of 50 officers entered Skid Row, issuing
 citations and making arrests for infractions such as jaywalking, prostitution, and
 littering. 421 The program ended shortly after a Los Angeles Police Department
 officer fatally shot a homeless person of color on Skid Row in 2015. “On Skid
 Row, the windows already were broken,” Los Angeles City Attorney Feuer said,
 “we have a much deeper and more profound situation to deal with.” 422
         In recent years, the City has attempted to address its homelessness crisis, but
 has been woefully inadequate in doing so. Four years ago, Los Angeles voters
 passed Proposition HHH, a $1.2 billion bond to fund housing projects aimed at the
 City’s homeless population.423 After three years of missed and suspended
 deadlines, the first HHH project, providing 62 housing units, opened in January
 2020. Id. At the project’s unveiling, the Mayor announced, “[t]his year, we will see
 an opening of one of these about every three weeks. My calculations, next year it
 might be every two weeks or less.” Over a year later, only seven projects,
 containing just 489 total units, have been completed. 424
         Furthermore, investigations into City-funded housing projects for the
 homeless demonstrate that a lack of government oversight has allowed the
 proliferation of corruption. The City, worse yet, has turned a blind eye to this

 418
     LUSKIN REPORT, supra note 10, at 28.
 419
     The Containment Plan, 99% INVISIBLE (JAN. 10, 2017), https://99percentinvisible.org/episode/the-containment-
 plan/.
 420
     Gale Holland, L.A. Leaders Are Crafting New Plan to Help Homeless on Skid Row, L.A. TIMES (July 15, 2014),
 https://www.latimes.com/local/la-me-skid-row-police-20140716-story.html.
 421
     Id.
 422
     Id.
 423
     Doug Smith, It Took Three Years of Blown Deadlines, But L.A. Opens Its First Homeless Housing Project, L.A.
 TIMES (Jan. 7, 2020), https://www.latimes.com/california/story/2020-01-07/homeless-housing-project-proposition-
 hhh-bond-measure.
 424
     Ron Galperin, It’s Time for Los Angeles to Pivot on HHH: Ron Galperin, L.A. DAILY NEWS (Mar. 14, 2021),
 https://www.dailynews.com/2021/03/14/its-time-for-los-angeles-to-pivot-on-hhh-ron-galperin/?fbclid=IwAR1-
 8puudDizHhoHVpYCVef_qsxHPEjFGmMKohY8yhzpycX-fGiIXKphao8.


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 corruption; funds that taxpayers voted to allocate to the homeless population are
 being siphoned away to line the pockets of corrupt individuals while the City sits
 by idly. 425 As the County espoused in its opposition, “the County spends hundreds
 of millions of dollars each year to provide housing and services.” Dkt. 270 at 7.
 But where has that money gone and what has it achieved?
        The 2018 LAHSA report concluded that “racial bias [continues to] affect[]
 every aspect of a Black person’s life, and it is impossible to untangle the pervasive
 effects of institutional racism from other system failures that together cause a
 person to experience homelessness.”426 Systemic inequity continues to
 disproportionately affect access to housing among communities of color. LAHSA
 reported, based on the 2017 Homeless Count, that the prevalence of Black people
 among the homeless population was highest in South Los Angeles and Metro Los
 Angeles, including Skid Row, where 68% and 49% of the homeless population
 identified as Black, respectively.427
        Such disparities have long been recognized as severe constitutional
 violations—violations so corrosive to human life and dignity as to justify the
 sweeping exercise of a federal district court’s equitable powers. Based on the
 Court’s findings of these historical constitutional violations, a persisting legacy of
 racially disparate impacts—including a rising number of deaths, and the City and
 County’s knowing failure to adequately address the issue despite numerous
 opportunities and resources to do so, this Court is pressed to grant an affirmative
 injunction ordering the City and County to actively remedy its homelessness crisis.

 State-Created Danger Doctrine

        While “the Fourteenth Amendment…generally does not confer any
 affirmative right to governmental aid,” DeShaney v. Winnebago Cnty. Dep't of Soc.
 Servs., 489 U.S. 189, 202 (1989); Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th
 Cir. 2011), the Supreme Court in DeShaney created an exception that imposes a
 duty to act when the government has created the dangerous conditions. DeShaney,
 489 U.S. at 198–202. Interpreting the state-created danger exception, the Ninth
 Circuit has held that a state has a duty to act “when the state affirmatively places

 425
     See supra notes 254–260.
 426
     LAHSA REPORT, supra note 4, at 20.
 427
     Id. at 15.

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 the plaintiff in danger by acting with ‘deliberate indifference’ to a ‘known or
 obvious danger.’” L.W. v. Grubbs, 92 F.3d 894, 900 (9th Cir.1996); Wood v.
 Ostrander, 879 F.2d 583, 588 (9th Cir. 1989) (holding that deliberate indifference
 in the exercise of government power is within the Fourteenth Amendment’s
 “purpose of redressing abuses of power by state officials”).
         The first requirement under the state-created danger exception is an
 affirmative act by the state that creates or perpetuates dangerous circumstances.
 Here, there are no shortage of affirmative steps that the City and County have
 taken that have created or worsened the discriminatory homelessness regime that
 plagues Los Angeles today. Throughout most of the 20th century, the City and
 County of Los Angeles aggressively pursued an agenda of redlining and enforcing
 racially restrictive covenants that constrained the housing market for Black
 residents. When it came to the Black homeless community, the City of Los
 Angeles created the Municipal Service Bureau for Homeless Men in Skid Row,
 which allowed its partner philanthropic organizations to distribute aid selectively
 along racial lines. In a 2018 report, LAHSA concluded that “racial bias [continues
 to] affect every aspect of a Black person’s life, and it is impossible to untangle the
 pervasive effects of institutional racism from other system failures that together
 cause a person to experience homelessness.” 428 LAHSA itself has drawn a direct
 link between the discriminatory policies the state pursued in the past and the
 present disparate impact of that intentional discrimination against Black
 Angelenos. While this Court acknowledges that “disparate impact…is generally
 insufficient by itself to form the basis of a constitutional violation,” this history of
 structural racism, spanning over a century, demonstrates that L.A.’s homelessness
 crisis, and in particular the impact of this crisis on the Black community, is a state-
 created disaster. Dkt. 269 at 34.
         The relevant inquiry here is whether “state action creates or exposes an
 individual to a danger which he or she would not have otherwise faced.” Kennedy
 v. City of Ridgefield, 439 F.3d 1055, 1061 (9th Cir. 2006). In effect, this amounts
 to a “but for” test—we ask, but for a certain action by the state, would the plaintiff
 still be exposed to the same danger? While Defendants contend that “there is no
 causal connection” between the City and County’s actions and the position that the
 homeless community finds itself in, the Court finds that there is little question that

 428
       LAHSA Report, supra note 4, at 20 (emphasis added).

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 but for discriminatory policies, like redlining, that prevented Black residents from
 purchasing property and building intergenerational wealth, the Black community
 would be in a significantly different position today. Dkt. 269 at 8. Even apart from
 racially discriminatory policies, state actions—such as creating the containment
 zone that deteriorated into Skid Row as we know it today—have led to the
 entrenchment of poverty and contributed to the present homelessness crisis.
        Even if this Court ignored the entire history of conscious decisions by the
 government that led to the creation of Skid Row and the rampant depravity before
 us today, there is still incontrovertible evidence that the danger of living on the
 streets—which led to 1,383 deaths last year alone—is state-made. The strongest
 evidence for a state-made danger is the deliberate, political choice to pursue the
 development of long-term supportive housing at the expense of interim shelters to
 get people off the streets in the near-term. As Plaintiffs pointed out in their brief,
 Proposition HHH—the $1.2 billion ballot initiative to create 10,000 housing units
 for the homeless—provided funding that could be used either for long-term
 supportive housing or for temporary shelters. Dkt 239 at 21. Nevertheless, the City
 and County “unilaterally” decided to focus on housing at the expense of shelter,
 even knowing that massive development delays were likely while people died in
 the streets. Over the four years since HHH’s passage, a mere 489 housing units
 have been built, while over 5,000 people lost their lives in the streets due to a lack
 of shelter. The vast majority of those deaths were preventable. Defendants argue
 that “Plaintiffs have not established that any City official affirmatively placed
 Plaintiffs in danger they would otherwise not have been in,” but pursuing housing
 at the expense of shelter, suspending HHH deadlines (and thereby evading
 accountability), and ramping down Project Roomkey despite the availability of
 federal funds to support it were all political choices that created this crisis. Without
 these choices, the death rate among L.A.’s homeless population would not be
 growing exponentially.
        The second requirement under the state-created danger exception is the
 existence of a “known or obvious danger.” “Deliberate indifference cases are by
 their nature highly fact-specific.” Patel, 648 F.3d at 975. And the facts could not
 be clearer here. In 2020, 1,383 homeless people died on the streets of Los Angeles,
 and an estimated five more die each day. Homeless women in particular have
 shared horrific stories of attacks and assaults that have forced them to alter their
 appearances and conceal their femininity in order to survive. The average lifespan
                                           73
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 of a homeless person in L.A. County is 51 years, compared to 73 years among the
 general population.429
         There is no question that homelessness presents a grave danger to human
 life, and there is no question that this danger is known to the decisionmakers with
 the power to end this senseless loss of life. In a 2019 interview, Mayor Garcetti
 referred to homelessness as “the humanitarian crisis of our lives,” 430 a
 characterization echoed by Hilda Solis, chair of the County Board of Supervisors,
 in 2020. 431 Heidi Marston, Executive Director of LAHSA, has called homelessness
 “an emergency on our streets . . . [requiring] an emergency response.”432 City
 Councilmember Mike Bonin said at the Los Angeles Business Council’s February
 2021 Mayoral Housing, Transportation, and Jobs Summit that “there’s almost
 nobody in the city of Los Angeles, housed or unhoused, who would give what’s
 happening in Los Angeles [anything] other than a failing grade,” and fellow
 Councilmember Kevin de León called the situation “dysfunctional” and “highly
 disjointed.”433 Neither the City nor the County of Los Angeles can deny their
 awareness of the unspeakable dangers homeless individuals face within their
 jurisdiction, or the gross inadequacy of current efforts to address that reality.
         The final requirement under the state-created danger doctrine is that the state
 act with deliberate indifference to the danger. Deliberate indifference is “a
 stringent standard of fault, requiring proof that a municipal actor disregarded a
 known or obvious consequence of his action.” Bryan Cnty. v. Brown, 520 U.S.
 397, 410, (1997). The Ninth Circuit has held that the deliberate indifference
 standard is met when the Plaintiff proves that:

         (1) there was an objectively substantial risk of harm; (2) the [state] was
         subjectively aware of facts from which an inference could be drawn that a

 429
     CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317, at 5.
 430
     LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
 https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
 our-lives.
 431
     Innovative and Rapid Construction of Housing to Alleviate Homelessness to Launch at Former Jail Site, HILDA
 SOLIS (Sept. 29, 2020), https://hildalsolis.org/innovative-and-rapid-construction-of-housing-to-alleviate-
 homelessness-to-launch-at-former-jail-site/.
 432
     Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
 as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
 homelessness-in-california/5945026/.
 433
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.

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         substantial risk of serious harm existed; and (3) the [state] either actually
         drew that inference or a reasonable official would have been compelled to
         draw that inference. Momox-Caselis v. Donohue, 987 F.3d 835, 845 (9th Cir.
         2021).

 The first element, an objectively substantial risk of harm, is well-established and
 discussed above. The second and third elements, the state’s subjective awareness
 of facts demonstrating danger and an inference that those facts would likely cause
 the danger, is likewise established above. The only question remaining is whether
 the government has “disregarded” the consequences of the long-standing policies
 that have perpetuated structural racism and the ways in which present corruption
 and a lack of coordination have led to an exponentially growing death rate. At the
 Los Angeles Business Council’s Mayoral Summit, City Councilmember Mark
 Ridley-Thomas said “we have to be smarter, we have to work harder, and we have
 to run a lot faster. . .” 434 The inadequacy of governmental action in response to the
 life threatening conditions in the homeless communities is not new—in a 1985 Los
 Angeles Times article, the Times wrote: “It is time for leadership from both the
 mayor’s office and the county Board of Supervisors to pull all the players together
 in one room and lock the door until they have assigned tasks to start finding land
 and money for shelters, with deadlines for doing so. . . ,” underscoring the decades
 long inaction by the City and County in the face of tens of thousands of deaths.435
         The Court therefore finds a strong likelihood that the City and County of Los
 Angeles are liable under the state-created danger doctrine, and that the law and
 facts clearly favor such a finding.

 Special Relationship Exception

        A second theory creating an affirmative duty under DeShaney—the special
 relationship exception—is also applicable. In addition to the exception for state-
 created danger discussed above, the Supreme Court in DeShaney created a second
 exception that imposed an affirmative duty to act when a state “takes a person into

 434
     Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.
 435
     Help the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
 story.html.

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 its custody and holds him there against his will.” DeShaney, 489 U.S. at 199–200.
 “The types of custody triggering the exception are ‘incarceration,
 institutionalization, or other similar restraint of personal liberty.’” Patel, 648 F.3d
 at 973 (citing DeShaney, 489 U.S. at 200) (emphasis added). The state’s
 constitutional duty arises “from the limitation which [the State] has imposed on his
 freedom.” The inquiry turns on whether Los Angeles’s lengthy history of
 discriminatory policies, aimed at containing homeless people in Skid Row,
 restrains the personal liberty of L.A.’s homeless population to such an extent as to
 trigger the state’s affirmative duty to act under the Fourteenth Amendment. The
 Court finds this strongly likely to be the case. With the inception of the
 containment policy, enforced by the use of floodlights, physical barriers, and
 policing, the City effectively created such “restraints of personal liberty” as to
 establish a special relationship between the homeless population and the state,
 imposing an affirmative duty on the state to act to protect the rights of the
 homeless. The City is therefore likely to be liable for failing to meet the affirmative
 duty created by its restraint of the local homeless population.
        The Court therefore finds a strong likelihood that Plaintiffs can succeed on a
 claim under the state-created danger doctrine, and that the law and facts clearly
 favor Plaintiffs’ claims.

 Equal Protection – Severe Inaction Theory

        The Equal Protection Clause of the Fourteenth Amendment to the United
 States Constitution proscribes state action that discriminates against a suspect
 class.436 The Supreme Court has instructed lower courts to examine state action on
 a case-by-case basis, “sifting facts and weighing circumstances [so that] the
 nonobvious involvement of the State…[can] be attributed its true significance.”
 Burton v. Wilmington Parking Authority, 365 U.S. 715, 722 (1961). As a guiding
 principle in cases scrutinizing state action, it is important to remember that the
 state action doctrine does not center around mere causation—instead, it is a way of
 recognizing and assigning responsibility for discriminatory conduct. “A state is
 responsible for the equal protection of its citizens, and allowing structural injustice

 436
       U.S. Const. amend. XIV.


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 to continue is action for which the state is responsible.”437 Finally, contrasting the
 Equal Protection Clause with the other two clauses in the Fourteenth Amendment,
 constitutional law scholars have argued that “the Equal Protection Clause…is more
 difficult to classify as imposing solely a negative prohibition upon the state
 governments.”438
        There are several provisions of the Constitution that create affirmative
 duties. For example, the Fourth Amendment creates an affirmative duty on the part
 of the government to obtain a warrant before a search or arrest, and the Fifth
 Amendment places an affirmative duty on police with regard to the privilege
 against self-incrimination.439 Indeed, Marbury v. Madison, one of the most seminal
 cases in American constitutional history, turns on how government inaction can
 violate an underlying affirmative duty to act. 440 In the context of the Fourteenth
 Amendment Equal Protection Clause, even a textualist reading supports the
 imposition of an affirmative duty to act. Where the Amendment reads, “nor shall
 any state…deny to any person within its jurisdiction the equal protection of the
 laws” the double negative implication of “not deny” can be literally interpreted to
 mean “to provide,” rendering state inaction constitutionally impermissible.441
 Further, there is also an intratextual argument wherein the phrasing of the Equal
 Protection Clause (“[N]or shall any state…deny to any person within its
 jurisdiction the equal protection of the laws.”) is contrasted with the phrasing of
 the Fourteenth Amendment Privileges and Immunities Clause (“No state shall
 make or enforce any law which shall abridge the privileges or immunities of
 citizens of the United States….”). 442 Indeed, shortly after the adoption of the
 Fourteenth Amendment, in 1870, Senator John Poole said in a congressional
 hearing, “[T]o say that [the state] shall not deny to any person the equal protection
 of the law it seems to me opens up a different branch of the subject. It shall not
 deny by acts of omissions….”443 Constitutional law scholars have long opined that

 437
     David M. Howard, Rethinking State Inaction: An In-Depth Look at the State Action Doctrine in State and Lower
 Federal Courts, 16 CONN. PUB. INTEREST L.J. 221, 255 (2017).
 438
     Wilson R. Huhn, The State Action Doctrine and the Principle of Democratic Choice, 34 HOFSTRA L. REV. 1379,
 1402 (2006).
 439
     Erwin Chemerinsky, Government Duty to Protect: Post-DeShaney Developments, 19 TOURO L. REV. 679, 683
 (2003).
 440
     Marbury v. Madison, 5 U.S. 137 (1803).
 441
     Howard, supra note 437, at 272–273.
 442
     Huhn, supra note 438, at 1402–03.
 443
     Id. at 1403.


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 “there is an affirmative obligation on the government to not only to [sic] treat
 citizens equally, but to protect its citizens from private violations of law that
 undermine[] their right to equality, even noting that failing to provide equal
 protection can come easily from inaction or from action.”444
        While it is not universally appropriate to imply an affirmative duty within
 the context of the Fourteenth Amendment, the Supreme Court in United States v.
 Fordice observed that Brown v. Board of Education mandated an “affirmative duty
 [on the state] to dismantle its prior dual education system.” United States v.
 Fordice, 505 U.S. 717, 727–28 (1992) (emphasis added). The Court went on to say
 that “a State does not discharge its constitutional obligations until it eradicates
 policies and practices traceable to its prior de jure dual system that continue to
 foster segregation.” Id. (emphasis added). In Brown, the analysis centered around
 the value of attending integrated schools. Here, Black people, and Black women in
 particular, are dying at exponentially higher rates than their white counterparts, and
 these disparate death rates can be directly traced to a history of structural racism
 and discrimination. As outlined above, and as evidenced both by statements from
 City Council members and the 1985 Los Angeles Times article detailing the lack
 of coordination between the County and the City, the Defendants have allowed
 themselves to become paralyzed, failing to muster the moral courage and political
 will to serve their homeless population. When state inaction has become so
 egregious, and the state so nonfunctional, as to create a death rate for Black people
 so disproportionate to their racial composition in the general population, the Court
 can only reach one conclusion—state inaction has become state action that is
 strongly likely in violation of the Equal Protection Clause.
        The Court acknowledges that this conclusion advances equal protection
 jurisprudence, but it is wholly consistent with and flows naturally from analogous
 federal statutes, rulemakings, and executive actions. In 2015, the Obama
 administration promulgated a rule that required those city, state, and local entities
 who received federal funds for housing initiatives to “affirmatively further” the
 purposes of the Fair Housing Act.445 The rule instructed these jurisdictions to
 “assess their concentrations…of disadvantaged populations and identify goals to


 444
       See Howard, supra note 437.
 445
       ROTHSTEIN, supra note 28, at 200.


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 remedy segregated conditions.”446 If the state can be burdened by an affirmative
 duty to protect a statutorily created right, why should it not be burdened by an
 affirmative duty to protect a right provided for in the Constitution—the “supreme
 Law of the Land”?447 The Supreme Court has commented that the Equal Protection
 Clause is an “essential part of the concept of a government of laws and not men,”
 noting that it “is at the heart of Lincoln's vision of ‘government of the people, by
 the people, [and] for the people.’” Harper v. Virginia State Bd. of Elections, 383
 U.S. 663, 667–68 (1966). Espousing the importance of the Fourteenth Amendment,
 the Court said “the words of the amendment . . . contain a necessary implication of
 a positive immunity, or right, . . . the right to exemption from unfriendly legislation
 . . . exemption from legal discriminations, implying inferiority in civil society,
 lessening the security of their enjoyment of the rights which others enjoy, and
 discriminations which are steps towards reducing them to the condition of a subject
 race.” In re Slaughter-House Cases, 1873, 16 Wall. 36, 67—72, 21 L.Ed. 394; see
 also State of Virginia v. Rives, 1879, 100 U.S. 313, 318, 25 L.Ed. 667; Ex parte
 Virginia, 1879, 100 U.S. 339, 344—345, 25 L.Ed. 676. If the right to equal
 protection is so essential to American society and constitutional thought, then the
 law simply cannot permit the state to idly stand by and watch as its Black residents
 die at a disproportionate rate—especially when the state’s political history of
 discrimination has led directly to the present crisis.

 Substantive Due Process

        The Court also finds that current City and County policies compound and
 perpetuate structural racism, threatening the integrity of Black families in Los
 Angeles and forcing a disproportionate number of Black families to go unhoused.
 Such structures of discrimination likely offend the Due Process Clause of the
 Fourteenth Amendment.
        The Fourteenth Amendment provides, in relevant part, that no state “shall . .
 . deprive any person of life, liberty, or property, without due process of law.” U.S.
 Const. amend. XIV, § 1. The Due Process Clause guarantees not only procedural
 protections, but also substantive rights, thereby “barring certain government
 actions regardless of the fairness of the procedures used to implement them.”
 446
       Id.
 447
       U.S. Const. art. VI, cl. 2.

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 Daniels v. Williams, 474 U.S. 327, 331 (1986). Substantive due process
 accordingly “forbids the government from depriving a person of life, liberty, or
 property in such a way that ‘shocks the conscience’ or ‘interferes with rights
 implicit in the concept of ordered liberty.’” Nunez v. City of Los Angeles, 147 F.3d
 867, 870 (9th Cir. 1988) (quoting United States v. Salerno, 481 U.S. 739, 746
 (1987)). The “shocks the conscience” standard is not subject to a rigid list of
 established elements. See County of Sacramento v. Lewis, 523 U.S. 833, 850 (1998
 (“Rules of due process are not . . . subject to mechanical application in unfamiliar
 territory.”) On the contrary, “an investigation into substantive due process involves
 an appraisal of the totality of the circumstances rather than a formalistic
 examination of fixed elements.” Squadrito, 152 F.3d 564, 570 (7th Cir. 1998).
        As to whether substantive due process applies to the particular
 circumstances alleged, the “threshold question is whether the behavior of the
 governmental officer is so egregious, so outrageous, that it may fairly be said to
 shock the contemporary conscience.” Lewis, 523 U.S. at 847 n. 8. The “touchstone
 of due process is protection of the individual against arbitrary action of
 government,” Wolff v. McDonnell, 418 U.S. 539, 558 (1974), and the “exercise of
 power without any reasonable justification in the service of a legitimate
 governmental objective,” Lewis, 523, U.S. at 846. The due process guarantee bars
 governmental conduct that violates the “decencies of civilized conduct,” Rochin v.
 California, 342 U.S. 165, 173 (1952) interferes with rights “‘implicit in the
 concept of ordered liberty[,]’” id. at 169, 72 S.Ct. 205 (quoting Palko v. State of
 Conn., 302 U.S. 319, 325 (1937)), or is so “‘brutal’ and ‘offensive’ that it [does]
 not comport with traditional ideas of fair play and decency[.]” Breithaumpt v.
 Abram, 352 U.S. 432, 435 (1957). Accordingly, substantive due process protects
 against government power arbitrarily and oppressively exercised. Daniels, 474
 U.S. at 331.
        Finally, although the government is generally “not liable for its omissions,”
 Martinez v. City of Clovis, 943 F.3d 1260, 1270–71 (9th Cir. 2019), a government
 is required to act when it has “affirmatively place[d]” its citizens “in danger by
 acting with deliberate indifference to a known or obvious danger,” Patel v. Kent
 Sch. Dist., 648 F.3d 965, 971–72 (9th Cir. 2011) (citations omitted).
        Here, the question is whether the conduct attributed to the City and County
 violates unhoused families’ substantive due process right to family integrity. It has
 long been settled that the liberty interest identified in the Fifth Amendment
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 provides a right to family integrity or to familial association. See U.S. Const.
 amend. V (stating no person shall “be deprived of life, liberty, or property, without
 due process of law.”); Quilloin v. Walcott, 434 U.S. 246, 255, (1978) (stating “the
 relationship between parent and child is constitutionally protected.”). Indeed,
 “[t]he liberty interest at issue in this case—the interest of parents in the care,
 custody, and control of their children—is perhaps the oldest of the fundamental
 liberty interests recognized by” the Court. Troxel v. Granville, 530 U.S. 57, 65,
 (2000); see also Rosenbaum v. Washoe County, 663 F.3d 1071, 1079 (9th Cir.
 2011) (“The substantive due process right to family integrity or to familial
 association is well established.”).
        In Ms. L. v. U.S. Immigr. & Customs Enf’t, 302 F. Supp. 3d 1149 (S.D.
 2018), a California district court issued a class-wide injunction requiring the
 government to reunite minor children with their parents. There, the court found
 that the government had violated the parent-class-members’ right to family
 integrity under the Due Process Clause by separating parents from their children at
 the U.S.-Mexico border for no legitimate governmental objective.448 The district
 court cited to Quilloin, where the Supreme Court held that “[w]e have little doubt
 that the Due Process Clause would be offended if a State were to attempt to force
 the breakup of a natural family, over the objections of the parents and their
 children, without some showing of unfitness . . . .” 434 U.S. at 255, 98 S.Ct. 549.
        In a similar case, Jacinto-Castanon de Nolasco v. U.S. Immigr. & Customs
 En’t, 319 F. Supp. 3d 491, 500–01 (D.D.C. 2018), a district court granted a
 preliminary injunction against the government, preventing it from separating
 families. There, the district court held that “substantial governmental burdens on
 family integrity are subject to strict scrutiny review, and they survive only if the
 burden is narrowly tailored to serve a compelling state interest.” Id. (citing Goings
 v. Court Servs. & Offender Supervision Agency, 786 F.Supp.2d 48, 70 (D.D.C.
 2011) (granting preliminary injunction where plaintiff’s substantive due process
 claim premised on no-contact order prohibiting communication with his children
 likely would not survive strict scrutiny review); see also Abigail Alliance for Better
 Access to Developmental Drugs v. von Eschenbach, 495 F.3d at 702 (holding that
 the Due Process Clause “provides heightened protection against government
 interference with certain fundamental rights and liberty interests . . . including the

 448
       Id.

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 rights to . . . direct the education and upbringing of one’s children” (internal
 quotation marks and citations omitted)); Franz v. United States, 707 F.2d 582, 602
 (D.C. Cir. 1983). The district court further explained that the government must
 make at least some showing of parental unfitness to establish a compelling
 governmental interest in violating the plaintiff’s right to family integrity. Jacinto-
 Castanon de Nolasco, 319 F. Supp. 3d at 501.
        The facts in our case are comparable to the separations of parent and child in
 Ms. L, 302 F. Supp. 3d 1149 (S.D. Cal. 2018), Quilloin, 434 U.S. 246 (1978), and
 Jacinto-Castanon de Nolasco, 319 F. Supp. 3d 491 (D.D.C. 2018). In those cases,
 district courts found that the government violated the parents’ substantive due
 process right when the government, as here, separated families for no legitimate
 governmental reason. The government can proffer no reason for its policies that
 have led to the separation of children from their parents.
        Here, the City and County’s discriminatory conduct has threatened the
 family integrity of the Black unhoused. 449 A disproportionate number of Black
 unhoused families directly stems from decades of systemic racism intended to
 segregate and disenfranchise the Black community. Indeed, as noted by the Los
 Angeles Homeless Services Authority, “Black people have been historically and
 systematically precluded from housing opportunities, including through redlining,
 exclusionary zoning, and other forms of discrimination codified by federal, state,
 and local law.”450 Despite acknowledgements of structural racism, the City and
 County perpetuate the devastating negative impact of such policies by
 compounding their effects.
        The data squarely supports a finding that the city’s current policies continue
 to drive homelessness in Black communities. As previously indicated, despite
 comprising only eight percent of the Los Angeles general population, Black
 Angelenos made up 42% of the homeless population.451 “Homelessness is a
 byproduct of racism,” said Heidi Marston, Director of LAHSA, “we continue to
 see that Black people are overrepresented in our homeless population, and that
 Black African Americans are four times more likely to become homeless than their



 450
       LAHSA REPORT, supra note 4, at 7.
 451
       Id. at 9.


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 white counterparts.”452 Applied to the family context, this reality presents even
 graver consequences: the inability to safely protect one’s child. Data from
 LAHSA’s 2020 Greater Los Angeles Homeless Count shows that 5,988 Black
 persons are experiencing homelessness as part of family units.453 This figure is
 more than five times the 952 white persons experiencing homelessness as part of
 family units.454
        As mentioned above, City and County policies enacted against Black
 communities—in particular, redlining, eminent domain, and exclusionary zoning—
 removed and deprived Black families from their land, creating surges of housing
 insecurity over the past century.455 However, while the number of unhoused Black
 individuals rises, the number of white unhoused individuals has decreased—
 demonstrating that current policies are compounding the explicitly racialized
 policies of the twentieth century.456 In fact, the city’s own data revealed this:
 between 2016 and 2017, the number of unhoused Black Angelenos increased by
 22%, while the number of unhoused white Angelenos decreased by seven percent
 in the same time frame. 457 Yet the city remains deliberately indifferent to the rising
 number of Black Angelenos in danger.
        The reality of the COVID-19 pandemic presents even graver consequences
 for unhoused Black families: the inability to protect one’s child from infectious
 disease. Councilwoman Nury Martinez and Councilmember Mark Ridley-Thomas
 reported that “[m]ore than 269,000 K-12 students [are] currently experiencing, or
 on the brink of homelessness across California, enough to fill Dodger Stadium five
 times over. This is the picture of homelessness in Los Angeles today—a crisis that
 has been allowed to fester for decades, and has greatly worsened due to COVID-
 19.”458 Councilwoman Martinez and Councilmember Ridley-Thomas continued



 452
     Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
 (June 12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
 losangeles.
 453
     HC2020 Family Households, L.A. HOMELESS SERVS. AUTH. (Nov. 6, 2020),
 https://www.lahsa.org/documents?id=4978-hc2020-family-households.
 454
     Id.
 455
     LUSKIN REPORT, supra note 10, at 20.
 456
     LAHSA REPORT, supra note 4, at 9.
 457
     Id.
 458
     Nury Martinez & Mark Ridley-Thomas, Fighting COVID-19 Means Fighting the Cycle of Homelessness, L.A.
 SENTINEL (Mar. 25, 2021), https://lasentinel.net/fighting-covid-19-means-fighting-the-cycle-of-homelessness.html.


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 that “the virus hits low-income communities and communities of color particularly
 hard, forcing many into homelessness at shocking rates.”459
        To protect unhoused individuals during the pandemic, Governor Gavin
 Newsom directed an initiative in April 2020 titled “Project Roomkey” to house
 15,000 homeless unhoused Californians in hotel and motel rooms. 460 But a May
 2020 report to the Board of Supervisors detailed that Project Roomkey rooms have
 been disproportionately extended to white homeless Angelenos—exacerbating the
 risks to unhoused Black families that already disproportionately bear the harmful
 effects of the city and county’s failure to address homelessness. Id. at 60. In fact,
 COVID-19 mortality rates are higher for Black and Latino/a populations compared
 to mortality rates for white populations in California, escalating the need for
 equal—if not increased—access to services. See id. at 61.461
        Most recently, the city’s indefinite suspension of “all benchmarks and
 deadlines pertaining to current HHH projects” as of April 2020 further entrenched
 the marginalization of communities of color by abandoning once again the City’s
 most vulnerable at the peak of a global crisis. Only 489 of the 10,000 promised
 housing units have been produced in the four years of HHH funding, leaving on the
 streets 1,255 unhoused Black individuals who are part of family units.462 Such
 policies have become a vehicle for the continued subordination of communities of
 color. As Black families face housing insecurity at disproportionate rates, the risk
 of family separation increases.
        In many instances, homeless children are separated from their parents and
 placed in foster care systems, where separation increases the mental trauma
 suffered by parent and child. Traumatic family separation affects the development
 of both cerebral activity and other organ systems.463 This results in anxiety, post-
 traumatic stress disorder, and has been shown to lead to higher rates of poverty and
 food insecurity. 464 Unhoused Black families are thus punished not only by a lack of


 459
     Id.
 460
     LAHSA REPORT, supra note 4, at 9.
 461
     “African Americans and Latinx account for 66 percent of COVID cases among people experiencing
 homelessness and 72 percent of the deaths as a result of COVID.” Dkt 241-1 at 11.
 462
     See HC2020 Family Households, L.A. HOMELESS SERVS. AUTH. (Nov. 6, 2020),
 https://www.lahsa.org/documents?id=4978-hc2020-family-households.
 463
     Laura Santhanam, How the Toxic Stress of Family Separation Can Harm a Child, PBS (June 18, 2018),
 https://www.pbs.org/newshour/health/how-the-toxic-stress-of-family-separation-can-harm-a-child.
 464
     Id.


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 affordable housing, but by the infliction of psychological and emotional trauma.
 The potential for lifelong trauma suffered by both the parent and child cannot be
 overstated.
        Furthermore, Black children make up about seven percent of Los Angeles
 County’s youth population, but about 24% of the children who receive services
 from the Los Angeles County Department of Children and Family Services
 (DCFS).465 The lack of stability stemming from family separation and a lack of
 resources drives many children in foster care to fall behind their peers in
 educational settings and increases the risk of lasting behavioral issues. 466 The
 Alliance for Children’s Rights reported that by the third grade, 80% of children in
 foster care have repeated a grade; only five percent of them are proficient in math;
 75% of young women in foster care report at least one pregnancy by age 21
 compared to only one third of their peers who are not in foster care; half of young
 men aging out of foster care have become fathers by the age of 21 compared to
 19% of their peers who were not in foster care; nearly half of all children in foster
 care have learning disabilities or delays; only 58% of young people in foster care
 graduate from high school; only three percent graduate from college; and half of all
 young adults who age out of foster care end up homeless or incarcerated. 467 These
 traumas of family separation “shock[s] the conscience” and do not comport “with
 rights implicit in the concept of ordered liberty.” United States v. Salerno, 481 U.S.
 739, 746 (1987).
        Los Angeles’s homelessness crisis has created a cyclical pattern in which
 Black families are disproportionately uprooted from their community and
 separated upon experiencing homelessness, driving Black children into the Los
 Angeles foster care system. The cycle must end. The Due Process Clause does not
 permit such governmental misconduct causing Black families to disproportionately
 face homelessness and family separation.
        It is clear to the Court that the Due Process Clause does not allow this kind
 of governmental misconduct. The Court is confident that this limited right to
 family integrity amongst unhoused Black families is “implicit in the concept of
 ordered liberty.” See Nunez, 147 F.3d at 870. As the Supreme Court has held,
 rights arise not only from “ancient sources,” but also “from a better informed

 465
       Id.
 466
       Id.


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 understanding of how constitutional imperatives define a liberty that remains
 urgent in our own era.” Obergefell v. Hodges, 135 S. Ct. 2584, 2602 (2015). The
 severe disparity between treatment of Black unhoused families compared to white
 unhoused families—to say nothing of the public health risks illuminated by the
 ongoing COVID-19 pandemic—present just such an urgent crisis and better inform
 the constitutional understanding of ordered liberty.
        This practice of disrupting unhoused Black families’ constitutional right to
 family integrity by compounding structural racism in present day policies is
 sufficient to find Plaintiffs have a likelihood of success on their due process claim.
 A practice of this sort implemented in this manner is likely to be “so egregious, so
 outrageous, that it may fairly be said to shock the contemporary conscience,”
 Lewis, 523 U.S. at 847 n.8, interferes with rights “‘implicit in the concept of
 ordered liberty[,]’” Rochin v. Cal., 342 U.S. 165, 169 (1952) (quoting Palko v.
 State of Conn., 302 U.S. 319, 325 (1937)), and is so “‘brutal’ and ‘offensive’ that it
 [does] not comport with traditional ideas of fair play and decency.” Breithaupt v.
 Abram, 352 U.S. 432, 435 (1957).

       ii.    State law grounds

       The California Welfare and Institutions Code provides as follows:

              Every county and every city and county shall relieve and
              support all incompetent, poor, indigent persons, and those
              incapacitated by age, disease, or accident, lawfully resident
              therein, when such persons are not supported and relieved by
              their relatives or friends, by their own means, or by state
              hospitals or other state or private institutions.

 Cal. Welf. & Inst. Code § 17000 (West 2020). This provision is intended “to
 provide for protection, care, and assistance to the people of the state in need
 thereof, and to promote the welfare and happiness of all of the people of the state
 by providing appropriate aid and services to all of its needy and distressed.” Id.
 § 10000. Such aid and services shall be “provided promptly and humanely, with
 due regard for the preservation of family life,” and on a non-discriminatory basis.
 Id. Courts have interpreted § 17000 as imposing requirements to both provide
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 “general assistance” and “subsistence medical care to the indigent.” Hunt v. Super.
 Ct., 21 Cal 4th 984, 1011–13 (1999); Dkt. 265 at 26.
         The court in Scates v. Rydingsword interpreted § 17000 to mean that
 municipalities had discretion in determining which services to provide to homeless
 individuals. Scates v. Rydingsword, 229 Cal. App. 3d 1085, 1099 (1991).
 Defendants similarly argue that, in this case, “the County has discretion to
 determine how to discharge its obligations.” Dkt. 270 at 22. The court in
 Tailfeather v. Bd. of Supervisors, however, held that medical care must, at a
 minimum, be “at a level which does not lead to unnecessary suffering or endanger
 life and health.” Tailfeather v. Bd. of Supervisors, 48 Cal. App. 4th 1223, 1240
 (1996). Given the epidemic levels of homelessness in the City and County of Los
 Angeles, it is clear that the City and County have failed to meet this duty. As
 LAHSA Executive Director Heidi Marston has stated, “housing is healthcare.”
 Dkt. 265 at 27. The empirical evidence bears out the truth of this soundbite; there
 is a clear link between living on the street and experiencing adverse health
 outcomes. L.A.’s homeless population is dying in record numbers. Rare diseases
 run rampant in Skid Row, risking overflow into the rest of Los Angeles. Older
 individuals, especially older women, who are more at risk and in need of health
 services, are overrepresented on the streets of LA. The County has clearly failed to
 meet its minimum obligations under § 17000 to provide life-preserving, medically
 necessary services to the homeless.
         Even outside of its inaction and inertia on the housing and shelter front, the
 County has also failed to meet its minimal duties to provide direct medical care
 that is “reasonable and necessary to protect life, to prevent significant illness or
 significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
 14059.5(a). By the County’s own admission, the current 22.7 mental health beds
 available per 100,000 individuals across the County comes nowhere close to the 50
 public mental health beds per 100,000 individuals that leading mental health
 experts say is necessary to minimally meet the needs of the population. Dkt. 265 at
 9. The 138-page report that the Department of Mental Health returned in January
 2019 extensively documented the numerous gaps between community needs and
 available services, specifically highlighting the severity of the access problem
 when it came to mental health and detoxification beds. In December 2020, a year
 after the report was published, the Department of Mental Health produced a
 follow-on analysis that showed that while a pilot program sought to procure 500
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 beds across a two-year program, only 156 new beds were created in the first
 year.468 The County, even as it recognizes the severity of the problems with its
 current service provision model, appears to be unwilling or unable to fulfill both
 the goals it sets for itself and the statutory minimums of § 17000.
        The Court further finds the City of Los Angeles is likewise likely liable for
 violations of § 17000. For the last thirty-five years, there have been calls for the
 City and County of Los Angeles to work together to address the crisis of
 homelessness. 469 Twenty-five years ago, the California Supreme Court in Tobe
 found that these provisions of the Welfare and Institutions Code do not apply to
 cities within counties. See Tobe v. City of Santa Ana, 9 Cal. 4th 1069, 1104 n.18
 (1995). However, in the intervening decades, the institutional and financial
 landscape in this area has changed drastically in ways that neither the California
 Legislature nor the California Supreme Court could have reasonably foreseen, and
 the joint ventures long called for have taken robust form. As numerous programs
 and funding arrangements demonstrate, the formal jurisdictional divide between
 cities and counties under § 17000 has been substantially blurred, especially in the
 context of relieving homelessness. Consider the following examples:
        In 2021, the City of Los Angeles contributed over $327 million to the Los
 Angeles Housing Services Authority (“LAHSA”).470 This past year, Governor
 Newsom and California’s legislature pioneered Project Roomkey, which made
 $150 million in emergency COVID-19 aid for the homeless available directly to
 local governments such as the City of Los Angeles. 471 Project Roomkey allowed
 state and local governments to receive up to 75% cost-share reimbursement from

 468
     JONATHAN E. SHERIN, DEP’T OF MENTAL HEALTH, ONE YEAR PROGRESS REPORT ON THE MOTION, “ADDRESSING
 THE SHORTAGE OF MENTAL HEALTH HOSPITAL BEDS II, (ITEM 9, AGENDA OF DECEMBER 3, 2019)” 2 (2020),
 http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.
 469
     “City and county governments traditionally have been wary of crossing jurisdictional lines, but this problem begs
 for the attention of both. The county has responsibility for welfare questions, and the city oversees many building
 and safety aspects involved in sheltering the homeless. It is time for leadership from both the mayor’s office and the
 county Board of Supervisors . . . to start finding land and money for shelters, with set deadlines for doing so.” Help
 the Homeless, L.A. TIMES (Jan. 8, 1985), https://www.latimes.com/archives/la-xpm-1985-01-08-me-7426-
 story.html.
 470
     State of Homelessness Presentation, L.A. Homeless Servs. Auth. (2021),
 https://www.lahsa.org/documents?id=5196-state-of-homelessness-presentation.pdf.
 471
     At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
 Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
 3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
 roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
 19/.


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 the Federal Emergency Management Agency (“FEMA”) for hotel and motel
 rooms, including wraparound supports such as meals, security and custodial
 services.472 In January, 2021, President Biden issued an executive order directing
 FEMA to raise that cost-share reimbursement to 100%.473 Further, Project
 Roomkey tasked local governments like the City of Los Angeles with providing
 behavioral and health care services, identifying shelter or encampment residents
 for hotel isolation placements, and even transporting homeless people.474
        In 2020, the U.S. Department of Housing and Urban Development (“HUD”)
 allocated a total of $3.96 billion across Rounds 1 and 2 of the CARES Act
 Emergency Solutions Grant (“ESG”).475 ESG funds are to be used to “prepare for,
 and respond to the coronavirus pandemic (COVID-19) among individuals and
 families who are homeless or receiving homeless assistance.”476 Across both
 rounds of ESG funding, the County of Los Angeles was allocated $69,050,943. At
 the same time, the City of Los Angeles was allocated more than double that
 amount - $183,598,812.477
        As part of the Homeless Emergency Aid Program (“HEAP”), the City of Los
 Angeles was allocated $85,013,607.478 LAHSA was further allocated another
 $81,000,000. At the direction of the City Council, the $85 million was directed to
 several initiatives, including $45 million to bridge housing; $20 million to Skid
 Row services, including temporary crisis and bridge housing, storage, hygiene
 programs, and reentry services for formerly incarcerated individuals; $11 million
 472
     Id.
 473
     Memorandum from Fesia A. Davenport on Project Roomkey Extensions and Expansion with 100% FEMA
 Reimbursement (Item No. 2, Agenda of February 9, 2021) (Mar. 2, 2021),
 http://file.lacounty.gov/SDSInter/bos/bc/1103505_3-2-
 21PRKExtension_Expansionwith100_FEMAReimbursement.pdf.
 474
     At Newly Converted Motel, Governor Newsom Launches Project Roomkey: A First-in-the-Nation Initiative to
 Secure Hotel & Motel Rooms to Protect Homeless Individuals from COVID-19, OFF. OF GOV. GAVIN NEWSOM (Apr.
 3, 2020), https://www.gov.ca.gov/2020/04/03/at-newly-converted-motel-governor-newsom-launches-project-
 roomkey-a-first-in-the-nation-initiative-to-secure-hotel-motel-rooms-to-protect-homeless-individuals-from-covid-
 19/.
 475
     CARES Act Emergency Solutions Grant (ESG) Round 2 Funding Under COVID-19 Supplemental
 Appropriations (June 2020),
 https://www.hud.gov/sites/dfiles/CPD/documents/ESG_CARES_Act_Round_2_Allocation_Methodology_rev.pdf.
 476
     ESG-CV Award Letters Distributed, HUD EXCHANGE (Apr. 7, 2020), https://www.hudexchange.info/news/esg-
 cv-award-letters-distributed/.
 477
     CARES Act Emergency Solutions Grant (ESG) Round 2 Funding Under COVID-19 Supplemental
 Appropriations 5–7 (June 2020),
 https://www.hud.gov/sites/dfiles/CPD/documents/ESG_CARES_Act_Round_2_Allocation_Methodology_rev.pdf.
 478
     Cal. Homeless Coordinating & Financing Council, SB 850 Overview 11,
 https://www.bcsh.ca.gov/hcfc/documents/hcfc_heap_powerpoint.pdf.


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 to general funding “to support homeless prevention and diversion programs,
 general homeless services, voluntary storage programs, emergency response, and
 hygiene services”; and $4 million “to invest in services for homeless youth or
 youth at risk of being homeless.” 479
         In April 2021, HUD Secretary Marcia Fudge announced nearly $5 billion in
 new grants to state and local governments nationwide through the American
 Rescue Plan.480 That funding is to be used for “rental assistance, the development
 of affordable housing and other services to help people experiencing or on the
 verge of homelessness.” 481 Of that $5 billion, $99.9 million will flow directly to
 the City of Los Angeles, while another $32.6 million will flow to the County.482
         It is well-established that the City receives funds directly from the state and
 federal government to be used for homeless initiatives. Further, it is clear that the
 City, on many occasions, has decided to use vast swaths of those funds to provide
 services to the homeless. Simply put, under the aegis of local, state, and federal
 initiatives, the City and County together have become jointly responsible for
 fulfilling the mandate of § 17000, at least as it pertains to confronting the crisis of
 homelessness. Therefore, the Court finds that the most reasonable interpretation of
 § 17000—the interpretation most in step with modern partnerships and funding
 arrangements between the City and County—is that it applies not only to counties
 alone, but to cities and counties when they undertake a joint venture directed to the
 goals of § 17000, such as a coordinated effort to alleviate homelessness in their
 jurisdictions. Thus, the Court finds that Plaintiffs are likely to succeed on the
 merits of a claim under Cal. Welf. & Inst. Code § 17000 both against the City and
 the County.

         iii.     Americans With Disabilities Act

        Plaintiffs are also likely to succeed on the merits of a claim under the
 Americans with Disabilities Act (ADA). The ADA requires that individuals with
 disabilities be afforded “the full and equal enjoyment of the goods, services,

 479
     Putting New Resources to Work, ERIC GARCETTI, https://www.lamayor.org/HEAP (last visited Apr. 20, 2021).
 480
     Tracy Jan, How Biden Stimulus Bill Will Target Homelessness, WASH. POST (Apr. 8, 2021),
 https://www.washingtonpost.com/us-policy/2021/04/08/homeless-hud-marcia-fudge/.
 481
     Id.
 482
     American Rescue Plan Act HOME Supplemental Allocations,
 https://www.hud.gov/sites/dfiles/CPD/documents/HOME-ARP.pdf.

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 facilities, privileges, advantages, or accommodations of any place of public
 accommodation…” 42 U.S.C. § 12182(a). Public entities are required to “maintain
 in operable working condition those features of facilities and equipment that are
 required to be readily accessible to and usable by persons with disabilities by the
 Act or this part.” 28 C.F.R. § 35.133(a) (2011). Put differently, the ADA imposes
 an affirmative burden on public entities, such as the City and County of Los
 Angeles, to “make ‘reasonable modifications’ to its ‘policies, practices, or
 procedures’ when necessary to avoid such discrimination.” Fry v. Napoleon
 Comm. Schs., 137 S. Ct. 743, 749 (2017) (quoting 28 C.F.R. § 35.130(b)(7)
 (2016)).
         Because of the City and County’s persistent inaction and inertia in creating
 shelter for the homeless, thousands of homeless individuals have erected tents that
 obstruct city sidewalks. To satisfy the ADA, public sidewalks must have at least 36
 inches of passable sidewalk, and the City and County are responsible for ensuring
 that this requirement is met. 36 C.F.R. § 1191, app. D. § 403.5.1 (2014); Willits v.
 City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal. 2013). Hundreds of
 city sidewalks, not only in Skid Row but across the City and County of Los
 Angeles, fail to meet the minimum requirements of the ADA due to the creation of
 homeless encampments. Again, it must be emphasized that these encampments—
 and the resulting ADA violations—are the outcome of decades of active policy
 choices and deliberate indifference on the part of the City and County. The Court
 thus finds that Plaintiffs are likely to succeed on an ADA claim under this
 theory.483



          483
               Plaintiffs also present a second theory of liability under the ADA, which is that the City has violated the
 ADA by placing homeless individuals in “dangerous conditions where they are very likely to be harmed.” Dkt. 265
 at 34. Plaintiffs argue that the containment policy “deliberately placed substance abusers in an area replete with the
 illegal trafficking of dangerous and addictive drugs.” Dkt. 265 at 35. To establish an ADA violation, a plaintiff must
 show that “1) she is a qualified individual with a disability; 2) she was excluded from participation in or otherwise
 discriminated against with regard to a public entity’s services, programs, or activities, and 3) such exclusion or
 discrimination was by reason of her disability.” Lovell v. Chandler, 303 F.3d 1039, 1052 (9th Cir. 2002). Mental
 illness and addiction constitute disabilities within the bounds of the ADA. 42 U.S.C. § 12102; Crumbaker v.
 McLean County, Ky., 37 F. App’x 784, 785 (6th Cir. 2002) (“A person addicted to illegal drugs is considered
 disabled within the meaning of the ADA if the drug addiction ‘substantially limits one or more of the major life
 activities’ of that person.’”). While the Court is sympathetic to Plaintiffs’ argument that the City has created
 dangerous conditions in Skid Row for those suffering from mental illness or addiction, these actions do not
 constitute exclusion or discrimination with regard to public services as required to find an ADA violation. Thus, the
 Court finds that Plaintiffs are unlikely to succeed on an ADA claim under this theory.


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 Accordingly, the Court finds a sufficient likelihood of success on the merits of the
 state law grounds, and holds that the facts and law clearly warrant a preliminary
 injunction.

       B. IRREPARABLE INJURY

        Turning to the next factor, Plaintiffs must show they are “‘likely to suffer
 irreparable harm in the absence of preliminary relief.’” Hernandez v. Sessions, 872
 F.3d 976, 994 (9th Cir. 2017) (quoting Winter, 555 U.S. at 20). “It is well
 established that the deprivation of constitutional rights unquestionably constitutes
 irreparable injury.” Id. (quoting Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir.
 2012) (internal quotation marks omitted).
        No harm could be more grave or irreparable than the loss of life. In 2020,
 1,383 homeless people died on the streets of Los Angeles, and an estimated five
 more die each day. Furthermore, as explained above, Plaintiffs have demonstrated
 the likelihood of a deprivation of their constitutional rights, and thus they have
 satisfied this factor.

       C. BALANCE OF EQUITIES

        Turning to the third factor, “[t]o obtain a preliminary injunction, a plaintiff
 must also demonstrate that ‘the balance of equities tips in his favor.’” Hernandez,
 872 F.3d at 995 (quoting Winter, 555 U.S. at 20). As with irreparable injury, when
 a plaintiff establishes “a likelihood that Defendants’ policy violates the U.S.
 Constitution, Plaintiffs have also established that both the public interest and the
 balance of the equities favor a preliminary injunction.” Arizona Dream Act
 Coalition v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014).
        Again, as explained above, Plaintiffs have demonstrated the likelihood of a
 deprivation of their constitutional rights, and thus they have satisfied this factor.

       D. PUBLIC INTEREST

       The fourth and final factor for consideration is the public interest. See
 Hernandez, 872 F.3d at 996 (quoting Stormans, Inc. v. Selecky, 586 F.3d 1109,
 1139 (9th Cir. 2009)) (“When, as here, ‘the impact of an injunction reaches beyond
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 the parties, carrying with it a potential for public consequences, the public interest
 will be relevant to whether the district court grants the preliminary injunction.’”)
 To obtain the requested relief, “Plaintiffs must demonstrate that the public interest
 favors granting the injunction ‘in light of [its] likely consequences,’ i.e.,
 ‘consequences [that are not] too remote, insubstantial, or speculative and [are]
 supported by evidence.’” Id. (quoting Stormans, 586 F.3d at 1139). “‘Generally,
 public interest concerns are implicated when a constitutional right has been
 violated, because all citizens have a stake in upholding the Constitution.’” Id.
 (quoting Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)).
         As discussed above, Plaintiffs have demonstrated the likelihood of a
 violation of their constitutional rights, and thus have satisfied this factor.
         Furthermore, the current state of the homelessness crisis in Los Angeles
 begs intervention. The City argues that granting this preliminary injunction would
 not be in the public’s interest because it would “usurp the discretionary policy
 making decisions of the City’s elected officials and impose mandatory duties.”
 Dkt. 269 at 32. The Intervenors similarly state in their opposition that “Plaintiffs
 fail to put forth any argument, let alone evidence to meet its burden of showing
 that such a dramatic encroachment into the provenance of the City and the County
 is warranted, let alone why such a broad injunction is in the public interest.” Dkt.
 275 at 12. The Court, however, seeks to ensure accountability, and promote action
 where there has been historic inaction, by issuing a practical flexibility in its
 remedy. The City’s inaction has had a deep, disparate, and deadly impact on the
 citizens of Los Angeles. And no public interest is more paramount than protecting
 the lives of our citizens.
         Nor does the Court find reason to withhold a preliminary injunction in light
 of Mayor Garcetti’s newly announced spending plan. 484 For one thing, the
 plurality of this budget will be drawn from funds allocated under Proposition
 HHH, which are already designated for homelessness relief. And as the Los
 Angeles Times notes, the City’s efforts to combat homelessness have repeatedly
 fallen short of their stated goals.485 For example, despite receiving state and federal
 funding for Project Roomkey, the City and County never managed to contract for

 484
     See Benjamin Oreskes & David Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness
 Under Garcetti Plan, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-
 19/los-angeles-will-increase-budget-for-addressing-homelessness.
 485
     Id.

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 even a third of the promised 15,000 hotel and motel rooms. After reaching a peak
 of 4177 operational rooms in August 2020, the program has steadily withered: as
 of April 12, 2021, only 2079 rooms were operational, 1693 of which were
 occupied—just over ten percent of the capacity originally promised. In spite of
 abundant funding drawn from local, state, and federal budgets, the City and County
 fell far short of their stated goal. This embarrassing performance does not inspire
 confidence, to say the least, in the City’s new budget. From mishandling Project
 Roomkey to sinking $1.2 billion into the ever-delinquent Proposition HHH, Los
 Angeles has documented a long history of plans or budgets that have fallen short,
 year after year, as the homelessness crisis worsens.
         The Court, therefore, finds no reason to believe that the City’s new budget
 will be in any way adequate to meet the crisis of homelessness or overcome
 decades of intentional racism and deliberate indifference. For years—too many
 years—the homelessness epidemic in Los Angeles has only continued to worsen
 under the auspices of admirable intentions and impressive budgets. In the Court’s
 view, this latest budget is no different.
         Finally, as explained in our discussion of Brown and its progeny,
 constitutional violations as grave as those in front of the Court today give rise to “a
 district court’s equitable powers to remedy past wrongs.” See Swann, 402 U.S. at
 15.

       E. HEARING

        Finally, the Court acknowledges that it may appear unusual to issue a
 preliminary injunction without a hearing on the motion. In the Ninth Circuit,
 however, “there is no presumption that the issuance of a preliminary injunction
 requires an evidentiary hearing”; instead, the decision to hold a hearing is left to
 the sound discretion of the district court. Softketeers, Inc. v. Regal W. Corp., 788 F.
 App’x 468, 469 (9th Cir. 2019) (citing Int’l Molders’ & Allied Workers’ Loc.
 Union v. Nelson, 799 F.2d 547, 555 (9th Cir. 1986)); see also Nelson, 799 F.2d at
 555 (noting that the text of Rule 65(a) does not impose “a purely technical rule”
 requiring an evidentiary hearing on a preliminary injunction). “[I]f the facts are
 simple and little time would be taken, a court may be required to hold an
 evidentiary hearing on a motion for injunction.” State of Or., 913 F.2d 576, 582
 (9th Cir. 1990) cert. denied sub nom. Makah Indian Tribe v. United States, 501 U.S.
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 1250, (1991). However, the Ninth Circuit has emphasized the lack of presumption
 in favor of evidentiary hearings “especially if the facts are complicated.” Id.
        The Court finds that no hearing is necessary at this juncture. While
 Defendants contend that “the evidentiary record is insufficient to support the
 drastic equitable relief [Plaintiffs] request,” for over a year now, the Court has
 repeatedly held hearings in this case, allowing the parties, intervenors, and
 community representatives to voice their concerns, present evidence, and argue.
 Dkt. 269 at 13. In practical terms, the Court has already held 12 evidentiary
 hearings, and this preliminary injunction is rooted in the extensive factual record
 developed through these hearings. After numerous hearings and careful review of
 the motion and opposition, the Court finds it appropriate—in accordance with the
 emergency conditions of homelessness in Los Angeles—to grant preliminary
 injunctive relief without an additional hearing. To do so is consistent with Ninth
 Circuit precedent, the text and spirit of Rule 65, and the urgent need for relief this
 case presents.

     III.     AVAILABILITY OF EQUITABLE REMEDIES

         A. FACTUAL BASIS FOR IMMEDIATE RELIEF

       Los Angeles is indisputably facing a homelessness crisis that merits
 immediate, emergency action. Los Angeles Mayor Eric Garcetti has called the
 homelessness crisis “the humanitarian crisis of our lives”486 and has “called for a
 FEMA-level response to our homelessness crisis,” drawing a comparison to the
 aftermath of the 1906 Great San Francisco Earthquake, which displaced more than
 200,000 Californians. 487 He acknowledged the urgency of the situation, demanding
 that we “must respond like it’s an earthquake – and do more, faster.”488 LAHSA


 486
     LA Mayor Eric Garcetti Calls Homelessness The 'Humanitarian Crisis Of Our Lives', NPR (Sept. 21, 2019),
 https://www.npr.org/2019/09/21/763073646/l-a-mayor-eric-garcetti-calls-homelessness-the-humanitarian-crisis-of-
 our-lives.
 487
     Eric Garcetti, Mayor of L.A., State of the City (Apr. 19, 2020), https://www.lamayor.org/SOTC2020; Rising to
 the Challenge: Helping Homeless Angelenos, ERIC GARCETTI (June 11, 2019), https://www.lamayor.org/rising-
 challenge-helping-homeless-angelenos.
 488
     Mayor Eric Garcetti (@MayorOfLA), FACEBOOK (June 12, 2019),
 https://www.facebook.com/MayorOfLA/posts/10157299485724806?comment_id=10157306801444806&reply_co
 mment_id=10157308404509806.


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 Executive Director, Heidi Marston, has similarly recognized that “[w]e have an
 emergency on our streets and we need an emergency response.” 489
        And as mentioned above, L.A. government officials have acknowledged that
 racism has impacted homelessness. “I want to be very clear that homelessness is a
 byproduct of racism,” stated LAHSA’s Heidi Marston.490 “We continue to see that
 Black people are overrepresented in our homeless population, and that Black
 African Americans are four times more likely to become homeless than their white
 counterparts.”491 As of January 2020, LAHSA reported that 21,509 Black people
 were without permanent housing in LA—a number that has likely increased as a
 result of the pandemic given COVID-19’s significant impact on communities of
 color.492
        Despite frequent acknowledgments of the emergency nature of homelessness
 in L.A.—an emergency borne unequally across racial lines—City and County
 efforts to address the problem have been wholly inadequate. Indeed, in the year
 since this litigation began, there has been a 32% increase in the number of
 homeless deaths compared to the previous year.493 713 homeless people died
 between March and July 2020 alone – more than double the number of units of
 housing built under Proposition HHH in the 4 years since it was passed.494 Because
 the City and County have repeatedly failed to do so, the Court now finds it
 necessary, in the proper exercise of its equitable powers, to craft an immediate
 response to this unconscionable humanitarian crisis.

         B. EQUITABLE POWER TO ISSUE RELIEF




 489
     Rob Hayes, LA Homelessness Authority Calls for Government to Treat Homelessness Crisis with Same Urgency
 as Natural Disaster, ABC7 (Feb. 19, 2020), https://abc7.com/los-angeles-homeless-services-agency-lahsa-
 homelessness-in-california/5945026/.
 490
     Gina Pollack, Garcetti: LA Has Made Progress On Homelessness Issue, Despite Increasing Numbers, LAIST
 (June 12, 2020), https://laist.com/latest/post/20200612/garcetti-gives-updates-on-coronavirus-and-protests-in-
 losangeles.
 491
     Id.
 492
     Gale Holland, Racism is the Reason Black People Are Disproportionately Homeless in L.A., Report Shows, L.A.
 TIMES (June 12, 2020), https://www.latimes.com/california/story/2020-06-12/racism-making-more-black-people-la-
 homeless.
 493
     Jessica Goodheart, Homeless Deaths in Los Angeles Rose by More than 30% in 2020, CAPITAL & MAIN (Feb. 2,
 2021), https://capitalandmain.com/homeless-deaths-in-los-angeles-rose-by-more-than-30-percent-in-2020-0202.
 494
     CTR. FOR HEALTH IMPACT EVALUATION, RECENT TRENDS, supra note 317.

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        Under Article III of the Constitution, “[t]he judicial Power” of the federal
 courts “shall extend to all Cases, in Law and Equity, arising under this Constitution
 [and] the Laws of the United States[.]” U.S. Const., art. III, § 2.
        While Defendants argue that “Article III precludes the Court from dictating
 how the City exercises its discretionary decision-making or spending to address
 issues arising out of homelessness,” Dkt. 269 at 10, after a court identifies a right
 and a corresponding violation, “the scope of a district court’s equitable powers to
 remedy past wrongs is broad, for breadth and flexibility are inherent in equitable
 remedies.” Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971). “In
 fashioning and effectuating the decrees, the courts will be guided by equitable
 principles.” Brown v. Bd. of Educ. of Topeka, Kans., 349 U.S. 294, 300
 (1955). “Traditionally, equity has been characterized by a practical flexibility in
 shaping its remedies and by a facility for adjusting and reconciling public and
 private needs.” Id. As such, district courts have broad discretion to create
 comprehensive relief that addresses “each element contributing to the violation” at
 issue. Hutto v. Finney, 437 U.S. 678, 687 & n.9 (1978). The Court’s equitable
 powers allow it to tailor relief to different circumstances, regardless of any
 procedural complexity. Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (“In shaping
 equity decrees, the trial court is vested with broad discretionary power; appellate
 review is correspondingly narrow.”).
        A court may employ equitable powers as a means of enforcement to compel
 defendants to take certain steps to ensure compliance with constitutional mandates.
 See Brown II, 349 U.S. at 301 (instructing the district courts “to take such
 proceedings and enter such orders and decrees consistent with this opinion as are
 necessary and proper to admit to public schools on a racially nondiscriminatory
 basis with all deliberate speed the parties to these cases”); see also United States v.
 Fordice, 505 U.S. 717, 727–28 (1992) (noting that Brown v. Board of Education
 and its progeny mandate an “affirmative duty to dismantle its prior dual education
 system,” and that “a State does not discharge its constitutional obligations until it
 eradicates policies and practices traceable to its prior de jure dual system that
 continue to foster segregation”). A district court is not bound by a plaintiff’s prayer
 for relief and has broad discretion to determine a flexible remedy that balances the
 competing interests at stake. See Brown v. Plata, 563 U.S. 493, 538 (2011);
 Lemon, 411 U.S. at 200–01 (plurality op.).


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        The equitable powers of federal courts encompass injunctions that affect the
 rights of parties not before the court. See Steele v. Bulova Watch Co., 344 U.S.
 280, 289 (1952) (noting that a district court, “in exercising its equity powers,” may
 enjoin conduct “outside its territorial jurisdiction”) (citations omitted). In Califano
 v. Yamasaki, 442 U.S. 682, 702 (1979), the Supreme Court, addressing the validity
 of nationwide class relief, analyzed the principle of “complete relief,” stating that
 nationwide classes are not “inconsistent with principles of equity jurisprudence,
 since the scope of injunctive relief is dictated by the extent of the violation
 established, not by the geographical extent of the plaintiff class.” 442 U.S. at 702.
 “Nationwide relief here is necessary to provide complete relief to the plaintiffs for
 the ‘violation established.’” District of Columbia v. U.S. Dep’t of Agric. 444 F.
 Supp. 3d 1, 49 (D.D.C. 2020) (citing Califano, 442 U.S. at 702); see also
 Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d 1486, 1501–02 (9th Cir.
 1996) (“[A]n injunction is not necessarily made overbroad by extending benefit or
 protection to persons other than prevailing parties in the lawsuit—even if it is not a
 class action—if such breadth is necessary to give prevailing parties the relief to
 which they are entitled.”).
        As discussed below, courts often use these broad equitable powers to
 remedy constitutional and statutory violations by local governments. Notably, the
 Ninth Circuit has specifically upheld equitable relief in the context of equal
 protection and due process violations, in addition to statutory violations of the
 Americans with Disabilities Act and California Welfare and Institutions § 17000.

       i.     Constitutional Violations Provide Grounds for Equitable Relief

        Courts have imposed structural equitable relief in order to remedy
 constitutional violations. See Sierra Club v. Trump, 963 F.3d 874, 888 (9th Cir.
 2020) (“Certain provisions of the Constitution give rise to equitable causes of
 action. Such causes of action are most plainly available with respect to provisions
 conferring individual rights, such as the Establishment Clause or the Free Exercise
 Clause.”); see also Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 399 (1992)
 (Stevens, J. dissenting) (“When a district court determines, after a contested trial,
 that a state institution is guilty of a serious and persistent violation of the Federal
 Constitution, it typically fashions a remedy that is more intrusive than a simple
 order directing the defendants to cease and desist from their illegal conduct. A
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 district court has a duty to command a remedy that is effective, and it enjoys the
 broad equitable authority necessary to fulfill this obligation” (citations omitted).).
 Certainly, “the nature and scope of the remedy are to be determined by the
 violation.” Gilmore v. California, 220 F.3d 987, 1005 (9th Cir. 2000). “But where
 [] a constitutional violation has been found, the remedy does not ‘exceed’ the
 violation if the remedy is tailored to cure the ‘condition that offends the
 Constitution.’” Id. (citation omitted).
        The Supreme Court has established the clear authority of courts to issue
 mandatory injunctions that remedy constitutional violations, including equal
 protection violations, caused by state and local governmental agencies. In Brown,
 the Supreme Court ruled that courts had the power to order structural changes in
 school systems to desegregate schools, such as “ordering the immediate admission
 of plaintiffs to schools previously attended only by white children.” Brown II, 349
 U.S. at 300–01; see also Swann, 402 U.S. at 31 (affirming a district court’s
 injunction requiring school board to implement plan to desegregate school district);
 Milliken v. Bradley, 433 U.S. 267, 269 (1977) (upholding the equitable powers of a
 district court, as part of a desegregation decree, to “order compensatory or
 remedial educational programs for schoolchildren who have been subjected to past
 acts of de jure segregation.”). Similarly, the Supreme Court has recognized the
 equitable power of federal courts to order structural changes to remedy violations
 of unconstitutional due process. See, e.g., Hutto, 437 U.S. at 683 (approving a
 district court’s orders to change various prison practices and policies to remedy
 constitutional violations).
        In Roman v. Wolf, the Ninth Circuit affirmed in part the district court’s
 issuance of a preliminary injunction that imposed a moratorium on an immigration
 and customs enforcement (“ICE”) facility’s receipt of new detainees, requiring
 specific sanitation measures, and ordering a reduction in the facility’s population in
 light of the Covid-19 pandemic. 977 F.3d 935, 942 (9th Cir. 2020). The Ninth
 Circuit reasoned that “the district court had broad equitable authority to grant
 provisional relief to remedy a likely constitutional violation.” Id. at 939. The
 circuit court continued that “[c]ourts have long recognized the existence of an
 implied cause of action through which plaintiffs may seek equitable relief to
 remedy a constitutional violation,” and “the district court’s power to grant
 injunctive relief included the authority to order a reduction in population, if
 necessary to remedy a constitutional violation.” Id. at 941–42. That is, district
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 courts have the flexibility to order measures that they determine necessary to
 “bring the conditions to a constitutionally adequate level.” Id. at 945–46. Further,
 in “time-sensitive circumstances, the district court’s authority to issue relief
 encompassed the authority to grant provisional relief ‘to bring an ongoing violation
 to an immediate halt.’” Id. at 942 (citing Hutto, 437 U.S. at 687 n.9). The Ninth
 Circuit recognized that the district court made detailed factual findings to support
 the preliminary injunction and noted in approval that the district court left
 particular details to the government’s discretion, such as how to achieve the
 requisite population reduction and which detainees to release, deport, or transfer.
 Id. at 939.

       ii.    Statutory Violations Provide Grounds for the Court to Issue
              Equitable Relief

        The power of district courts to compel government action also encompasses
 the redress of statutory violations. See Armstrong v. Davis, 275 F.3d 849, 870 (9th
 Cir. 2001), abrogated on other grounds by Johnson v. California, 543 U.S. 499
 (2005) (stating that “[s]ystem-wide [injunctive] relief is required if the injury is the
 result of violations of a statute . . . that are attributable to policies or practices
 pervading the whole system (even though injuring a relatively small number of
 plaintiffs), or if the unlawful policies or practices affect such a broad range of
 plaintiffs that an overhaul of the system is the only feasible manner in which to
 address the class’s injury.”).
        For example, in Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2004), patients
 asserted an ADA claim against defendants including Los Angeles County, and
 sought a preliminary injunction seeking to bar the County from closing a
 rehabilitation center without providing plaintiffs with necessary medical and
 rehabilitative services elsewhere. The district court granted an injunction that
 barred the County from closing said rehabilitation center or reducing medical
 services until the County could guarantee that plaintiffs would receive comparable
 services from other healthcare providers in Los Angeles County. Id. at 993. In its
 deliberation, the district court considered the County’s concerns of financial
 hardship, but was not persuaded of the County’s claim that closing the center
 would save the County $58.6 million annually. Id. at 994. In affirming the district
 court, the Ninth Circuit held that “The district court did not abuse its discretion in
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 concluding that plaintiffs would suffer greater hardship absent preliminary relief
 than the County would suffer because of the injunction.” Id. at 998–99. The Ninth
 Circuit noted that “the injunction does not mandate that the County keep [the
 rehabilitation center] open at any cost; rather, it requires the County to somehow,
 somewhere, continue to offer the services currently provided . . .” Id. at 999. The
 circuit court emphasized that when “[f]aced with [] a conflict between financial
 concerns and preventable human suffering, [the Ninth Circuit has] little difficulty
 concluding that the balance of hardships tips decidedly in plaintiffs' favor.” Id.
 (citing Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983)).
        In addition to remedying violations of federal statutes, district courts may
 also issue equitable relief to remedy to violations of state statutes. In Harris v.
 Board of Supervisors, a group of patients also sued the County to prevent its
 reduction of medical care at a hospital and closure of the same rehabilitation center
 in Roddle. 366 F.3d 754, 757 (9th Cir. 2004). The patients there brought their
 claims based on the California Welfare and Institutions Code §§ 10000, 17000 and
 17001. Id. at 764. The district court issued a preliminary injunction, and the Ninth
 Circuit affirmed. Id. “A lack of funds is no defense to a county’s obligation to
 provide statutorily required benefits.” Id. (citing Cooke v. Superior Court, 213 Cal.
 App. 3d 401, 413–14 (1989)).

       iii.   The Plata Case Guides This Court’s Exercise of its Broad
              Equitable Authority

        The Supreme Court’s decision in Brown v. Plata upheld district courts’
 authority to use their equitable powers when necessary to address constitutional
 violations even where those powers shape local government’s authority and
 impacts their budget. 563 U.S. 493 (2011).

 The Supreme Court in Brown v. Plata Recognized That Courts May Act Even If
 Their Orders Have a Budgetary Impact on Local Government

        In Plata, two consolidated class actions resulted in an order requiring
 California to drastically reduce its prison population. See id. In the first case, a
 district court found that Eighth Amendment rights had been violated when
 prisoners with serious mental disorders alleged inadequate mental health care due
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 to prison overcrowding. Id. at 506–07. In the second case, the State stipulated to a
 remedial injunction when prisoners with serious medical conditions brought
 similar claims. Id. at 507–08. When the State failed to comply with that injunction,
 the district court appointed a receiver to oversee remedial efforts. Id. Upon request
 from both groups of plaintiffs, a three-judge panel convened under the Prisoner
 Litigation Reform Act (“PLRA”), and the cases were consolidated. The panel
 entered a remedial order mandating a reduction of the State’s prison population to
 137.5% of design capacity within two years, when the prisons held “nearly double”
 their capacity at the time of trail. Id. at 501. Governor Brown appealed.
        The Supreme Court affirmed the panel’s ruling, holding that the PLRA
 authorizes “the relief afforded in this case and that the court-mandated population
 limit is necessary to remedy the violation of prisoners' constitutional rights.” Id. at
 502. The Court emphasized that “the law and the Constitution demand recognition
 of certain [] rights. . . . If government fails to fulfill [its] obligation, the courts have
 a responsibility to remedy the resulting [] violation.” Id. at 510-11. In response to
 the State’s concerns that the district court’s order limited the State’s authority to
 run its prisons, the Court noted that “[w]hile the order does in some respects shape
 or control the State’s authority in the realm of prison administration, it does so in a
 manner that leaves much to the State’s discretion . . . The order’s limited scope is
 necessary to remedy a constitutional violation.” Id. at 553. Accordingly, if a
 district court finds an ongoing Constitutional violation, it is obligated to impose a
 remedy, while budgetary and capacity concerns can be adequately addressed by the
 court by giving the party sufficient discretion in how to remedy the violation.

 The District Court Decisions Underlying the Plata Opinion Are Analogous to the
 Circumstances of This Case and Provide Support for Broad Judicial Relief

         The second case later consolidated in Brown v. Plata was originally filed in
 the Northern District in 2001. Plata v. Schwarzenegger (“Schwarzenegger I”), No.
 C01-1351 TEH, 2005 WL 2932253 (N.D. Cal. Oct. 3, 2005). There, plaintiffs
 claimed that the State of California was providing constitutionally inadequate
 medical care at its state prisons. Id. at *1. Defendants agreed multiple times to take
 certain steps to address issues, first in a consent decree and then a stipulated order.
 Id. at *1–2. But, like the instant defendants, the State failed to take the necessary


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 action, “enact[ing] only very limited and piece-meal measures, with no prospect
 for system-wide reform or restructuring.” Id. at *26.
        Following an evidentiary hearing, the court found that the defendants had
 “fail[ed] to provide constitutionally adequate medical care” which “caused the
 plaintiffs extreme harm.” Id. at *3. The court then issued an order, establishing a
 Receivership to take control of the medical delivery system of the prison system
 from the defendants. Id. at *2.
        The Schwarzenegger I court recognized that the case “present[ed] a textbook
 example of how majoritarian political institutions sometimes fail to muster the will
 to protect a disenfranchised, stigmatized, and unpopular subgroup of the
 population.” Id. at 32. The court emphasized:

       “This failure of political will, combined with a massive escalation in the rate
       of incarceration over the past few decades, has led to a serious and chronic
       abnegation of State responsibility for the basic medical needs of prisoners.
       This is a case where “the failure of the political bodies is so egregious and
       the demands for protection of constitutional rights [is] so importunate that
       there is no practical alternative to federal court intervention.”

 Id. (citation omitted). The Schwarzenegger I court reiterated the Ninth Circuit
 principle that, “where federal constitutional rights have been traduced, principles
 of restraint, including comity, separation of powers and pragmatic caution
 dissolve.” Id. at 24 (quoting Stone v. City and County of San Francisco, 968 F.2d
 850, 861 (9th Cir.1992).
         The court expanded the equitable remedy from Schwarzenegger I in a
 subsequent case, directing the State of California “to transfer $250 million to the
 Receiver in furtherance of the Receiver’s work to remedy the undisputed and
 ongoing constitutional inadequacies in the delivery of medical care in California's
 prisons.” Plata v. Schwarzenegger (“Schwarzenegger II”), No. C01-1351 TEH,
 2008 WL 4847080, at *1 (N.D. Cal. Nov. 7, 2008). As discussed below, the
 Schwarzenegger II court found that the defendant’s arguments of budgetary
 concerns could not “outweigh the human suffering and preventable and possibly
 preventable deaths that will occur” if the defendants were granted a stay. Id. at *5.



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       iv.    Courts’ Equitable Authority in the Face of Government
              Budgetary Concerns

        There are financial considerations inherent to any equitable relief requiring
 action from a governmental entity; however, federal courts have an obligation to
 enforce the Constitution and the laws of its United States. In Watson v. City of
 Memphis, the Supreme Court observed that despite the city’s argument that
 ordered desegregation may require unbudgeted funding, the “vindication of
 conceded constitutional rights cannot be made dependent upon any theory that it is
 less expensive to deny than to afford them.” 373 U.S. 526, 537 (1963).
        The Ninth Circuit has also addressed the weight of budgetary concerns in the
 context of equitable relief. In Lopez, the Ninth Circuit affirmed a district court
 order requiring the restoration of disability benefits to a substantial number of
 social security recipients. Lopez, 713 F.2d at 1432. The circuit court concluded that
 “physical and emotional suffering shown by plaintiffs . . . is far more compelling
 than the possibility of some administrative inconvenience or monetary loss to the
 government. . .” Lopez, 713 F.2d at 1437; see also Rodde, 357 F.3d at 999 (when
 “[f]aced with[ ] a conflict between financial concerns and preventable human
 suffering, we have little difficulty concluding that the balance of hardships tips
 decidedly in plaintiffs’ favor”) (citing Lopez); Harris, 366 F.3d at 764–65 (“[a]
 lack of funds is no defense to a county’s obligation to provide statutorily required
 benefits”) (citing Cooke, 213 Cal. App. 3d at 413–14).
        The court may also weigh certain circumstances against alleged financial
 consequences. In Schwarzenegger II, the court found that government arguments
 regarding financial hardship due to the court’s injunction were “less compelling”
 when funding had already been allocated to the issue targeted by the court’s order.
 Schwarzenegger II, 2008 WL 4847080, at *5. In Rodde, the Ninth Circuit affirmed
 a preliminary injunction barring a county from closing a hospital. Rodde, 357 F.3d
 988. The circuit court considered how much the alleged $58.6 million annual cost
 of relief was offset by the savings caused by the relief, which would avoid costs
 caused by displaced patients seeking treatment elsewhere. Rodde 357 F.3d at 999
 (9th Cir. 2004). The Ninth Circuit concluded that, “while it is unclear just how
 much financial hardship the district court's injunction creates for the County, it is
 apparent that the cost is lower than the County contends.” Id.


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       IV.   CONCLUSION: A WAY FORWARD

         The devotion that Abraham Lincoln called for has not been met here.
         For decades in Los Angeles, the desperation of its citizens has been met with
 a yawn. Each day, newspaper headlines bring forth different cities and
 communities calling for action. Meanwhile, politicians measure success by how
 much money they have raised to combat homelessness. Service providers with
 clipboards endlessly approach homeless individuals with services and promises to
 return, yet are unable to provide sufficient shelter or housing. Bureaucrats create
 statistics trumpeting their efficiency and success to the public. But none of this has
 led to accountability or solutions. As Councilmember Mark Ridley-Thomas
 remarked, “the issue of homelessness is of insufficient importance to the decision
 makers of this region. Therefore, we have this languishing set of circumstances
 where we chase our tails day in and day out claiming that we’re doing things.” 495
         There can be no defense to the indefensible. For all the declarations of
 success that we are fed, citizens themselves see the heartbreaking misery of the
 homeless and the degradation of their City and County. Los Angeles has lost its
 parks, beaches, schools, sidewalks, and highway systems due to the inaction of
 City and County officials who have left our homeless citizens with no other place
 to turn. All of the rhetoric, promises, plans, and budgeting cannot obscure the
 shameful reality of this crisis—that year after year, there are more homeless
 Angelenos, and year after year, more homeless Angelenos die on the streets.
         Like Abraham Lincoln’s call to action in his Gettysburg address, it is for us
 “to be dedicated here to the unfinished work which they who fought here have thus
 far nobly advanced.” Let us pick up that flag, and have the courage of those who
 fought so long ago, to act so that we can become a better nation and people.

       V.    PROVISIONS OF THE PRELIMINARY INJUNCTION

       In an attempt to balance the interim nature of a preliminary injunction with
 the emergency conditions created by the homelessness crisis, the Court hereby
 ORDERS the following:


   Los Angeles Business Council, LABC's 19th Annual Mayoral Housing, Transportation and Jobs Summit,
 495

 YOUTUBE (Feb. 19, 2021), https://www.youtube.com/watch?v=KsO8j0hz588.

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     1. Accountability

             a. Pursuant to the Mayor’s announcement 496 of a “justice budget”497 on
                Monday, April 19, 2021, the Court ORDERS that $1 billion, as
                represented by Mayor Garcetti, will be placed in escrow forthwith,
                with funding streams accounted for and reported to the Court within 7
                days.
             b. Within 90 days, conduct an audit of all funds received from local,
                state, and federal entities intended to aid the City and/or County of
                Los Angeles in solving or alleviating the problem of homelessness,
                including, but not limited to, Proposition HHH funds, MHSA funds,
                Measure H funds, and emergency relief from the state and federal
                government, including the American Rescue Plan and the Cares Act.
             c. Within 90 days, conduct investigations and prepare a report on all
                developers that are currently receiving funds from Proposition HHH;
                propose revised procedures for evaluating future applicants for
                Proposition HHH funds that would limit the possibility of funds being
                misused or wasted.
             d. Within 30 days, the County shall conduct an audit of any funds
                committed to mental health (MH) and substance use disorder (SUD)
                treatment.

        All above audits and background investigations must be completed by
 independent auditors and investigators, respectively. Parties are ORDERED to
 meet with Special Monitor/Master Michele Martinez within 10 days to receive her
 input regarding independent auditors and investigators.

     2. Action

             a. City- and County-Wide Actions

 496
     Benjamin Oreskes & David Zahniser, L.A. Plans Nearly $1 Billion in Spending to Address Homelessness Under
 Garcetti Plan, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/homeless-housing/story/2021-04-19/los-
 angeles-will-increase-budget-for-addressing-homelessness.
 497
     David Zahniser, Dakota Smith & Emily Alpert Reyes, Garcetti Seeks to Stem Poverty, Boost Social Justice in
 Vision for L.A.'s Recovery, L.A. TIMES (Apr. 19, 2021), https://www.latimes.com/california/story/2021-04-
 19/garcetti-los-angeles-state-of-the-city.

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                 i. Within 30 days, City Controller Ron Galperin shall oversee the
                    creation of a report on all land potentially available within each
                    district for housing and sheltering the homeless of each district.
                    The homeless have been left no other place to turn to but our
                    beaches, parks, libraries, and sidewalks, and it is pivotal that
                    they no longer rely on spaces that enhance quality of life for all
                    citizens.
                ii. The Court ORDERS the cessation of sales, transfers by lease or
                    covenant, of the over 14,000 City properties pending the report
                    by the Controller Ron Galperin to the Court, and all similarly
                    situated properties held by the County pending the report by the
                    County counsel.
               iii. Within 30 days, the Los Angeles City Council Homelessness
                    and Poverty Committee shall report back to the Court with
                    specific actions to address 1) structural barriers (including but
                    not limited to redlining, highway construction, eminent domain,
                    and health exposure) that cause a disproportionate number of
                    people of color to experience homelessness or housing
                    insecurity; 2) solutions to the problem of extremely low income
                    individuals being foreclosed from the affordable housing
                    market in favor of higher-income individuals; and 3) the
                    possibility of rezoning to accommodate more R3 (multi-family)
                    zoning. The Committee is ordered to invite local non-
                    governmental stakeholders (such as the NAACP, the
                    Downtown Women’s Action Coalition, and any additional
                    groups that the Committee deems would be beneficial in this
                    process) to participate in the production of the report.
               iv. Mayor Garcetti, the Los Angeles City Council, and Hilda Solis,
                    Chair of the County Board of Supervisors, shall submit a report
                    to the Court by April 27, 2021 at 8:00 a.m. to explain why an
                    emergency declaration has not been issued.
                v. Within 30 days, the City and County shall prepare a report on
                    the status of Projects Homekey and Roomkey, with a specific


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                   focus on the geographic and racial distribution of project sites
                   and beneficiaries.
               vi. Within 30 days, with regard to MH and SUD beds, the County
                   shall report to the Court on the progress towards establishing
                   the 1,508 new sub-acute beds to accommodate the needs of the
                   non-jail population and an additional 1,418 new sub-acute beds
                   to accommodate those with substance abuse disorders being
                   diverted from jails.

          b. Actions Specific to Skid Row

                i. Within no more than 90 days (i.e., on or before July 19, 2021),
                   the City and County must offer and if accepted provide shelter
                   or housing immediately to all unaccompanied women and
                   children living in Skid Row; within 120 days (i.e., on or before
                   August 18, 2021) to all families living in Skid Row; and within
                   180 days (i.e., on or before October 18, 2021) to the general
                   population living in Skid Row. Skid Row, originally defined as
                   the area between 3rd and 7th and Main to Alameda, will be
                   extended to the surrounding area, defined as 2nd to 8th and
                   Spring to Alameda. The City and County shall consult with the
                   Skid Row Advisory Council to identify the number of
                   unaccompanied women who are willing to move to shelters.
               ii. The County shall, no later than within 90 days (i.e., on or
                   before July 19, 2021), offer and if accepted provide to all
                   individuals within Skid Row who are in need of special
                   placement through the Department of Mental Health or
                   Department of Public Health appropriate emergency, interim, or
                   permanent housing and treatment services. The County shall
                   work with providers to build meaningful relationships with
                   homeless individuals to ensure that these individuals are fully
                   informed of their options for services, housing, and shelter.
                   Within ten days (i.e., on or before April 30, 2021), the County
                   shall provide to the Court a list of providers who are already


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                    established in the area and who will be working in tandem with
                    the County on these efforts.
               iii. The County shall provide, or fund third parties to provide,
                    support services to all homeless residents who accept the offer
                    of housing. County and City shall evenly split the cost of
                    providing operational services.
               iv. The City and County shall prepare a plan that ensures the
                    uplifting and enhancement of Skid Row without involuntarily
                    displacing current residents to other parts of the City or County.
                    Moving forward, the City and County are encouraged to
                    develop a hyper-local approach with community-based
                    organizations throughout each district, including the Skid Row
                    Advisory Council.

          c. Other Actions

                i. After adequate shelter is offered, the Court will let stand any
                   constitutional ordinance consistent with the holdings of Boise
                   and Mitchell.
               ii. The Court shall appoint a Special Monitor/Master, Michele
                   Martinez, at the City and County’s expense to assist with the
                   implementation of this order and to resolve disputes among the
                   parties or other interested parties. The City and County shall
                   meet and confer with Special Monitor/Master Michele Martinez
                   within three days to agree upon reasonable compensation.




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